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          STATE OF NEW YORK
          SUPREME COURT                   COUNTY OF GREENE

          GEORGE HENDERSON,

                                         Plaintiff,                                SUMMONS

                 -against
                                                                         Index No.: ________________
          GENERAL STAR INDEMNITY COMPANY,

                                         Defendant.


                 You are hereby summoned to answer the complaint in this action and to serve a copy of
         your answer, or, if the complaint is not served with this summons, to serve a notice of appearance,
         on the Plaintiff's attorney within 20 days after the service of this summons, exclusive of the day of
         service (or within 30 days after the service is complete if this summons is not personally delivered
         to you within the State of New York); and in case of your failure to appear or answer, judgment
         will be taken against you by default for the relief demanded in the complaint.

                The basis of venue in Greene County is that the plaintiff is domiciled there, and the real
         property covered by the insurance policy that is the subject of this action is located there.

         Dated: Schenectady, New York                          Respectfully submitted,
                May 4, 2023
                                                       E. STEWART JONES HACKER MURPHY LLP


                                                By:         /s/ John F. Harwick
                                                       John F. Harwick
                                                       Attorneys for the Plaintiffs
                                                       200 Harborside Drive, Suite 300
                                                       Schenectady, N.Y. 12305
                                                       (518) 274-5820
                                                       JHarwick@joneshacker.com




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          STATE OF NEW YORK
          SUPREME COURT                    COUNTY OF GREENE

          GEORGE HENDERSON,

                                          Plaintiff,                                COMPLAINT

                  -against
                                                                            Index No.: ________________
          GENERAL STAR INDEMNITY COMPANY,

                                          Defendant.


                 Plaintiff GEORGE HENDERSON, by and through his attorneys E. Stewart Jones Hacker

         Murphy LLP, as and for a Complaint against Defendant GENERAL STAR INDEMNITY

         COMPANY, alleges as follows:

                                            NATURE OF THE ACTION

                 1.      This is an insurance coverage dispute. Plaintiff is the owner of an insurance policy,

         insuring his property at 9 Lilac Lane in Catskill, N.Y. against, among other things, damage caused

         by fire. On or about May 8, 2022, the property suffered substantial damage by fire, and promptly

         thereafter submitted a claim to Defendant, his insurance carrier. Defendant has denied the claim

         in its entirety, claiming that the fire loss is barred by an exclusion for “vandalism.” Plaintiff asserts

         claims against Defendant for a declaratory judgment, and breach of contract.

                                                       THE PARTIES

                 2.      Plaintiff George Henderson (“Plaintiff”) is a natural person residing at 3493 County

         Route 67, Freehold, N.Y. 12431.

                 3.      Defendant General Star Indemnity Company (“Defendant,” or the “Insurer”) is a

         foreign business corporation organized and operating under the laws of Connecticut, with a




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         principal business address at 120 Long Ridge Road, Stamford, Connecticut 06904.                       Upon

         information and belief, the Insurer has an NAIC # of 37362).

                                               JURISDICTION; VENUE

                 4.      This Court has jurisdiction over the subject matter of this action because the

         Complaint seeks declaratory relief pursuant to CPLR 3001 or, in the alternative, because the

         Complaint seeks money damages in excess of $25,000.00.

                 5.      This Court has jurisdiction over the person of Defendant pursuant to CPLR

         302(a)(1), because Defendant transacted business within New York, and the claims asserted herein

         arise from that transaction. Specifically, Defendant issued the insurance policy described below

         to Plaintiff in the State of New York, covering risks located in the State of New York, and accepted

         premium payments from Plaintiff in New York. This action arises out of that transaction, because

         this action asserts claims based upon and seeking relief pursuant to that insurance policy.

                 6.      Venue is appropriate in Supreme Court, Greene County pursuant to CPLR 503(a)

         because Plaintiff resides in Greene County.

                           FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

                 7.      Effective January 27, 2022, Defendant issued a “Commercial Lines” insurance

         policy to Plaintiff, a true and accurate copy of which is annexed hereto as Exhibit A. (the

         “Policy”). 1

                 8.      The coverage period for the Policy was January 27, 2022 to January 27, 2023. (See

         Exhibit E pg. A004.)




         1
                 For the Court’s convenience, Plaintiff has added pagination to the top center of each page in Exhibit
         A, with the prefix “A” (beginning with page “A001”). This is for easier citation to particular portions of
         the Policy that are relevant to this case.

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                 9.    The Policy included “Building and Personal Property” coverage for certain real

         property owned by Plaintiff. (See Exhibit A, pg. A062 – A077.)

                 10.   The real estate covered by the Building and Personal Property coverage included

         real Property owned by Plaintiff at 9 Lilac Lain in Catskill, N.Y. (the “Lilac Property”). (See

         Exhibit A, pg. A050.) The Property was improved by a single-family house.

                 11.   The Lilac Company was named in the Declarations applicable to the Building and

         Personal Property coverage. (See Exhibit A, pg. 050.)

                 12.   The Lilac Property was “Covered Property” within the meaning of §A(1) of the

         Policy’s Building and Personal Property coverage, because it was named in the applicable

         Declarations. (See Exhibit A pg. A062.)

                 13.   The Policy’s Building and Personal Property coverage provided, in §A(1), that the

         Insurer “will pay for direct physical loss of or damage to Covered Property at the premises

         described in Declarations caused by or resulting from any Covered Cause of Loss.” This coverage

         included damages caused by a covered cause of loss the building at the Property. (See Exhibit A,

         pg. A062, §A[1][b].)

                 14.   The Policy’s “Covered Causes of Loss” included loss caused by “fire.” (Exhibit A,

         pg. A084, §A[1].)

                 15.   In May 2022, the Property was not occupied.

                 16.   On or about May 8, 2022, the single-family house at the Property was destroyed by

         fire.

                 17.   Plaintiff did not start the fire, nor did he direct anyone else to start the fire.

                 18.   Plaintiff did not observe the cause of the fire.




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                19.     Upon information and belief, the value of the loss caused by the fire is no less than

         $300,000.

                20.     After the fire, Plaintiff promptly and timely submitted a claim to the Insurer.

                21.     On or about January 24, 2023, the Insurer issued a letter to Plaintiff denying the

         claim in its entirety. A true and accurate copy of the Insurer’s denial letter is annexed hereto as

         Exhibit B.

                22.     The Insurer took the position that coverage was barred by a Policy exclusion

         contained in §6(b)(1)(a) of the Policy’s Building and Personal Property Coverage Form, for

         “Vandalism” occurring while a property “has been vacant for more than 60 consecutive days.”

         (See Exhibit A pg. A073.)

                23.     In so doing, the Insurer relied on a definition of “Vandalism” in the Policy’s

         “Covered Causes of Loss” Basic Form, which defined “Vandalism” as “willful and malicious

         damage to, or destruction of, the described property.” (See Exhibit A, pg. A084.)

                24.     Note that “fire” and “vandalism” are separate but co-equal Covered Causes of Loss

         under the Policy’s Causes of Loss Basic Form. (See Exhibit A pg. A084 §A[1] and A[8.])

                25.     According to its claim denial letter (Exhibit B), the Insurer purportedly determined

         that the “fire” was “willful and malicious” (without having interviewed any person who observed

         the fire being commenced) and thus concluded that the Cause of Loss was therefore not “fire,” but

         “Vandalism.”

                26.     As a matter of law, exclusions in an insurance policy must be read narrowly, and

         any ambiguities must be resolved in favor of the policyholder, against the insurer.

                27.     The fire that damaged the Lilac Property was “Fire” within the meaning of §A(1)

         of the Policy’s Causes of Loss Basic Form, it was not “Vandalism” pursuant to §A(8) of the form.



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         (Exhibit A pg. A084.) Inasmuch as “Fire” and “Vandalism” are enumerated as separate Causes of

         Loss in the same list within the Policy (Id.) reasonable policyholder would understand a “Fire” to

         be “Vandalism” (even if the fire were willful and malicious). For that reason alone, the Insurer’s

         denial was improper.

                28.     Moreover, the exclusion of coverage in “vacant” properties for certain Causes of

         Loss, in §6A of the Policy’s Building and Personal Property Coverage, does not mention “Fire”

         damage. On the contrary, the “Vandalism” exclusion in appears in a list of other discrete injuries

         that suggest partial rather than wholesale damage:

                        If the building where loss or damage occurs has been vacant for more than
                        60 consecutive days before that loss or damage occurs …. We will not pay
                        for any loss or damage caused by any of the following, even if they are
                        Covered Causes of Loss:

                        (a) Vandalism;
                        (b) Sprinkler leakage, unless you have protected the system against freezing;
                        (c) Building glass breakage;
                        (d) Water damage;
                        (e) Theft; or
                        (f) Attempted theft

         (Exhibit A, pg. A073, §6[b].) Here again, “Fire” is also a distinct “Covered Cause of Loss (Id.

         pg. A084, §A[1]), but is nowhere to be found in this damage types that are excluded if the building

         is vacant. Moreover, “Vandalism” and the other items that are listed here as excluded in vacancy

         (sprinkler leakage, glass breakage, etc.) are of a similar type—discrete things that may be wrong

         with a building and warrant repair, as opposed to unlisted loss types like “Fire,” which is much

         more likely to pervasively damage or even destroy an entire building. No reasonable policyholder

         would read this list and believe it was excluding coverage for fire damage.

                29.     Plaintiff paid the Insurer all premiums due for the Policy while it was active.




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                                      AS AND FOR A CAUSE OF ACTION
                                             (Breach of Contract)

                30.     Plaintiff realleges, restates and incorporates by reference each of the foregoing

         allegations in this Complaint, as though fully set forth in this paragraph.

                31.     The Insurer offered Plaintiff the terms of the Policy, in consideration for the

         payment of premiums by Plaintiff.

                32.     Plaintiff accepted the terms of the Policy, and paid good and valuable consideration

         therefore, in the form of the insurance premiums.

                33.     The Policy constitutes a legal contract of insurance, binding on Plaintiff and

         Defendant.

                34.     The Insurer has breached the contract, by refusing to indemnify Plaintiff for the fire

         damage to the Lilac Property pursuant to the §A of the Policy’s Building and Personal Coverage

         Form (Pg. A062.).

                35.     As a result of said breach, Plaintiff has been damaged in the amount of at least

         $200,000.00, the limits of insurance specified in the Declarations. (Exhibit A pg. A050.)




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                WHEREFORE, Plaintiff demands judgment in an amount to be determined at trial, but no

         less than $200,000.00, plus prejudgment interests, costs and fees to the fullest extent permitted by

         law, together with such other relief in favor of Plaintiff as the Court deems just and proper.

         Dated: Schenectady, New York                  Respectfully submitted,
                May 4, 2023

                                                       E. STEWART JONES HACKER MURPHY LLP


                                               By:        /s/ John F. Harwick
                                                       John F. Harwick
                                                       Attorneys for the Plaintiff
                                                       200 Harborside Drive, Suite 300
                                                       Schenectady, N.Y. 12305
                                                       (518) 274-5820
                                                       Jharwick@joneshacker.com




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                       Exhibit A
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                                           A001

       Genera/Star·
                     BeyondSecll'IIY"   GENERAL STAR INDEMNITY COMPANY




                                         COMMERCIAL LINES POLICY




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               9eyond 'Se<J.wlfy"'
                      SCHEDULE OF FORMS AND ENDORSEMENTS

    POLICY NUMBER:                                               NAMED INSURED
    I MA35 3 869 -A                                              George Henderson



    Endorsement No./Edition Date/Form Description

    Forms Applicabl e - INTERLINE
    GSI-04-CP00D (03-10)             COMM POLICY DECL
    GSI-04- I 618 (08 -0 6)          COMMON POLI CY CONDITIONS
    GSI - 04 - I600 (03 - 10)        SERVICE OF SUIT CLAUSE
    GSI-04-I604 (01-01)              MINIMUM EARNED PREM
    Forms Applicabl e - GENERAL LI ABILITY
    GSI-04-CGLDEC(05 -04)            GENERAL LIABI LI TY DECL
    GSI - 04-CGLDECX(05 - 04)        COMM GL EXT DECL
    CG000 l (04- 1 3)                GL COVERAGE FORM- OCC
    GSI - 04 - C600 (05 - 20)        COMBINED PROVISIONS ENDT
    I L002 1 (09-08)                 NUCLEAR ENERGY LI AB EXCL
    CG0163 (04 - 17)                 NEW YORK CHANGES
    CG2132 (05-09)                   COMMUNI CABLE DISEASE EXCLUSION
    CG2144 (04 - 17)                 LIMITATION OF COVERAGE TO DESIGNATED PREMISES OR PROJECTS
    CLF 11 0018 (06 -15)             DESIGNATED ANIMAL LIABILITY LIMITATION
    Forms Applic abl e - PROPERTY
    GSI-04-CP03D (05-04)             COMM PROPERTY COV DECL
    GSI - 04 - CPDECX(05 - 04)       COMM PROP EXT DECL
    GSI-04-P400 (09-19)              PROPERTY COMBI NED PROVI S I ONS ENDORSEMENT
    GSI - 04 - P433 (01 - 07)        TOTAL LOSS ENDT
    GSI-04-P487 (09-20)              APPLICATI ON OF THE DEDUCTI BLE ENDORSEMENT
    CP00l0 (10 - 12)                 BUILDING AND PERS PROP COVG
    CP0090 (07-88)                   COMM PROPERTY CONDI TIONS
    CP0133 (05-18)                   NEW YORK CHANGES
    CP1010 (10- 1 2)                 CAUSE OF LOSS-BASIC
    CP1030 (09 - 17)                 CAUSE OF LOSS - SPECIAL
    CP1075 (12-20)                   EXCLUS I ON - CYBER I NC IDENT
    CPR 21 0001 (03 - 17)            EXCLUSION - PRE - EXISTING DAMAGE
    CPR 2 1 0004 (11-19)             EXCLUSION - BIOLOGICAL OR CHEMICAL MATERIALS
    CPR 21 0005 (11 - 19)            AMENDMENT OF THE NUCLEAR HAZARD EXCLUSION ENDORSEMENT
    CPR 21 0006 (11 -1 9)            EXCLUSION - TERRORISM
    CPR 21 0008 (07 - 20)            EXCLUSION-VI RUS OR BACTERIA
    Forms Applicabl e - EQUIPMENT BREAKDOWN
    GSI - 04 - EB00l (05 - 07)       EQUIP BREAKDOWN COVG FORM




                                           ADDITIONAL FORMS



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                  SCHEDULE OF FORMS AND ENDORSEMENTS (continued)


    Endorsement No./Edition Date/Form Description




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                                       GENERAL STAR INDEMNITY COMPANY
            Genera/Star·                              120 LONG RIDGE ROAD
                                                           PO BOX 10354
                                                STAMFORD, CONNECTICUT 06904-2354
                                                    A Stock Insurance Company

                                              COMMON POLICY DECLARATIONS
            POLICY # __I_MA.353869-A                                        RENEWAL OF POLICY #_ Il_1A353869
            1. NAMED INSURED               George Henderson

              MAILING ADDRESS              3493 ~Q_Jlo~te 6 7~ _ _ _ _ _ _ _ _ _ _ _ _ __
                                           Freeh old, NY 12431



            2. POLICY PERIOD :         From        01/21_/2022        to       01L21/2023
                                       at 12:0 1 AM Standard Time at your mafllng address shown above

              IN RETURN FOR THE PAYMENT OF THE PREMIUM. AND SUBJECT TO ALL THE TERMS OF THIS POLICY. WE AGREE
              WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


            3. T HIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS
               FO R WHIC H A PREMIUM IS INDICATED. THIS PREMIUM MAY
              BE SUBJECT TO ADJUSTMENT.                                                                 PREMIUM
                    Commercial Property Coverage Part                                               s        s, 142. 00
                    Commercial Inland Manne Coverage Part                                           s
                    Commerc,al General Liability Coverage Part                                      s        J,215.00
                    Equipment Breakdown Coverage                                                    s          275 .00
                    Liquor Liability Coverage Part                                                  s
                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Coverage Part                               s
                                                                         TOTAL PREMIUM S - - = B,~6=9=2~.0~0.
                                                              STATE SURPLUS TAX ( 4. 000 %)$ - - - - -
                                                              POLICY FEE                   S
                                                              SERVICE FEE                           S
                                                              STAMPING FEE                          $
                                                                                                    $
                                                                                                    s
                                                                                                    s
                                                                                                    $ _ _ _ __
                                                        POLICY TOTAL (payable at Inception) S                 8,692.00
            4. FORM OF BUSINESS:
               [E Individual                    0 Partnership            D Limited Liability Company
               D Joint Venture                  D Organization (Oth er than Partnershlp, Joint Vent\.lre or Limited Liability Company)
            5. BUSINESS DESCRIPTION: Property OWner


            6. FORMS AND ENDO RSEMENTS (other than applicable Fo rms and Endorsements shown elsewhere in the policy)
                                    See Schedule of Forms & Endorsements GSl-04-FORMSCH (1- 01)
            THESE COMMON POLICY DECLARATIONS, AND OTHER APPLICABLE COVERAGE PART DECLARATIONS, TOGETHER
            WITH THE COMMON POLICY CONDITIONS, COVERAGE FORM(S) AND FORMS    ENDORSEMENTS, IF ANY, ISSUED
            TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

            COUNTERSIGNED AT Barre, VT OIP                 BY:7""7.- - . - - . - - ~,f/.-- ~.q,,,--,-""'"'-- ~ ~    ---.---
                                                              Authorized representa   e or countersignature, whichever applies.
            DATE 01/28/2 02.2                             PRODUCER CODE: 15240

                                                          PRODUCER NAME· New England Excess Exchange


                                                           ORIGIN1\L




                            This ls to certify t hat Excess Line Association of New York received and reviewed t'be
                                                                                                                                  03/09/2022
                            attached insurance document in accordance with Article 21 of the New York State                       l d:426720095
                            Ins11rance Law
                            THE INSURER(S) NAMED HEREII\ IS (ARE) NOT LICENSED BY THE STAIE OF NEW YORK,
                            NOT SUBJECT TO ITS SUPERVISION, Al"ffi IN THE EVENl OF THE INSOLVENCY OF THE
                            lNSURER(S), N OT PROTECTED BY THE NEW YORK STATE SECURITY FU~S. THE POLICY
                            MAY NOT BE SUBJECT 10 ALL OF THE REGULATIONS OF THE DEPARTMENT OF
                            FJNANCIAL SERVICES PERTAINING TO POLICY FORMS.
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                               GENERAL STAR INDEMNITY COMPANY

                                        COMMON POLICY CONDITIONS
      All Coverage Parts included in this policy are subject to the following conditions.

      A. Cancellation                                                          D. Inspections And Surveys
           1.   The first Named Insured shown in the                                1.    We have the right to:
                Declarations may cancel this policy by mailing                           a.    Make inspections and surveys at any
                or delivering to us advance written notice of                                  time;
                cancellation.
                                                                                          b. Give you reports on the conditions we
          2.    We may cancel this policy by mailing or                                      find; and
                delivering to the first Named Insured written
                notice of cancellation at least:                                         c.    Recommend changes.
                a. 10 days before the effective date of                             2.   We are not obligated to make any
                     cancellation if we cancel for nonpayment                            inspections,      surveys,       reports      or
                     of premium or for the failure to provide to                         recommendations and any such actions we
                     the   Company       any    audit    related                         do undertake relate only to insurability and
                     documentation, for either this insurance                            the premiums to be charged. We do not make
                     policy or any other insurance policy                                safety inspections. We do not undertake to
                     issued to a Named Insured in the past; or                           perform the duty of any person or
                                                                                         organization to provide for the health or safety
                 30 days before the effective date of
                b.                                                                       of workers or the public. And we do not
                 cancellation if we cancel for any other                                 warrant that conditions:
                 reason.
                                                                                         a.    Are safe or healthful; or
          3. We will mail or deliver our notice to the first
             Named lnsured's last mailing address known                                   b. Comply with laws, regulations, codes or
             to US.                                                                          standards.
          4. Notice of cancellation will state the effective                        3. Paragraphs 1. and 2. of this condition apply
                date of cancellation. The policy period will                           not only to us, but also to any rating, advisory,
                end on that date.                                                      rate service or similar organization which
                                                                                       makes insurance inspections,            surveys,
          5.    If this policy is cancelled, we will send the first                    reports or recommendations.
                Named Insured any premium refund due. If
                we cancel, the refund will be pro rata. If the                      4.   Paragraph 2. of this condition does not apply
                first Named Insured cancels, the refund may                              to any inspections, surveys, reports or
                be less than pro rata. The cancellation will be                          recommendations we may make relative to
                effective even if we have not made or offered                            certification, under state or municipal statutes,
                a refund.                                                                ordinances or regulations, of boilers, pressure
                                                                                         vessels or elevators.
          6.    If notice is mailed, proof of mailing will be
                sufficient proof of notice.                                    E.   Premiums
      B. Changes                                                                    The first Named               Insured   shown    in    the
                                                                                    Deelarations:
         This policy contains all the agreements between
         you and us concerning the insurance afforded.                              1.   Is responsible for the payment of all
         The first Named Insured shown in the                                            premiums. Failure to pay any premium or to
         Declarations is authorized to make changes in the                               provide to the Company any audit-related
         terms of this policy with our consent. This policy's                            documentation, for either this insurance policy
         terms can be amended or waived only by                                          or any other insurance policy issued to a
         endorsement issued by us and made a part of this                                Named Insured in the past, will result in a
         policy.                                                                         cancellation of this policy; and
      C. Examination Of Your Books And Records                                      2.    Will be the payee for any return premiums we
                                                                                          pay.
          We may examine and audit your books and
          records as they relate to this policy at any time                    F. Representations On Application Warranty.
          during the policy period and up to three years                            The following representations on application
          afterward.                                                                warranty applies to all Coverage Parts attached to
                                                                                    this policy.


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          By accepting this policy, you agree, represent and                             for any claim(s) null and void and entitles us
          warrant that:                                                                  to rescind the policy from its inception; and
           1.   The statements and information contained in                        3.   The application for this policy is incorporated
                the application for insurance, including all                            and made part of the policy by reference.
                statements, information and documents                         G. Transfer Of Your Rights And Duties Under
                accompanying or relating to the application                      This Policy
                are:                                                               Your rights and duties under this policy may not
                (a) Accurate and complete and no facts have                        be transferred without our written consent except
                    been suppressed, omitted or misstated;                         in the case of death of an individual named
                    and                                                            insured.
                (b) Material to us, and we have issued this                        If you die, your rights and duties will be
                     policy in reliance upon them;                                 transferred to your legal representative but only
          2.    Any failure to fully disclose the information                      while acting within the scope of duties as your
                requested in the application for insurance,                        legal     representative_   Until   your     legal
                whether by omission or suppression, or any                         representative is appointed, anyone having
                misrepresentation in the statements and                            proper temporary custody of your property will
                information contained in the application for                       have your rights and duties but only with respect
                insurance,     including     all   statements,                     to that property.
                information and documents accompanying or
                relating to the application, renders coverage




      IN WITNESS WHEREOF The General Star Indemnity Company has caused this Policy to be signed by its Presi-
      dent and Secretary at Stamford, Connecticut, but the same shall not be binding upon the Company unless
      countersigned on the Declarations Page by an authorized representative of the Company.

                                                                                   GENERAL STAR INDEMNITY COMPANY




         Secretary                                                                President




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                                  GENERAL STAR INDEMNITY COMPANY
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                        SERVICE OF SUIT CLAUSE

      It is agreed that in the event of the failure of General Star Indemnity Company (the "Insurer") to pay any
      amount claimed to be due hereunder, the Insurer, at the request of the insured, will submit to the jurisdiction
      of any Court of competent jurisdiction within the United States of America and will comply with all
      requirements necessary to give such Court jurisdiction. All matters arising hereunder shall be determined in
      accordance with the law and practice of such Court. However, nothing in this provision constitutes a waiver
      of the Insurer's rights to remove an action to a United States District Court, or to seek a transfer of a case to
      another Court as permitted by the laws of the United States of America or of any State in the United States.

      It is further agreed that service of process in such suit may be made upon the Insurer by certified mail, return
      receipt requested, addressed to the Insurer in care of it's Corporate Secretary, Attention: Legal Department,
      General Star Indemnity Company, 120 Long Ridge Road, Stamford, CT 06902-1843. In any suit instituted
      under this contract, Insurer will abide by the final decision of such Court or of any Appellate Court in the event
      of an appeal.

      The above-referenced Corporate Secretary, or his designee, is authorized and directed to accept service of
      process on behalf of the Insurer in any such suit or upon the request of the insured to give a written
      undertaking to the insured that it will enter a general appearance upon the Insurer's behalf in the event such a
      suit shall be instituted

      Further, pursuant to any statute of any state, territory or district of the United States of America, which makes
      provision therefor, the Insurer hereby designates the Superintendent, Commissioner or Director of Insurance,
      or such other insurance department representative, or such other governmental officer, such as the Secretary
      of State, specified for that purpose in the statute, or his successor or successors in office, as its true and
      lawful attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or
      on behalf of the insured or any beneficiary hereunder arising out of this contract of insurance, and hereby
      designates the Insurer's Corporate Secretary as the person to whom the said insurance department
      representative is authorized to mail such process or a true copy thereof




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                                   GENERAL STAR INDEMNITY COMPANY
                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                         MINIMUM EARNED PREMIUM

       Item 5. of Condition A Cancellation of the COMMON POLICY CONDITIONS is deleted and replaced by the following:


       5.      If this policy is cancelled, we will send the first Named Insured any premium refund due. If we cancel, the
               refund will be pro rata. If the first Named Insured cancels, the refund may be less than pro rata and such
               refund will be subject to minimum earned premium of               2s% of the TOTAL PREMIUM shown under
               item 3. of the COMMON POLICY DECLARATIONS. The cancellation will be effective even if we have not made
               or offered a refund




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                                       COMMERCIAL GENERAL LIABILITY DECLARATIONS




   POLICY# IMA353869-A

   1.    LIMITS OF INSURANCE
         EACH OCCURRENCE LIMIT                                                         $1,000,000
              DAMAGE TO PREMISES RENTED TO YOU LIMIT                                   $     100 t 000      Any one premises
              MEDICAL EXPENSE LIMIT                                                    $       5 000        Any one person
         PERSONAL & ADVERTISING INJURY LIMIT                                           $ 1 c 000 • 000      Any one person or organization
         GENERAL AGGREGATE LIMIT                                                                           $2,000,000
         PRODUCTS/COMPLETED OPERATIONS AGGREGATE LIMIT                                                     $ 2.000 , 000

   2. LOCATION(S) OF ALL PREMISES YOU OWN, RENT OR OCCUPY:                                                                                 Territory
   Loe#                           Address                                                                        City             State Zip Code

   1     3559 Co Route 67                                                                           Freehol d                      NY12431
   2     10 Enchante d Valley Rd                                                                    East Durham                    NY12423
   3     9358 Route 32                                                                              Freehold                       NY 12431
   4     3368 Rou te 67                                                                             Freehold                       NY12431
   3.
   t°C CLASSIFICATION                                   CODE KEY PREMIUM                 RATES                   ADVANCE PREMIUM
                                                         NO. LTR BASIS
                                                                                  Prem/Ops Prod/Comp Prem/Ops                     Prod/Comp
                                                                                             Ops                                  Ops
   1     Dwllings - one family                (LRO )      63010 T                 1   554 . 82 Incl       1,055                       Incl
   2     Dwllings - one family                (LRO)       63010 T                 1   554 .8 2 Incl         555                       Inc l
   3     Dwllings - one f amily               (LRO)       63010 T                 1   554.82 Inc l          555                       Incl
   4     Dwll ings - one family               (LRO)       63010 T                 1   554 .8 2 Incl         555                       Inc l




                                                                                           SUBTOTAL                  2, 720
                                        TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
                        (TRIA COVERAGE NOT APPLICABLE UNLESS PREMIUM SHOWN ABOVE)
                                                                           TOTAL ADVANCE PREMIUM                     3   275
              Audit period annual unless otherwise stated __

   4.    FORMS AND ENDORSEMENTS FORMING A PART OF THIS COVERAGE PART AND MADE PART OF THIS POLICY
         ON ITS EFFECTIVE DATE:
                                   See Schedule of Forms & Endorsements GSl-04-FORMSCH (1 -01)


   5.    RETROACTIVE DATE:_,,,_..-,--....-=-,-----,-,--(Applies only to CG 00 02 - Claims Made Commercial General
         Liability Coverage Form. If blank, Retroactive Date is the inception date of this policy shown under Item 2 POLICY
         PERIOD of the COMMON POLICY DECLARATIONS)

         a.     Coverage A of this insurance does not apply to "bodily injury" or "property damage" which occurs before the Retroactive
                Date shown above and Coverage B of this insurance does not apply to "personal and advertising injury" caused by an
                offense committed before the Retroactive Date shown above.

         b.     If applicable, the Retroactive Date for the insurance provided by some endorsements that are attached lo and form a part
                of this Coverage Part may be different from the Retroactive Date shown above. In that case, the Retroactive Date
                applicable lo the insurance provided by such endorsements w ill be shown in those endorsements.

          THESE DECLARATIONS ARE PART OF THE COMMON POLICY DECLARATIONS CONTAINING THE NAME OF
                                    THE INSURED AND THE POLICY PERIOD.

        GSl-04-CGLDEC (5/04)
                                                                ORIGINAL
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                                         COMMERCIAL GENERAL LIABILITY
                                           EXTENSION DECLARATIONS



 POLICY# I MA353869-A

 The f ollowing items are continued from Commercial General Liability Declarations:

 2.   LOCATION(S) OF ALL PREMISES YOU OWN, RENT OR OCCUPY:                                                            Territory
 Loe#                              Address                                                           City     State Zip Code
 5      9 Lilac Lane                                                                   Catski l l              NY 12414




 3.
 'fC CLASSIFICATION                           CODE KEY PREMIUM                   RATES              ADVANCE PREMIUM
                                                NO.   LTR    BASIS
                                                                          Prem/Ops Prod/Comp Prem/Ops         Prod/Comp
                                                                                      Ops                     Ops
 5    Dwellings - one family (LRO)             63010 T                1    554 . 82    Incl             555      I ncl




                                                               SUBTOTAL GSl-04-CGLDECX                  555

                                                                SUBTOTAL GSl-04-CGLDEC               2 720
                            TOTAL TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
                  (TRIA COVERAGE NOT APPLICABLE UNLESS PREMIUM SHOWN ABOVE)
                                                                TOTAL ADVANCE PREMIUM                3 275
         Audit period annual unless otherwise stated _ _ _ _ _ _ _ _ _ _ __

 GSl-04-CGLDECX (5/04)
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                                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                                       CG00010413


         COMMERCIAL GENERAL LIABILITY COVERAGE FORM
      Various provisions in this policy restrict coverage. Read          (2) The "bodily injury" or "property damage"
      the entire policy carefully to determine rights, duties                 occurs during the policy period; and
      and what is and is not covered.
                                                                         (3) Prior to the policy period, no insured listed
      Throughout this policy the words "you" and "your" refer                under Paragraph 1. of Section II - Who Is An
      to the Named Insured shown in the Declarations, and                    Insured and no "employee" authorized by
      any other person or organization qualifying as a                        you to give or receive notice of an
      Named Insured under this policy. The words "we", "us"                   "occurrence" or claim, knew that the "bodily
      and "our" refer to the company providing this                           injury" or "property damage" had occurred,
      insurance.                                                              in whole or in part. If such a listed insured or
      The word "insured" means any person or organization                     authorized "employee" knew, prior to the
      qualifying as such under Section 11 - Who Is An                         policy period, that the "bodily injury" or
      Insured.                                                                "property damage" occurred, then any
                                                                              continuation, change or resumption of such
      Other words and phrases that appear in quotation                        "bodily injury" or "property damage" during
      marks have special meaning. Refer to Section V                          or after the policy period will be deemed to
      - Definitions.                                                          have been known prior to the policy period
      SECTION I - COVERAGES                                            c. "Bodily injury" or "property damage" which
      COVERAGE A - BODILY INJURY AND PROPERTY                             occurs during the policy period and was not,
      DAMAGE LIABILITY                                                    prior to the policy period, known to have
       1. Insuring Agreement                                              occurred by any insured listed under Paragraph
                                                                          1. of Section 11 - Who Is An Insured or any
         a. We will pay those sums that the insured                       "employee" authorized by you to give or receive
             becomes legally obligated to pay as damages                  notice of an "occurrence" or claim, includes any
             because of "bodily injury" or "property damage"              continuation, change or resumption of that
             to which this insurance applies. We will have the            "bodily injury" or "property damage" after the
             right and duty to defend the insured against any             end of the policy period.
             "suit" seeking those damages. However, we will
             have no duty to defend the insured against any            d. "Bodily injury" or "property damage" will be
             "suit" seeking damages for "bodily injury" or                deemed to have been known to have occurred
             "property damage" to which this insurance does               at the earliest time when any insured listed
             not apply. We may, at our discretion, investigate            under Paragraph 1. of Section II - Who Is An
             any "occurrence" and settle any claim or "suit"              Insured or any "employee" authorized by you to
             that may result. But:                                        give or receive notice of an "occurrence" or
                                                                          claim:
            (1) The amount we will pay for damages is
                limited as described in Section Ill - Limits Of          (1) Reports all, or any part, of the "bodily injury"
                Insurance; and                                                or "property damage" to us or any other
                                                                              insurer;
            (2) Our right and duty to defend ends when we
                have used up the applicable limit of                     (2) Receives a written or verbal demand or
                insurance in the payment of judgments or                      claim for damages because of the "bodily
                settlements under Coverages A or B or                         injury" or "property damage"; or
                medical expenses under Coverage C.                       (3) Becomes aware by any other means that
             No other obligation or liability to pay sums or                  "bodily injury" or "property damage" has
             perform acts or services is covered unless                       occurred or has begun to occur.
             explicitly provided for under Supplementary               e. Damages because of "bodily injury" include
             Payments - Coverages A and B.                                damages claimed by any person or organization
         b. This insurance applies to "bodily injury" and                 for care, loss of services or death resulting at
             "property damage" only if:                                   any time from the "bodily injury".
            (1) The "bodily injury" or "property damage" is
                caused by an "occurrence" that takes place
                in the "coverage territory";




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       2. Exclusions                                                       This exclusion applies even if the claims against
                                                                           any insured allege negligence or other
          This insurance does not apply to:
                                                                           wrongdoing in:
          a. Expected Or Intended Injury
                                                                              (a) The supervision, hiring, employment,
             "Bodily injury" or "property damage" expected or                     training or monitoring of others by that
             intended from the standpoint of the insured.                         insured; or
             This exclusion does not apply to "bodily injury"
                                                                              (b) Providing    or    failing   to    provide
             resulting from the use of reasonable force to
                                                                                  transportation with respect to any person
             protect persons or property.
                                                                                  that may be under the influence of
          b. Contractual Liability                                                alcohol ;
             "Bodily injury" or "property damage" for which                if the "occurrence" which caused the "bodily
             the insured is obligated to pay damages by                    inj ury" or "property damage", involved that
             reason of the assumption of liability in a contract           which is described in Paragraph (1 ), (2) or (3)
             or agreement. This exclusion does not apply to                above.
             liability for damages:
                                                                           However, this exclusion applies only if you are in
            (1) That the insured would have in the absence                 the business of manufacturing, distributing,
                of the contract or agreement; or                           selling,   serving    or furnishing      alcoholic
            (2) Assumed in a contract or agreement that is                 beverages. For the purposes of this exclusion,
                an "insured contract", provided the "bodily                permitting a person to bring alcoholic beverages
                injury" or "property damage" occurs                        on your premises, for consumption on your
                subsequent to the execution of the contract                premises, whether or not a fee is charged or a
                or agreement. Solely for the purposes of                   license is required for such activity, is not by
                liability assumed in an "insured contract",                itself considered the business of selling, serving
                reasonable attorneys' fees and necessary                   or furnishing alcoholic beverages.
                litigation expenses incurred by or for a party         d. Workers' Compensation And Similar Laws
                other than an insured are deemed to be
                                                                           Any obligation of the insured under a workers'
                damages because of "bodily injury" or
                                                                           compensation,       disability  benefits   or
                "property damage", provided:
                                                                           unemployment compensation law or any similar
                (a) Liability to such party for, or for the cost           law.
                    of, that party's defense has also been
                                                                       e. Employer's Liability
                    assumed in the same "insured contract";
                    and                                                    "Bodily injury" to:
                (b) Such attorneys' fees and litigation                   (1) An "employee" of the insured arising out of
                    expenses are for defense of that party                    and in the course of:
                    against a civil or alternative dispute                    (a) Employment by the insured; or
                    resolution proceeding in which damages
                    to which this insurance applies are                       (b) Performing duties related to the conduct
                    alleged.                                                      of the insured's business; or
          c. Liquor Liability                                             (2) The spouse, child, parent, brother or sister
                                                                              of that "employee" as a consequence of
             "Bodily injury" or "property damage" for which                   Paragraph (1) above.
             any insured may be held liable by reason of:
                                                                           This exclusion applies whether the insured may
            (1) Causing or contributing to the intoxication of             be liable as an employer or in any other
                any person;                                                capacity and to any obligation to share
            (2) The furnishing of alcoholic beverages to a                 damages with or repay someone else who must
                person under the legal drinking age or under               pay damages because of the injury.
                the influence of alcohol; or                               This exclusion does not apply to liability
            (3) Any statute, ordinance or regulation relating              assumed by the insured under an "insured
                to the sale, gift, distribution or use of                  contract".
                alcoholic beverages.




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          f. Pollution                                                     (d) At or from any premises, site or location
            (1) "Bodily injury" or "property damage" arising                      on which any insured or any contractors
                out of the actual, alleged or threatened                          or subcontractors working directly or
                discharge, dispersal, seepage, migration,                         indirectly on any insured's behalf are
                release or escape of "pollutants":                                performing operations if the "pollutants"
                                                                                  are brought on or to the premises, site or
               (a) At or from any premises, site or location                      location in connection with such
                   which is or was at any time owned or                           operations by such insured, contractor or
                   occupied by, or rented or loaned to, any                       subcontractor.        However,        this
                   insured. However, this subparagraph                            subparagraph does not apply to:
                   does not apply to:
                                                                                  (i) "Bodily injury" or "property damage"
                   (i) "Bodily injury" if sustained within a                         arising out of the escape of fuels,
                       building and caused by smoke,                                 lubricants or other operating fluids
                       fumes, vapor or soot produced by or                           which are needed to perform the
                       originating from equipment that is                            normal      electrical, hydraulic or
                       used to heat, cool or dehumidify the                          mechanical functions necessary for
                       building, or equipment that is used to                        the operation of "mobile equipment"
                       heat water for personal use, by the                           or its parts, if such fuels, lubricants or
                       building's occupants or their guests;                         other operating fluids escape from a
                   (ii) "Bodily injury" or "property damage"                         vehicle part designed to hold, store or
                        for which you may be held liable, if                         receive them. This exception does not
                        you are a contractor and the owner or                        apply if the "bodily injury" or "property
                        lessee of such premises, site or                             damage" arises out of the intentional
                        location has been added to your                              discharge, dispersal or release of the
                        policy as an additional insured with                         fuels, lubricants or other operating
                        respect to your ongoing operations                           fluids, or if such fuels, lubricants or
                        performed for that additional insured                        other operating fluids are brought on
                        at that premises, site or location and                       or to the premises, site or location
                        such premises, site or location is not                       with the intent that they be
                        and never was owned or occupied by,                          discharged, dispersed or released as
                        or rented or loaned to, any insured,                         part of the operations being
                        other than that additional insured; or                       performed         by    such      insured,
                  (iii) "Bodily injury" or "property damage"
                                                                                     contractor or subcontractor;
                        arising out of heat, smoke or fumes                   (ii) "Bodily injury" or "property damage"
                        from a "hostile fire";                                       sustained within a building and
                                                                                     caused by the release of gases,
               (b) At or from any premises, site or location
                                                                                     fumes or vapors from materials
                   which is or was at any time used by or for
                                                                                     brought into that building           in
                   any insured or others for the handling,
                   storage,    disposal,     processing    or                        connection with operations being
                   treatment of waste;                                               performed by you or on your behalf
                                                                                     by a contractor or subcontractor; or
               (c) Which    are or were at any time
                                                                              (iii) "Bodily injury" or "property damage"
                   transported, handled, stored, treated,
                                                                                     arising out of heat, smoke or fumes
                   disposed of, or processed as waste by or
                                                                                     from a "hostile fire".
                   for:
                                                                           (e) At or from any premises, site or location
                   (i) Any insured; or
                                                                                  on which any insured or any contractors
                  (ii) Any person or organization for whom                        or subcontractors working directly or
                       you may be legally responsible; or                         indirectly on any insured's behalf are
                                                                                  performing operations if the operations
                                                                                  are to test for, monitor, clean up,
                                                                                  remove, contain, treat, detoxify or
                                                                                  neutralize, or in any way respond to, or
                                                                                  assess the effects of, "pollutants".




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           (2) Any loss, cost or expense arising out of any:             (5) "Bodily injury" or "property damage" arising
              (a) Request, demand, order or statutory or                     out of:
                  regulatory requirement that any insured                   (a) The     operation     of    machinery    or
                  or others test for, monitor, clean up,                        equipment that is attached to, or part of,
                  remove, contain, treat, detoxify or                           a land vehicle that would qualify under
                  neutralize, or in any way respond to, or                      the definition of "mobile equipment" if it
                  assess the effects of, "pollutants"; or                       were not subject to a compulsory or
              (b) Claim or suit by or on behalf of a                            financial responsibility law or other motor
                  governmental authority for damages                            vehicle insurance law where it is licensed
                  because of testing for, monitoring,                           or principally garaged; or
                  cleaning up, removing, containing,                        (b) The operation of any of the machinery or
                  treating, detoxifying or neutralizing, or in                  equipment listed in Paragraph f.(2) or
                  any way responding to, or assessing the                       f.(3) of the definition of "mobile
                  effects of, "pollutants".                                     equipment".
               However, this paragraph does not apply to               h. Mobile Equipment
               liability for damages because of "property                 "Bodily injury" or "property damage" arising out
               damage" that the insured would have in the
                                                                          of:
               absence of such request, demand, order or
               statutory or regulatory requirement, or such              (1) The transportation of "mobile equipment" by
               claim or "suit" by or on behalf of a                          an "auto" owned or operated by or rented or
               governmental authority.                                       loaned to any insured; or
         g. Aircraft, Auto Or Watercraft                                 (2) The use of "mobile equipment" in, or while in
                                                                             practice for, or while being prepared for, any
            "Bodily injury" or "property damage" arising out                 prearranged racing, speed, demolition, or
            of the ownership, maintenance, use or                            stunting activity.
            entrustment to others of any aircraft, "auto" or
            watercraft owned or operated by or rented or               i. War
            loaned to any insured. Use includes operation                 "Bodily injury" or "property damage", however
            and "loading or unloading".                                   caused, arising, directly or indirectly, out of:
            This exclusion applies even if the claims against            (1) War, including undeclared or civil war;
            any insured allege negligence or other
                                                                         (2) Warlike action by a military force, including
            wrongdoing       in    the   supervision,    hiring,
                                                                             action in hindering or defending against an
            employment, training or monitoring of others by
                                                                             actual or expected attack, by any
            that insured, if the "occurrence" which caused
                                                                             government, sovereign or other authority
            the "bodily injury" or "property damage" involved
                                                                             using military personnel or other agents; or
            the    ownership,       maintenance,      use     or
            entrustment to others of any aircraft, "auto'' or            (3) Insurrection, rebellion, revolution, usurped
            watercraft that is owned or operated by or                       power, or action taken by governmental
            rented or loaned to any insured.                                 authority in hindering or defending against
                                                                             any of these.
            This exclusion does not apply to:
                                                                       j. Damage To Property
           (1) A watercraft while ashore on premises you
               own or rent;                                               "Property damage" to:
           (2) A watercraft you do not own that is:                      (1) Property you own, rent, or occupy, including
                                                                             any costs or expenses incurred by you, or
              (a) Less than 26 feet long; and
                                                                             any other person, organization or entity, for
              (b) Not being used to carry persons or                         repair,     replacement,      enhancement,
                  property for a charge;                                     restoration or maintenance of such property
           (3) Parking an "auto" on, or on the ways next to,                 for any reason, including prevention of injury
               premises you own or rent, provided the                        to a person or damage to another's property;
               "auto" is not owned by or rented or loaned to             (2) Premises you sell, give away or abandon, if
               you or the insured;                                           the "property damage" arises out of any part
           (4) Liability assumed under any "insured                          of those premises;
               contract" for the ownership, maintenance or               (3) Property loaned to you;
               use of aircraft or watercraft; or




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           (4) Personal property in the care, custody or                  This exclusion does not apply to the loss of use
               control of the insured;                                    of other property arising out of sudden and
                                                                          accidental physical injury to "your product" or
           (5) That particular part of real property on which
                                                                          "your work" after it has been put to its intended
               you or any contractors or subcontractors
                                                                          use.
               working directly or indirectly on your behalf
               are performing operations, if the "property            n. Recall Of Products, Work Or Impaired
               damage" arises out of those operations; or                Property
           (6) That particular part of any property that must             Damages claimed for any loss, cost or expense
               be restored, repaired or replaced because                  incurred by you or others for the loss of use,
               "your work" was incorrectly performed on it.               withdrawal.    recall,   inspection,    repair,
                                                                          replacement, adjustment, removal or disposal
            Paragraphs (1), (3) and (4) of this exclusion do
                                                                          of:
            not apply to "property damage" (other than
            damage by fire) to premises, including the                   (1) "Your product";
            contents of such premises, rented to you for a               (2) "Your work"; or
            period of seven or fewer consecutive days. A
            separate limit of insurance applies to Damage                (3) "Impaired property";
            To Premises Rented To You as described in                     if such product, work, or property is withdrawn
            Section Ill - Limits Of Insurance.                            or recalled from the market or from use by any
            Paragraph (2) of this exclusion does not apply if             person or organization because of a known or
            the premises are "your work" and were never                   suspected defect, deficiency, inadequacy or
            occupied, rented or held for rental by you.                   dangerous condition in it.
            Paragraphs (3), (4), (5) and (6) of this exclusion        o. Personal And Advertising Injury
            do not apply to liability assumed under a                     "Bodily injury" arising out of "personal and
            sidetrack agreement.                                          advertising injury".
            Paragraph (6) of this exclusion does not apply            p. Electronic Data
            to "property damage" included in the                          Damages arising out of the loss of, loss of use
            "products-completed operations hazard".                       of, damage to, corruption of, inability to access,
         k. Damage To Your Product                                        or inability to manipulate electronic data.
            "Property damage" to "your product" arising out               However, this exclusion does not apply to
            of it or any part of it.                                      liability for damages because of "bodily injury".
          I. Damage To Your Work                                          As used in this exclusion, electronic data means
             "Property damage" to "your work" arising out of              information, facts or programs stored as or on,
             it or any part of it and included in the                     created or used on, or transmitted to or from
             "products-completed operations hazard".                      computer software, including systems and
                                                                          applications software, hard or floppy disks,
            This exclusion does not apply if the damaged                  CD-ROMs. tapes. drives. cells, data processing
            work or the work out of which the damage                      devices or any other media which are used with
            arises was performed on your behalf by a                      electronically controlled equipment.
            subcontractor.
                                                                      q. Recording And Distribut ion Of Material Or
        m. Damage To Impaired Property Or Property                       Information In Violation Of Law
           Not Physically Injured
                                                                          "Bodily injury" or "property damage" arising
            "Property damage" to "impaired property" or                   directly or indirectly out of any action or
            property that has not been physically injured,                omission that violates or is alleged to violate:
            arising out of:
                                                                         (1) The Telephone Consumer Protection Act
           (1) A   defect. deficiency, inadequacy or                         (TCPA), including any amendment of or
               dangerous condition in "your product" or                      addition to such law;
               "your work"; or
                                                                         (2) The CAN-SPAM Act of 2003, including any
           (2) A delay or failure by you or anyone acting on                 amendment of or addition to such law;
               your behalf to perform a contract or
               agreement in accordance with its terms.                   (3) The Fair Credit Reporting Act (FCRA), and
                                                                             any amendment of or addition to such law.
                                                                             including the Fair and Accurate Credit
                                                                             Transactions Act (FACTA); or



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           (4) Any federal, state or local statute, ordinance      2. Exclusions
               or regulation, other than the TCPA,                    This insurance does not apply to:
               CAN-SPAM Act of 2003 or FCRA and their
               amendments and additions, that addresses,               a. Knowing Violation Of Rights Of Another
               prohibits. or limits the printing, dissemination,          "Personal and advertising injury" caused by or
               disposal, collecting, recording, sending,                  at the direction of the insured with the
               transmitting, communicating or distribution of             knowledge that the act would violate the rights
               material or information_                                   of another and would inflict "personal and
         Exclusions c. through n. do not apply to damage by               advertising injury".
         fire to premises while rented to you or temporarily           b. Material Published With Knowledge Of
         occupied by you with permission of the owner. A                  Falsity
         separate limit of insurance applies to this coverage             "Personal and advertising injury" arising out of
         as described in Section 111 - Limits Of Insurance.               oral or written publication, in any manner, of
      COVERAGE B - PERSONAL AND ADVERTISING                               material, if done by or at the direction of the
      INJURY LIABILITY                                                    insured with knowledge of its falsity.
      1. Insuring Agreement                                            c. Material Published Prior To Policy Period
         a. We will pay those sums that the insured                       "Personal and advertising injury" arising out of
            becomes legally obligated to pay as damages                   oral or written publication, in any manner, of
            because of "personal and advertising injury" to               material whose first publication took place
            which this insurance applies. We will have the                before the beginning of the policy period.
            right and duty to defend the insured against any
                                                                      d. Criminal Acts
            "suit" seeking those damages. However, we will
            have no duty to defend the insured against any                "Personal and advertising injury" arising out of a
            "suit" seeking damages for "personal and                      criminal act committed by or at the direction of
            advertising injury" to which this insurance does              the insured.
            not apply. We may, at our discretion, investigate          e. Contractual Liability
            any offense and settle any claim or "suit" that
                                                                          "Personal and advertising injury" for which the
            may result. But:
                                                                          insured has assumed liability in a contract or
           (1) The amount we will pay for damages is                      agreement. This exclusion does not apply to
               limited as described in Section 111 - Limits Of            liability for damages that the insured would have
                Insurance; and                                            in the absence of the contract or agreement.
           (2) Our right and duty to defend end when we                f. Breach Of Contract
               have used up the applicable limit of
                                                                          "Personal and advertising injury" arising out of a
               insurance in the payment of judgments or
                                                                          breach of contract, except an implied contract to
               settlements under Coverages A or B or
                                                                          use another's advertising idea in your
               medical expenses under Coverage C.
                                                                          "advertisement".
            No other obligation or liability to pay sums or
                                                                      g. Quality Or Performance Of Goods - Failure
            perform acts or services is covered unless
                                                                         To Conform To Statements
            explicitly provided for under Supplementary
            Payments - Coverages A and B.                                 "Personal and advertising injury" arising out of
         b. This   insurance applies to "personal and                     the failure of goods, products or services to
            advertising injury" caused by an offense arising              conform with any statement of quality or
                                                                          performance made in your "advertisement".
            out of your business but only if the offense was
            committed in the "coverage territory" during the           h. Wrong Description Of Prices
            policy period.                                                "Personal and advertising injury" arising out of
                                                                          the wrong description of the price of goods,
                                                                          products   or    services   stated     in  your
                                                                          "advertisement".




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          i. Infringement Of Copyright, Patent,                       n. Pollution-related
            Trademark Or Trade Secret                                    Any loss, cost or expense arising out of any:
            "Personal and advertising injury" arising out of            (1) Request, demand, order or statutory or
            the infringement of copyright, patent, trademark,               regulatory requirement that any insured or
            trade secret or other intellectual property rights.             others test for, monitor, clean up, remove,
            Under this exclusion, such other intellectual                   contain, treat, detoxify or neutralize, or in any
            property rights do not include the use of                       way respond to, or assess the effects of,
            another's     advertising     idea      in    your              "pollutants"; or
            "advertisement".
                                                                        (2) Claim or suit by or on behalf of a
            However, this exclusion does not apply to                       governmental      authority   for damages
            infringement, in your "advertisement", of                       because of testing for, monitoring , cleaning
            copyright, trade dress or slogan.                               up,     removing,     containing,    treating,
          j. Insureds In Media And Internet Type                            detoxifying or neutralizing, or in any way
             Businesses                                                     responding to, or assessing the effects of,
            "Personal and advertising injury" committed by                  "pollutants".
            an insured whose business is:                             o. War
           (1) Advertising,   broadcasting,    publishing   or           "Personal and advertising injury", however
               telecasting;                                              caused, arising, directly or indirectly, out of:
           (2) Designing or determining content of web                  (1) War, including undeclared or civil war;
               sites for others; or                                     (2) Warlike action by a military force, including
           (3) An   Internet search, access, content or                     action in hindering or defending against an
               service provider.                                            actual or expected attack, by any
            However, this exclusion does not apply to                       government, sovereign or other authority
            Paragraphs 14.a., b. and c. of "personal and                    using military personnel or other agents; or
            advertising injury" under the Definitions section.          (3) Insurrection, rebellion, revolution, usurped
            For the purposes of this exclusion, the placing                 power, or action taken by governmental
            of frames, borders or links, or advertising, for                authority in hindering or defending against
            you or others anywhere on the Internet, is not by               any of these.
            itself, considered the business of advertising,           p. Recording And Distribution Of Material Or
            broadcasting, publishing or telecasting .                    Information In Violation Of Law
         k. Electronic Chatrooms Or Bulletin Boards                      "Personal and advertising injury" arising directly
            "Personal and advertising injury" arising out of             or indirectly out of any action or omission that
            an electronic chatroom or bulletin board the                 violates or is alleged to violate:
            insured hosts, owns, or over which the insured              (1) The Telephone Consumer Protection Act
            exercises control.                                               (TCPA), including any amendment of or
          I. Unauthorized Use Of Another's Name Or                           addition to such law;
             Product                                                    (2) The CAN-SPAM Act of 2003, including any
            "Personal and advertising injury" arising out of                amendment of or addition to such law;
            the unauthorized use of another's name or                   (3) The Fair Credit Reporting Act (FCRA), and
            product in your e-mail address, domain name or                  any amendment of or addition to such law,
            metatag, or any other similar tactics to mislead                including the Fair and Accurate Credit
            another's potential customers.                                  Transactions Act (FACTA); or
         m. Pollution                                                   (4) Any federal , state or local statute, ordinance
            "Personal and advertising injury" arising out of                or regulation , other than the TCPA,
            the actual, alleged or threatened discharge,                    CAN-SPAM Act of 2003 or FCRA and their
            dispersal, seepage, migration, release or                       amendments and additions, that addresses,
            escape of "pollutants" at any time.                             prohibits, or limits the printing, dissemination ,
                                                                            disposal, collecting, recording, sending,
                                                                            transmitting, communicating or distribution of
                                                                            material or information.




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      COVERAGE C - MEDICAL PAYMENTS                                    d. Workers' Compensation And Similar Laws
      1. Insuring Agreement                                               To a person, whether or not an "employee" of
         a. We will pay medical expenses as described                     any insured, if benefits for the "bodily injury" are
            below for "bodily injury" caused by an accident:              payable or must be provided under a workers'
                                                                          compensation or disability benefits law or a
           (1) On premises you own or rent;                               similar law.
           (2) On ways next to premises you own or rent;               e. Athletics Activities
                or
                                                                          To a person injured while practicing, instructing
           (3) Because of your operations;                                or participating in any physical exercises or
            provided that:                                                games, sports, or athletic contests.
               (a) The     accident takes place in the                  f. Products-Completed Operations Hazard
                     "coverage territory" and during the policy            Included within the         "products-completed
                     period;                                               operations hazard".
               (b) The expenses are incurred and reported              g. Coverage A Exclusions
                     to us within one year of the date of the
                     accident; and                                         Excluded under Coverage A.
               (c) The     injured  person    submits    to         SUPPLEMENTARY PAYMENTS - COVERAGES A
                   examination, at our expense, by                  ANDB
                   physicians of our choice as often as we          1. We will pay, with        respect to any claim we
                   reasonably require.                                 investigate or settle, or any "suit" against an insured
         b. We will make these payments regardless of                  we defend:
            fault. These payments will not exceed the                  a. All expenses we incur.
            applicable limit of insurance. We will pay                 b. Up to $250 for cost of bail bonds required
            reasonable expenses for:                                      because of accidents or traffic law violations
           (1) First aid administered at the time of an                   arising out of the use of any vehicle to which the
                accident;                                                 Bodily Injury Liability Coverage applies We do
           (2) Necessary medical, surgical,       X-ray and               not have to furnish these bonds.
                dental services, including prosthetic devices;         c. The cost of bonds to release attachments, but
                and                                                       only for bond amounts within the applicable limit
           (3) Necessary          ambulance,        hospital,             of insurance. We do not have to furnish these
                professional nursing and funeral services.                bonds.
      2. Exclusions                                                    d. All reasonable expenses incurred by the insured
                                                                          at our request to assist us in the investigation or
         We will not pay expenses for "bodily injury":                    defense of the claim or "suit", including actual
         a. Any Insured                                                   loss of earnings up to $250 a day because of
            To any insured, except "volunteer workers".                   time off from work.
                                                                       e. All court costs taxed against the insured in the
         b. Hired Person
                                                                           "suit". However, these payments do not include
            To a person hired to do work for or on behalf of               attorneys' fees or attorneys' expenses taxed
            any insured or a tenant of any insured.                        against the insured
         c. Injury On Normally Occupied Premises                        f. Prejudgment interest awarded against the
            To a person injured on that part of premises you               insured on that part of the judgment we pay_ If
            own or rent that the person normally occupies.                 we make an offer to pay the applicable limit of
                                                                           insurance, we will not pay any prejudgment
                                                                           interest based on that period of time after the
                                                                           offer.




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         g. All interest on the full amount of any judgment            So long as the above conditions are met, attorneys'
            that accrues after entry of the judgment and               fees incurred by us in the defense of that
            before we have paid, offered to pay, or                    indemnitee, necessary litigation expenses incurred
            deposited in court the part of the judgment that           by us and necessary litigation expenses incurred by
            is within the applicable limit of insurance.               the indemnitee at our request will be paid as
                                                                       Supplementary Payments. Notwithstanding the
         These payments will not reduce the limits of
                                                                       provisions of Paragraph 2.b.(2) of Section I -
         insurance.
                                                                       Coverage A - Bodily Injury And Property Damage
      2. If we defend an insured against a "suit" and an               liability, such payments will not be deemed to be
         indemnitee of the insured is also named as a party            damages for "bodily injury" and "property damage"
         to the "suit", we will defend that indemnitee if all of       and will not reduce the limits of insurance.
         the following conditions are met:
                                                                       Our obligation to defend an insured's indemnitee
         a. The "suit" against the indemnitee seeks                    and to pay for attorneys' fees and necessary
            damages for which the insured has assumed                  litigation expenses as Supplementary Payments
            the liability of the indemnitee in a contract or           ends when we have used up the applicable limit of
            agreement that is an "insured contract";                   insurance in the payment of judgments or
         b. This insurance applies to such liability assumed           settlements or the conditions set forth above, or the
            by the insured;                                            terms of the agreement described in Paragraph f.
                                                                       above, are no longer met.
         c. The obligation to defend, or the cost of the
            defense of, that indemnitee, has also been             SECTION II - WHO IS AN INSURED
            assumed by the insured in the same "insured             1. If you are designated in the Declarations as:
            contract";
                                                                       a. An individual, you and your spouse are
         d. The allegations in the "suit" and the information             insureds, but only with respect to the conduct of
            we know about the "occurrence" are such that                  a business of which you are the sole owner.
            no conflict appears to exist between the
            interests of the insured and the interests of the
                                                                       b. A partnership or joint venture, you are an
                                                                          insured. Your members, your partners, and their
            indemnitee;
                                                                          spouses are also insureds, but only with respect
         e. The indemnitee and the insured ask us to                      to the conduct of your business.
             conduct and control the defense of that
                                                                       c. A limited liability company, you are an insured
             indemnitee against such "suit" and agree that
                                                                          Your members are also insureds, but only with
             we can assign the same counsel to defend the
                                                                          respect to the conduct of your business. Your
             insured and the indemnitee; and
                                                                          managers are insureds, but only with respect to
          f. The indemnitee:                                              their duties as your managers.
            (1) Agrees in writing to:                                  d. An organization other than a partnership, joint
               (a) Cooperate with us in the investigation,                venture or limited liability company, you are an
                    settlement or defense of the "suit";                  insured. Your "executive officers" and directors
                                                                          are insureds, but only with respect to their duties
               (b) Immediately send us copies of any
                                                                          as your officers or directors. Your stockholders
                   demands, notices, summonses or legal
                                                                          are also insureds, but only with respect to their
                   papers received in connection with the
                                                                          liability as stockholders.
                   "suit";
                                                                       e. A trust, you are an insured. Your trustees are
               (c) Notify any other insurer whose coverage                also insureds, but only with respect to their
                   is available to the indemnitee; and
                                                                          duties as trustees.
               (d) Cooperate with us with respect to
                   coordinating other applicable insurance
                   available to the indemnitee; and
            (2) Provides us with written authorization to:
               (a) Obtain records and other information
                   related to the "suit"; and
               (b) Conduct and control the defense of the
                   indemnitee in such "suit".




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      2. Each of the following is also an insured:                     c. Any person or organization having proper
         a. Your "volunteer workers" only while performing                temporary custody of your property if you die,
            duties related to the conduct of your business,               but only:
            or your "employees", other than either your                  (1) With respect to liability arising out of the
            "executive officers" (if you are an organization                 maintenance or use of that property; and
            other than a partnership, joint venture or limited           (2) Until your legal representative has been
            liability company) or your managers (if you are a                appointed.
            limited liability company), but only for acts within
            the scope of their employment by you or while              d. Your legal representative if you die, but only with
            performing duties related to the conduct of your              respect to duties as such. That representative
            business. However, none of these "employees"                  will have all your rights and duties under this
            or "volunteer workers" are insureds for:                      Coverage Part.
            (1) "Bodily injury" or "personal and advertising       3. Any organization you newly acquire or form, other
                injury":                                              than a partnership, joint venture or limited liability
                                                                      company, and over which you maintain ownership
               (a) To you, to your partners or members (if            or majority interest, will qualify as a Named Insured
                   you are a partnership or joint venture), to        if there is no other similar insurance available to
                   your members (if you are a limited
                                                                      that organization. However:
                   liability company), to a co-"employee"
                   while in the course of his or her                   a. Coverage under this provision is afforded only
                   employment or performing duties related                until the 90th day after you acquire or form the
                   to the conduct of your business, or to                 organization or the end of the policy period,
                   your other "volunteer workers" while                   whichever is earlier;
                   performing duties related to the conduct            b. Coverage A does not apply to "bodily injury" or
                   of your business;                                      "property damage" that occurred before you
               (b) To the spouse, child, parent, brother or               acquired or formed the organization; and
                   sister of that co-"employee" or "volunteer          c. Coverage B does not apply to "personal and
                   worker" as a consequence of Paragraph                  advertising injury" arising out of an offense
                   (1 )(a) above;                                         committed before you acquired or formed the
               (c) For which there is any obligation to share             organization.
                   damages with or repay someone else              No person or organization is an insured with respect to
                   who must pay damages because of the             the conduct of any current or past partnership, joint
                   injury described in Paragraph (1 )(a) or        venture or limited liability company that is not shown as
                   (b) above; or                                   a Named Insured in the Declarations.
               (d) Arising out of his or her providing or          SECTION Ill - LIMITS OF INSURANCE
                   failing to provide professional health care
                                                                   1. The Limits of Insurance shown in the Declarations
                   services
                                                                      and the rules below fix the most we will pay
            (2) "Property damage" to property:                        regardless of the number of:
               (a) Owned, occupied or used by;                         a. Insureds;
               (b) Rented to, in the care, custody or control          b. Claims made or "suits" brought; or
                   of, or over which physical control is being
                                                                       c. Persons or organizations making claims or
                   exercised for any purpose by;
                                                                          bringing "suitsll
                you, any of your "employees", "volunteer
                                                                   2. The General Aggregate Limit is the most we will
                workers", any partner or member (if you are
                                                                      pay for the sum of:
                a partnership or joint venture), or any
                member (if you are a limited liability                 a. Medical expenses under Coverage C;
                company).                                              b. Damages under Coverage A, except damages
         b. Any person (other than your "employee" or                     because of "bodily injury" or "property damage"
            "volunteer worker"), or any organization while                included in the "products-completed operations
            acting as your real estate manager.                           hazard"; and
                                                                       c. Damages under Coverage B.




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      3. The Products-Completed Operations Aggregate                      (3) The nature and location of any injury or
         Limit is the most we will pay under Coverage A for                   damage arising out of the "occurrence" or
         damages because of "bodily injury" and "property                     offense.
         damage" included in the "products-completed                    b. If a claim is made or "suit" is brought against
         operations hazard".                                               any insured, you must:
      4. Subject to Paragraph 2. above, the Personal And                  (1) Immediately record the specifics of the claim
         Advertising Injury Limit is the most we will pay                     or "suit" and the date received; and
         under Coverage B for the sum of all damages
         because of all "personal and advertising injury"                 (2) Notify us as soon as practicable.
         sustained by any one person or organization.                      You must see to it that we receive written notice
      5. Subject to Paragraph 2. or 3. above, whichever                    of the claim or "suit" as soon as practicable.
         applies, the Each Occurrence Limit is the most we              c. You and any other involved insured must:
         will pay for the sum of:
                                                                          (1) Immediately send us copies of any
         a. Damages under Coverage A; and                                     demands, notices, summonses or legal
         b. Medical expenses under Coverage C                                 papers received in connection with the claim
                                                                              or "suit";
         because of all "bodily injury" and "property
         damage" arising out of any one "occurrence".                     (2) Authorize us to obtain records and other
                                                                              information;
      6. Subject to Paragraph 5. above, the Damage To
         Premises Rented To You Limit is the most we will                 (3) Cooperate with us in the investigation or
         pay under Coverage A for damages because of                          settlement of the claim or defense against
         "property damage" to any one premises, while                         the "suit"; and
         rented to you, or in the case of damage by fire,                 (4) Assist us, upon our request, in the
         while rented to you or temporarily occupied by you                   enforcement of any right against any person
         with permission of the owner.                                        or organization which may be liable to the
      7. Subject to Paragraph 5. above, the Medical                           insured because of injury or damage to
         Expense Limit is the most we will pay under                          which this insurance may also apply.
         Coverage C for all medical expenses because of                 d. No insured will, except at that insured's own
         "bodily injury" sustained by any one person.                      cost, voluntarily make a payment, assume any
      The Limits of Insurance of this Coverage Part apply                  obligation, or incur any expense, other than for
      separately to each consecutive annual period and to                  first aid, without our consent.
      any remaining period of less than 12 months, starting         3. Legal Action Against Us
      with the beginning of the policy period shown in the
                                                                        No person or organization has a right under this
      Declarations, unless the policy period is extended after
                                                                        Coverage Part:
      issuance for an additional period of less than 12
      months In that case, the additional period will be                a. To join us as a party or otherwise bring us into a
      deemed part of the last preceding period for purposes                "suit" asking for damages from an insured; or
      of determining the Limits of Insurance.                           b. To sue us on this Coverage Part unless all of its
      SECTION IV - COMMERCIAL GENERAL LIABILITY                            terms have been fully complied with.
      CONDITIONS                                                        A person or organization may sue us to recover on
      1. Bankruptcy                                                     an agreed settlement or on a final judgment
                                                                        against an insured; but we will not be liable for
         Bankruptcy or insolvency of the insured or of the
                                                                        damages that are not payable under the terms of
         insured's estate will not relieve us of our obligations
                                                                        this Coverage Part or that are in excess of the
         under this Coverage Part.
                                                                        applicable limit of insurance. An agreed settlement
      2. Duties In The Event Of Occurrence, Offense,                    means a settlement and release of liability signed
         Claim Or Suit                                                  by us, the insured and the claimant or the
         a. You must see to it that we are notified as soon             claimant's legal representative.
             as practicable of an "occurrence" or an offense
             which may result in a claim. To the extent
             possible, notice should include:
            (1) How, when and where the "occurrence" or
                offense took place;
            (2) The names and addresses of any injured
                persons and witnesses; and



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      4. Other Insurance                                                  (3) When this insurance is excess over other
         If other valid and collectible insurance is available                insurance, we will pay only our share of the
         to the insured for a loss we cover under Coverages                   amount of the loss, if any, that exceeds the
         A or B of this Coverage Part, our obligations are                    sum of:
         limited as follows:                                                 (a) The total amount that all such other
          a. Primary Insurance                                                   insurance would pay for the loss in the
                                                                                 absence of this insurance; and
            This insurance is primary except when
            Paragraph b. below applies. If this insurance is                 (b) The total of all deductible and
            primary, our obligations are not affected unless                     self-insured amounts under all that other
            any of the other insurance is also primary. Then,                    insurance.
            we will share with all that other insurance by the            (4) We will share the remaining loss, if any, with
            method described in Paragraph c. below.                           any other insurance that is not described in
          b. Excesslnsurance                                                  this Excess Insurance provision and was not
                                                                              bought specifically to apply in excess of the
            (1) This insurance is excess over:                                Limits of Insurance shown in the
               (a) Any of the other insurance, whether                        Declarations of this Coverage Part.
                   primary, excess, contingent or on any               c. Method Of Sharing
                   other basis:
                                                                          If all of the other insurance permits contribution
                     (i) That is Fire, Extended Coverage,                 by equal shares, we will follow this method also.
                         Builder's Risk, Installation Risk or             Under this approach each insurer contributes
                         similar coverage for "your work";                equal amounts until it has paid its applicable
                     (ii) That is Fire insurance for premises             limit of insurance or none of the loss remains,
                          rented to you or temporarily occupied           whichever comes first.
                          by you with permission of the owner;            If any of the other insurance does not permit
                  (iii) That is insurance purchased by you                contribution by equal shares, we will contribute
                        to cover your liability as a tenant for           by limits. Under this method, each insurer's
                        "property damage" to premises                     share is based on the ratio of its applicable limit
                        rented to you or temporarily occupied             of insurance to the total applicable limits of
                        by you with permission of the owner;              insurance of all insurers.
                        or                                          5. Premium Audit
                  (iv) If the loss arises out of the                   a. We will compute all premiums for this Coverage
                       maintenance or use of aircraft,                    Part in accordance with our rules and rates.
                       "autos" or watercraft to the extent not
                       subject to Exclusion g. of Section I -          b. Premium shown in this Coverage Part as
                       Coverage A - Bodily Injury And                     advance premium is a deposit premium only. At
                       Property Damage Liability.                         the close of each audit period we will compute
                                                                          the earned premium for that period and send
               (b) Any other primary insurance available to               notice to the first Named Insured. The due date
                   you covering liability for damages arising             for audit and retrospective premiums is the date
                   out of the premises or operations, or the              shown as the due date on the bill. If the sum of
                   products and completed operations, for                 the advance and audit premiums paid for the
                   which you have been added as an                        policy period is greater than the earned
                   additional insured.                                    premium, we will return the excess to the first
            (2) When this insurance is excess, we will have               Named Insured.
                no duty under Coverages A or B to defend               c. The first Named Insured must keep records of
                the insured against any "suit" if any other               the information we need for premium
                insurer has a duty to defend the insured                  computation, and send us copies at such times
                against that "suit". If no other insurer                  as we may request.
                defends, we will undertake to do so, but we
                will be entitled to the insured's rights against    6. Representations
                all those other insurers.                              By accepting this policy, you agree:
                                                                       a. The statements in the Declarations are accurate
                                                                          and complete;




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          b. Those     statements    are     based          upon        However, "auto"      does     not   include   "mobile
             representations you made to us; and                        equipment".
          c. We have issued this policy in reliance upon your        3. "Bodily injury" means bodily injury, sickness or
             representations.                                           disease sustained by a person, including death
                                                                        resulting from any of these at any time
       7. Separation Of Insureds
          Except with respect to the Limits of Insurance and
                                                                     4. "Coverage territory" means:
          any rights or duties specifically assigned i~ this            a. The United States of America (including its
          Coverage Part to the first Named Insured this                    territories and possessions), Puerto Rico and
          insurance applies:                            '                  Canada;
          a. As if each Named Insured were the only Named               b. International waters or airspace, but only if the
             Insured; and                                                  injury or damage occurs in the course of travel
                                                                           or transportation between any places included
          b. Separately to each insured against whom claim
             is made or "suit" is brought.                                 in Paragraph a. above; or

       8. Transfer Of Rights Of Recovery Against Others
                                                                        c. All other parts of the world if the injury or
                                                                           damage arises out of:
          To Us
                                                                           (1) Goods or products made or sold by you in
          If the insured has rights to recover all or part of any
                                                                               the territory described in Paragraph a.
          payment we have made under this Coverage Part,
                                                                               above;
          those rights are transferred to us. The insured must
          do nothing after loss to impair them. At our request             (2) The activities of a person whose home is in
          the insured will bring "suit" or transfer those right~               the territory described in Paragraph a.
          to us and help us enforce them.                                      above, but is away for a short time on your
                                                                               business; or
       9. When We Do Not Renew
                                                                           (3) "Personal and advertising injury" offenses
          If we decide not to renew this Coverage Part we
          will mail or deliver to the first Named Insured sh'o wn              that take place through the Internet or
                                                                               similar electronic means of communication;
          in the Declarations written notice of the nonrenewal
          not less than 30 days before the expiration date.             provided the insured's responsibility to pay
                                                                        damages is determined in a "suit" on the merits in
          If notice is mailed, proof of mailing will be sufficient
          proof of notice.                                              the territory described in Paragraph a. above or i~ a
                                                                        settlement we agree to.
      SECTION V - DEFINITIONS
                                                                     5. "Employee"   includes     a    "leased   worker".
       1. "Advertisement" means a notice that is broadcast              "Employee" does not include a "temporary worker".
          or published to the general public or specific
          market segments about your goods, products or
                                                                     6. "Executive officer" means a person holding any of
                                                                        the officer positions created by your charter,
          services for the purpose of attracting customers or
                                                                        constitution, bylaws or any other similar governing
          supporters. For the purposes of this definition:
                                                                        document.
          a. Notices that are published include material
                                                                     7. "Hostile f ire" means one which becomes
             placed on the Internet or on similar electronic
                                                                        uncontrollable or breaks out from where it was
             means of communication; and
                                                                        intended to be.
          b. Regarding web sites, only that part of a web site
                                                                     8. "Impaired property" means tangible property, other
             that is about your goods, products or services
                                                                        than "your product" or "your work", that cannot be
             for the purposes of attracting customers or
                                                                        used or is less useful because:
             supporters is considered an advertisement.
                                                                        a. It incorporates "your product" or "your work" that
       2. "Auto" means:
                                                                           is known or thought to be defective, deficient,
          a. A land motor vehicle, trailer or semitrailer                  inadequate or dangerous; or
             designed for travel on public roads, including
                                                                        b. You have failed to fulfill the terms of a contract
             any attached machinery or equipment; or
                                                                           or agreement;
          b. Any other land vehicle that is subject to a
                                                                        if such property can be restored to use by the
             compulsory or financial responsibility law or
                                                                        repair, replacement, adjustment or removal of
             other motor vehicle insurance law where it is
                                                                        "your product" or "your work" or your fulfilling the
             licensed or principally garaged.
                                                                        terms of the contract or agreement.




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       9. "Insured contract" means:                                10. "Leased worker" means a person leased to you by
          a. A contract for a lease of premises. However,             a labor leasing firm under an agreement between
             that portion of the contract for a lease of              you and the labor leasing firm, to perform duties
             premises that indemnifies any person or                  related to the conduct of your business. "Leased
             organization for damage by fire to premises              worker" does not include a "temporary worker".
             while rented to you or temporarily occupied by        11. "Loading or unloading" means the handling of
             you with permission of the owner is not an               property:
             "insured contract";                                      a. After it is moved from the place where it is
          b. A sidetrack agreement;                                      accepted for movement into or onto an aircraft,
          c. Any easement or license agreement, except in                watercraft or "auto";
             connection with construction or demolition               b. While it is in or on an aircraft, watercraft or
             operations on or within 50 feet of a railroad;              "auto"; or
          d. An obligation, as required by ordinance, to              c. While it is being moved from an aircraft,
             indemnify a municipality, except in connection              watercraft or "auto" to the place where it is
             with work for a municipality;                               finally delivered;
          e. An elevator maintenance agreement;                        but "loading or unloading" does not include the
          f. That part of any other contract or agreement              movement of property by means of a mechanical
             pertaining to your business (including an                 device, other than a hand truck, that is not attached
             indemnification of a municipality in connection           to the aircraft, watercraft or "auto".
             with work performed for a municipality) under         12. "Mobile equipment" means any of the following
             which you assume the tort liability of another            types of land vehicles, including any attached
             party to pay for "bodily injury" or "property             machinery or equipment:
             damage" to a third person or organization. Tort          a. Bulldozers, farm machinery, forklifts and other
             liability means a liability that would be imposed           vehicles designed for use principally off public
             by law in the absence of any contract or                    roads;
             agreement.
                                                                      b. Vehicles maintained for use solely on or next to
             Paragraph f. does not include that part of any              premises you own or rent;
             contract or agreement:
                                                                      c. Vehicles that travel on crawler treads;
            (1) That indemnifies a railroad for "bodily injury"
                or "property damage" arising out of                   d. Vehicles, whether self-propelled or not,
                construction or demolition operations, within            maintained primarily to provide mobility to
                50 feet of any railroad property and affecting           permanently mounted:
                any railroad bridge or trestle, tracks,                  (1) Power cranes, shovels, loaders, diggers or
                road-beds, tunnel, underpass or crossing;                    drills; or
            (2) That indemnifies an architect, engineer or               (2) Road construction or resurfacing equipment
                surveyor for injury or damage arising out of:                such as graders, scrapers or rollers;
               (a) Preparing, approving, or failing to                e. Vehicles not described in Paragraph a., b., c. or
                   prepare or approve, maps, shop                        d. above that are not self-propelled and are
                   drawings, opinions, reports, surveys, field           maintained primarily to provide mobility to
                   orders, change orders or drawings and                 permanently attached equipment of the
                   specifications; or                                    following types:
               (b) Giving directions or instructions, or failing         (1) Air compressors, pumps and generators,
                     to give them, if that is the primary cause              including   spraying,    welding,  building
                     of the injury or damage; or                             cleaning, geophysical exploration, lighting
            (3) Under which the insured, if an architect,                    and well servicing equipment; or
                engineer or surveyor, assumes liability for an           (2) Cherry pickers and similar devices used to
                injury or damage arising out of the insured's                raise or lower workers;
                rendering or failure to render professional            f. Vehicles not described in Paragraph a., b., c. or
                services, including those listed in (2) above
                                                                          d. above maintained primarily for purposes
                and supervisory, inspection, architectural or             other than the transportation of persons or
                engineering activities.
                                                                          cargo.




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             However, self-propelled vehicles with the                16. "Products-completed operations hazard":
             following types of permanently attached                      a. Includes all "bodily injury" and "property
             equipment are not "mobile equipment" but will                   damage" occurring away from premises you
             be considered "autos":                                          own or rent and arising out of "your product" or
            (1) Equipment designed primarily for:                            "your work" except:
               (a) Snow removal;                                            (1) Products that are still in your physical
               (b) Road maintenance, but not construction                           possession; or
                     or resurfacing; or                                     (2) Work that has not yet been completed or
               (c) Street cleaning;                                                 abandoned. However, "your work" w ill be
                                                                                    deemed completed at the earliest of the
            (2) Cherry pickers and similar devices mounted                          following times:
               on automobile or truck chassis and used to
               raise or lower workers; and                                      (a) When all of the work called for in your
                                                                                    contract has been completed
           (3) Air compressors, pumps and generators,
               including    spraying,   welding,  building                      (b) When all of the work to be done at the
               cleaning, geophysical exploration, lighting                             job site has been completed if your
               and well servicing equipment.                                           contract calls for work at more than one
                                                                                       job site.
         However, "mobile equipment" does not include any
         land vehicles that are subject to a compulsory or                      (c) When that part of the work done at a job
         financial responsibility law or other motor vehicle                           site has been put to its intended use by
         insurance law where it is licensed or principally                             any person or organization other than
         garaged. Land vehicles subject to a compulsory or                             another contractor or subcontractor
         financial responsibility law or other motor vehicle                           working on the same project.
         insurance law are considered "autos".                                      Work that may need service, maintenance,
      13. "Occurrence"  means an accident, including                                correction, repair or replacement, but which
         continuous or repeated exposure to substantially                           is otherwise complete, will be treated as
         the same general harmful conditions.                                       completed.
      14. "Personal and advertising injury" means injury,                 b. Does not include "bodily injury" or "property
         including consequential "bodily injury", arising out of             damage" arising out of:
         one or more of the following offenses:                             (1) The transportation of property, unless the
         a. False arrest, detention or imprisonment;                                injury or damage arises out of a condition in
                                                                                    or on a vehicle not owned or operated by
         b. Malicious prosecution;                                                  you, and that condition was created by the
         c. The wrongful eviction from, wrongful entry into,                        "loading or unloading" of that vehicle by any
            or invasion of the right of private occupancy of a                      insured;
            room, dwelling or premises that a person                        (2) The      existence     of tools,     uninstalled
            occupies, committed by or on behalf of its                          equipment or abandoned or unused
            owner, landlord or lessor;                                          materials; or
         d. Oral or written publication, in any manner, of                  (3) Products or operations for which the
            material that slanders or libels a person or                        classification, listed in the Declarations or in
            organization or disparages a person's or                            a     policy       Schedule,     states     that
            organization's goods, products or services;                         products-completed operations are subject
         e. Oral or written publication , in any manner, of                     to the General Aggregate Limit.
            material that violates a person's right of privacy;       17. "Property damage" means:
          f. The use of another's advertising idea in your                a. Physical injury to tangible property, including all
            "advertisement"; or                                              resulting loss of use of that property. All such
         g. Infringing upon another's copyright, trade dress                 loss of use shall be deemed to occur at the time
            or slogan in your "advertisement".                               of the physical injury that caused it; or
      15. "Pollutants" mean any solid, liquid, gaseous or                 b. Loss of use of tangible property that is not
         thermal irritant or contaminant, including smoke,                   physically injured. All such loss of use shall be
         vapor, soot, fumes, acids, alkalis, chemicals and                   deemed to occur at the time of the "occurrence"
         waste. Waste includes materials to be recycled,                     that caused it.
         reconditioned or reclaimed.                                      For the purposes of this insurance, electronic data
                                                                          is not tangible property.



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          As used in this definition, electronic data means           b. Includes:
          information, facts or programs stored as or on,
                                                                         (1) Warranties or representations made at any
          created or used on, or transmitted to or from
                                                                             time with respect to the fitness, quality,
          computer software, including systems and
                                                                             durability, performance or use of "your
          applications software, hard or floppy disks,
                                                                             product"; and
          CD-ROMs, tapes, drives, cells, data processing
          devices or any other media which are used with                 (2) The providing of or failure to provide
          electronically controlled equipment.                               warnings or instructions.
       18. "Suit" means a civil proceeding in which damages           c. Does not include vending machines or other
          because of "bodily injury", "property damage" or               property rented to or located for the use of
          "personal and advertising injury" to which this                others but not sold.
          insurance applies are alleged . "Suit" includes:         22. "Your work":
          a. An arbitration proceeding in which such                  a. Means:
             damages are claimed and to which the insured
             must submit or does submit with our consent; or             (1) Work or operations performed by you or on
                                                                             your behalf ; and
          b. Any other alternative dispute      resolution
                                                                         (2) Materials, parts or equipment furnished in
             proceeding in which such damages are claimed
                                                                             connection with such work or operations.
             and to which the insured submits with our
             consent.                                                 b. Includes:
       19. "Temporary worker" means a person who is                      (1) Warranties or representations made at any
           furnished to you to substitute for a permanent                    time with respect to the fitness, quality,
           "employee" on leave or to meet seasonal or                        durability, performance or use of "your
           short-term workload conditions.                                   work"; and
       20. "Volunteer worker'' means a person who is not your            (2) The providing of or failure to provide
          "employee", and who donates his or her work and                    warnings or instructions.
          acts at the direction of and within the scope of
          duties determined by you, and is not paid a fee,
          salary or other compensation by you or anyone
          else for their work performed for you.
       21 . "Your product":
          a. Means:
             (1) Any goods or products, other than real
                  property, manufactured, sold,     handled,
                  distributed or disposed of by:
                 (a) You;
                 (b) others trading under your name; or
                 (c) A person or organization whose business
                     or assets you have acquired; and
             (2) Containers (other than vehicles), materials,
                 parts or equipment furnished in connection
                 with such goods or products




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           COMMERCIAL GENERAL LIABI.LITY COMBINED PROVISIONS
                           ENDORSEMENT
      This endorsement modifies insurance provided under the following:

                                      COMMERCIAL GENERAL LIABILITY COVERAGE PART




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      F. No Duty or Responsibility to Send Notice When We Do Not Renew                                                           12
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      All of the following numbered paragraphs apply to this policy, unless stated here:



      1.   SECTION II - WHO IS AN INSURED
           The following provisions 4., 5. and 6. are added to SECTION II - WHO IS AN INSURED

           AUTOMATIC ADDITIONAL INSURED - VENDORS

           4.    a.   Any of your vendors located in the United States of America (including its territories and
                      possessions), Puerto Rico and Canada w ith w hom you have agreed in writing in a contract or
                      agreement or received a w ritten request or w ritten insurance specifications, including email or fax
                      requiring you to add as an additional insured on your policy, but only with respect to "bodily inJury",
                      "property damage" or "personal or advertising injury" arising out of "your products", which are
                      distributed or sold in the regular course of the vendor's business, covered by this policy.

                 b.   With respect to the insurance afforded these additional insureds, the following exclusions apply:
                      (1) "Bodily injury", "property damage" or "personal and advertising injury" for w hich the vendor is
                          obligated to pay damages by reason of the assumption of liability in a written contract or written
                          agreement. This exclusion does not apply to liability for damages that the vendor would have in
                          the absence of written contract or written agreement;
                      (2) Any express warranty unauthorized by you;
                      (3) Any physical or chemical change in the product made intentionally by the vendor;
                      (4) Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing,
                          or the substitution of parts under instructions from the manufacturer, and then repackaged in the
                          original container.
                      (5) Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to
                          make or normally undertakes to make in the usual course of business, in connection with the
                          distribution or sale of the products;
                      (6) Demonstration, installation, servicing or repair operations, except such operations performed at
                          the vendor's premises in connection with the sale of the product;
                      (7) Products w hich, after distribution or sale by you, have been labeled or relabeled or used as a
                          container, part or ingredient of any other thing or substance by or for the vendor; or



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                     (8) "Bodily injury", "property damage" or "personal and advertising injury" arising out of the sole
                         negligence of the vendor for its own acts or omissions or those of its employees or anyone els
                         acting on its behalf. However, this exclusion does not apply to:
                          i. The exceptions contained in Sub-paragraphs (4) or (6); or
                         ii. Such inspections, adjustments, tests or servicing as the vendor has agreed to make or
                             normally undertakes to make in the usual course of business, in connection with the
                             distribution or sale of the products

                c. This insurance does not apply to any insured person or organization, from w hom you have acquired
                   such products, or any ingredient, part or container, entering into, accompanying or containing such
                   products.


           AUTOMATIC ADDITIONAL INSURED - TRADE EVENT

           5. a. Any person or organization acting as the Trade Sponsor or Organizer and for whom you are
                 participating in a Trade Event or Show when you and such person or organization have agreed in
                 writing in a contract or agreement or received a written request or written insurance specifications,
                 including email or fax requiring that such person(s) or organization(s) be added as an additional
                 insured on your policy. Such person or organization is an insured only with respect to liability for
                 "bodily injury", "property damage" or "personal and advertising injury" caused, in whole or in part, by
                 your participation in a Trade Event or Show .

                b.   With respect to the insurance afforded to these additional insureds, this insurance does not apply to
                     "bodily injury", "property damage" or "personal and advertising injury" which takes place after your
                     participation in the Trade Event or Show has ended.

           AUTOMATIC ADDITIONAL INSURED - MORTGAGE.E, ASSIGNEE, OR RECEIVER

           6.   a.   Any mortgagee, assignee, or receiver whom you have agreed in writing in a contract or
                     agreement to add as an additional insured on your policy, but only with respect to their liability as
                     mortgagee, assignee, or receiver and arising out of the ownership, maintenance, or use by you of
                     your premises which are covered by this policy.

                b.   With respect to the insurance afforded to these additional insureds, this insurance does not apply to
                     structural alterations, new construction or demolition operations performed by or on behalf of the
                     mortgage, assignee or receiver


      2.   DEDUCTIBLE LIABILITY


            $              Deductible applied on a Per "Occurrence" or Per Offense Basis
                           ($0 unless an amount is show n)

           a. Our obligation , under SECTION I - COVERAGES (other than COVERAGE C MEDICAL PAYMENTS ) to
                pay damages for which the insured is legally liable, and costs or expenses applies only to the sum of
                damages, costs or expenses which are in excess of any deductible amount stated above.

           b.   The deductible amount stated above applies to all damages on a per "occurrence" basis for "bodily injury"
                or "property damage" or on a per offense basis for "personal and advertising injury", whichever is
                applicable to the claim under which this coverage is afforded, regardless of the number of persons or
                organizations who sustain damages because of that "occurrence" or offense.

           c.   The terms of this insurance, including those with respect to:
                (1) Our right and duty to defend any "suit" seeking those damages; and
                (2) Your duties in the event of an "occurrence", offense, claim or "suit"

                apply irrespective of the applicat ion of the deductible amount




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           d.   We may pay any or all of the deductible amount to effect settlement of any claim or "suit" and, upon
                notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as
                has been paid by us.

           e.   The above deductible amount does not apply to salaries and expenses of our own "employee(s)".


      3.   PREMIUM BASIS DESIGNATION

           The Premium Bases shown on the Declarations Page and identified by key letter in parentheses applies as
           follows:

                  KEY LETTER                   PREMIUM BASE                                    HOW RATES APPLY

                           (a)                     Area                                    Per 1,000 square feet
                            (c)                    Total Cost                              Per $1 ,000 of total cost
                           (m)                     Admissions                              Per 1,000 admissions
                           (p)                     Payroll                                 Per $1,000 of payroll
                            (s)                    Gross Sales                             Per $1,000 of gross sales
                            (t)                    Other                                   Describe Each Dwe lling
                           (u)                     Units                                   Per unit (describe)

           These premium bases are as outlined in the Insurance Services Office's Commercial Lines Manual
           Classification Table and Division Six General Liability Sections unless otherwise indicated in the policy
           Nothing herein contained shall be held to vary, waive, alter or extend any of the terms, conditions,
           agreements or declarations of the policy other than herein stated.


      4.   EXCLUSION - TOTAL POLLUTION

           Paragraph f. Pollution in Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY INJURY AND
           PROPERTY DAMAGE LIABILITY and Paragraphs m. Pollution and n. Pollution-Related in Subsection 2.
           Exclusions of SECTION 1 - COVERAGE B PERSONAL AND ADVERSTISING INJURY LIABILITY are
           deleted and replaced by the following:

           This policy does not apply to any damages because of "bodily injury", uproperty damage" or "personal or
           advertising injury" for which the insured is legally liable, or costs or expenses arising out of, resulting from,
           caused or contributed to by:

           a.   The actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of
                "pollutants" at any time.

           b.   Any loss, cost or expense arising out of any:

                {1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                    monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
                    the effects of "pollutants"; or
                (2) Claim or "suit" by or on behalf of a governmental authority or others for damages because of testing
                    for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                    responding to, or assessing the effects of "pollutants".

           c.   Any actual or alleged; breach of duty, negligent act, error or omission, or any insured or of any person for
                whose acts any insured is legally liable which results in damages, loss, cost or expense as described in
                Paragraph a. or b. above.

           This exclusion applies whether or not such damages, costs or expenses arise out of, result from are caused
           or contributed by any "bodily injury", "property damage" or "personal and advertising injury" which may be
           included within the "products-completed operations hazard".



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      5.   EXCLUSION - EMPLOYER'S LIABILITY - EMPLOYEE, VOLUNTEER WORKER, CASUAL WORKER
           AND TEMPORARY WORKER

           Paragraph e. Employer's Liability in Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
           INJURY AND PROPERTY DAMAGE LIABILITY is deleted and replaced by the following:

           e.   Employer's Liability
                    "Bodily injury" to:
                (1) (a) Any "employee", "volunteer worker", "casual worker" or "temporary worker" of any insured ;
                    (b) Any contractor, hired or retained by or for any insured; or
                    (c) Any "employee", "volunteer worker", "casual worker" or "temporary worker" of such contractor,

                    arising out of and in the course of:

                    (d) Employment by any insured; or
                    (e) Performing duties related to the conduct of any insured's business; or

                (2) The spouse, child, parent, brother or sister of that:

                    (a) "Employee", "volunteer worker", "casual worker" or "temporary worker" of any insured;
                    (b) Contractor, hired or retained by or for any insured; or
                    (c) "Employee", "volunteer worker", "casual worker" or "temporary worker" of such contractor,

                    as a consequence of Paragraph e.(1) above.

                This exclusion applies:

                (3) Whether any insured may be liable as an employer or in any other capacity and to any obligation to
                    share damages with or repay someone else who must pay damages because of the "bodily injury";

                (4) To all claims or "suits" by any person or organization for damages of "bodily injury" including damages
                    for care and loss of services;

                (5) To "bodily injury" to any worker whose activities are related to the job(s) or project(s) and the job or
                    project location(s) at which they are performed; or

                (6) To any liability assumed under any contract.

                as a consequence of Paragraph e .(1) above.

                For the purpose of this exclusion, the following definition is added:

                (1) "Casual worker" means:

                    (a) A person, other than a person furnished to you by a labor union, who acts at the direction of and
                        within the scope of duties determined by any insured, and is employed by any insured for a short
                        time and for a limited and temporary purpose; or
                    (b) A person for whom any insured, or a labor leasing firm acting on behalf of any insured, does not
                        withhold federal income taxes and pay federal unemployment tax.


      6.   EXCLUSION - RECORDING AND DISTRIBUTION OF MATERIAL OR INFORMATION IN VIOLATION OF
           LAW

           Exclusion q. Distribution Of Material In Violation Of Statutes in Subsection 2. Exclusions of SECTION I -
           COVERAGE A BODILY INJURY AND PROPERTY DAMAGES LIABILITY and Exclusion p. Distribution Of
           Material In Violation Of Statutes in Subsection 2. Exclusions of SECTION I - COVERAGE B PERSONAL
           AND ADVERTISING INJURY LIABILITY are deleted and replaced by the following:




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           Recording And Distribution Of Material Or Information In Violation Of Law
              "Bodily injury", "property damage" or "personal and advertising injury" arising directly or indirectly out of
              any action or omission that violates or is alleged to violate:
              (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such
                  law;
              (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
              (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the
                  Fair and Accurate Credit Transaction Act (FACTA); or
              (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of
                  2003 or FCRA and their amendments and additions, that addresses, prohibits, or limits the printing,
                  dissemination, disposal, collecting, recording, sending, transmitting, communicating or distribution of
                  material or information_


      7.   EXCLUSIONS - INFRINGEMENT OR DILUTION OF INTELLECTUAL PROPERTY RIGHTS                                                          OR
           MISAPPROPRIATION, USE OR DISCLOSURE OF TRADE SECRETS; BREACH OF CONTRACT

           a.   The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
                INJURY AND PROPERTY DAMAGE LIABILITY :

                This policy does not apply to any damages because of "bodily injury" or "property damage" for which any
                insured is legally liable, or costs or expenses, arising out of, resulting from, caused or contributed to by:
                (1 ) Any alleged or actual infringement or dilution of intellectual property rights, including, but not limited
                     to, copyright, title, slogan, patent, service name, service mark, trade name, trademark, trade dress;
                (2) Any alleged or actual misappropriation, use or disclosure of trade secrets;
                (3) Any alleged or actual unfair competition , plagiarism, piracy, or wrongful appropriation of ideas;
                (4) Any alleged or actual unfair or otherwise wrongful use of another's written, filmed, broadcast,
                     photographed, taped or recorded material;
                (5) Any alleged or actual unfair or deceptive trade practice(s); or
                (6) Any alleged or actual violation of the right of publicity, or wrongful appropriation of name, likeness or
                     persona .

           b.   Paragraph f. Breach Of Contract and Paragraph i. Infringement of Copyright, Patent, Trademark Or
                Trade Secret of Subsection 2. Exclusions in SECTION I • COVERAGE B PERSONAL AND
                ADVERTISING INJURY LIABILITY are deleted and replaced by the following:

                f.   Breach of Contract
                     "Personal and advertising injury" arising out of, resulting from, caused by, contributed to by, or also
                     constituting a breach of contract.

                i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
                     "Personal and advertising injury" arising out of, resulting from, caused by, contributed to by, or
                     otherwise constituting:
                     (1) Any alleged or actual infringement or dilution of intellectual property rights, including, but not
                          limited to, copyright, title, slogan, patent, service name, service mark, trade name, trademark,
                          trade dress;
                     (2) Any alleged or actual misappropriation, use or disclosure of trade secrets;
                     (3) Any alleged or actual unfair competition, plagiarism, piracy, or wrongful appropriation of ideas;
                     (4) Any alleged or actual unfair or otherwise wrongful use of another's written, filmed, broadcast,
                          photographed, taped or recorded material;
                     (5) Any alleged or actual unfair or deceptive trade practice(s); or
                     (6) Any alleged or actual violation of the right of publicity, or wrongful appropriation of name, likeness
                          or persona.

           c.   With respect to Items 7.a. and 7.b. above, this policy does not apply to intellectual property rights
                violation, as described in Subparagraphs (1) through (6) of Item 7.a. or Paragraph i. Infringement Of
                Copyright, Patent, Trademark Or Trade Secret of Item 7.b. , for which any insured is legally liable, or
                costs or expenses, arising out of, resulting from , caused by, contributed to by, or otherwise constituting
                any "suit", demand, order, decree, judgment or proceeding entered against any insured, on or prior to the
                effective date of this policy, based upon or arising the same or substantially similar fact, circumstance or
                situation underlying or alleged therein.

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      8.   EXC LUSION - ASBESTOS LIABILITY

           The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
           INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I -
           COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:

           This policy does not apply to damages because of "bodily injury", "property damage" or "personal or
           advertising injury" for which the insured is legally liable, or costs or expenses, arising directly or indirectly out
           of, resulting from, cause or contributed to by:

           a.   The use of, sale of, installation of, removal of, abatement of, distribution of, containment of, or exposure
                to asbestos, asbestos products, asbestos-containing material, asbestos fibers, or asbestos dust;

           b.   The actual or threatened abatement, mitigation , removal or disposal of asbestos, asbestos products,
                asbestos-containing material, asbestos fibers, or asbestos dust;

           c.   Any supervision, instructions, recommendations , warnings or advice given or which should have been
                given in connection with Paragraph a. orb. above; or

           d.   Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b.
                or c. above.


      9.   EXCLUSION - EMPLOYMENT-RELATED PRACTICES LIABILITY

           The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
           INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I -
           COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:

           This insurance does not apply to any damages because of "bodily injury" or "personal and advertising injury"
           to:
           a. A person arising out of any:
               (1) Refusal to employ that person;
               (2) Termination of that person's employment; or
               (3) Employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
                     reassignment, discipline, defamation, harassment, humiliation, discrimination or malicious
                     prosecution directed at that person; or

           b.   The spouse, child, parent, brother or sister of that person as a consequence of "bodily injury" to that
                person at whom any of the employment-related practices described in Subparagraph a. (1), (2), or (3)
                above is directed.

           This exclusion applies:

           (a) Whether the injury-causing event described in Subparagraph a. (1), (2) or (3) above occurs before
               employment, during employment or after employment of that person;

           (b) Whether the insured may be liable as an employer or in any other capacity; and

           (c) To any obligation to share damages with or repay someone else who must pay damages because of the
                injury.


      10. EXCLUSION - LEAD

           The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
           INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I -
           COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:




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          This policy does not apply to damages because of "bodily injury", "property damage" or "personal and
          advertising injury" for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
          caused or contributed to by:

          a.   The toxic or pathological properties of lead, lead compounds or lead contained in any materials;

          b.   The abatement, mitigation, removal or disposal of lead, lead compounds or materials containing lead;

          c.   Any supervision, instructions, recommendations, warnings or advice given or which should have been
               given in connection with Paragraph a. or b. above; or

          d.   Any obligation to share damages with or repay anyone else who must pay damages in connection with
               Paragraph a. , b. or c. above.


      11. EXCLUSION - SILICA

          The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
          INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I -
          COVERAGE B PERSONAL AND ADVERTISING INJl!JRY LIABILITY

          This policy does not apply to damages because of "bodily injury", "property damage" or "personal and
          advertising injury" for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
          caused by or contributed to by, in whole or in part, the actual, alleged, threatened or suspected inhalation of,
          congestion of, contact with, exposure to existence of, or presence of:

          a.   "Silica", "silica-related dust", exposure to silica or the use of silica;

          b.   Any claim or "suit" by or on behalf of any governmental authority or any other party involving a request,
               demand, order or statutory or regulatory requirement regarding:
               (1) Assessing the presence, absence or amount or effects of "silica" or "silica-related dust";
               (2) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing,
                   neutralizing, treating, detoxifying, remediating, neutralizing, abating, disposing of or mitigating silica;
                   or
               (3) Responding to "silica" or "silica-related dust" in any way other than as described in Subparagraphs
                   b.(1) and b.(2) above;

          c.   Any supervision, instructions, recommendations, warnings or advice given or which should have been
               given in connection with Paragraph a. or b. above; or

          d.   Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a. , b.
               or c. above.

          For the purpose of this exclusion, the following definitions are added:

          (a) "Silica" means silicon dioxide (occurring in crystalline, amorphous and impure forms), silica particles,
              silica dust or silica compounds.

          (b) "Silica-related dust" means a mixture or combination or silica and other dust or particles.


      12. EXCLUSION - FUNGUS(ES) AND SPORE(S)

          The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
          INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I -
          COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILTY:

          This policy does not apply to damages because of "bodily injury", "property damage" or "personal and
          advertising injury" for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
          caused or contributed to by:


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          a. Any "fungus(es)" or "spore(s)";
          b.   Any solid, liquid, vapor, or gas produced by or arising out of any "fungus(es)" or "spore(s)";

          c. Any material, product, building component, or building structure that contains, harbors, nurtures or acts
             as a medium for any "fungus(es)" or "spore(s)";
          d. Any intrusion, leakage, or accumulation of water or any other liquid that contains, harbors, nurtures or
             acts as a medium for "fungus(es)" or "spore(s)";

          e.   The actual or threatened abatement, mitigation, removal or disposal of "fungus(es)" or "spore(s)" or any
               material, product, building component, or building structure that contains, harbors, nurtures or acts as a
               medium for any "fungus(es)" or "spore(s)";

          f.   Any supervision, instructions, recommendations, warnings or advice given or which should have been
               given in connection with Paragraph a., b., c., d. or e. above; or

          g.   Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b.,
               c., d., e . or f. above.

          The above applies regardless of any other cause, event, material, product or building component that
          contributed concurrently or in any sequence to such damages for which the insured is legally liable, or costs
          or expenses.

          This exclusion does not apply to "bodily injury" as the result of the ingestion of goods intended for human
          consumption.

          For the purpose of this exclusion, the following definitions are added:

          (a) "Fungus(es)" includes, but is not limited to, any form or type of mildew, mold, mushroom, rust, smuts, or
               yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile organic
               compounds produced by or associated therewith.

          (b) "Spore(s)" means any reproductive body produced by or arising out of any "fungus(es)".


      13. EXCLUSION - BISPHENOL A

          The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
          INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I -
          COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILTY:

          This policy does not apply to:
          a. Any damages because of "bodily injury", "property damage" or "personal and advertising injury" for which
               any insured is legally liable, or costs or expenses, actually or allegedly arising out of, resulting from,
               caused by or contributed to by bisphenol A or exposure to bisphenol A or the use of bisphenol A;

          b.   Any damages because of "bodily injury", "property damage" or "personal and advertising injury" or any
               loss, cost or expense arising out of any (i) claim or "suit'' by or on behalf of any governmental authority or
               any other alleged responsible party because of, or (ii) request, demand, order or statutory or regulatory
               requirement that any insured or any other person or entity should be, or should be responsible for:

               (1 ) Assessing the presence, absence, or amount or effects of bisphenol A;
               (2) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
                    detoxifying, neutralizing, abating, disposing of or mitigating bisphenol A; or
               (3) Responding to bisphenol A in any way other than as described in Subparagraphs                             b.(1) and (2) above;

          c. Any supervision, instructions, recommendations, warnings or advice given or which should have been
             given in connection with any of the subsections above; or




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            d.     Any       obligation             to    share      damages                   with      or repay          someone          else         who     must        pay         damages               as     described              in
                   any      of the subsections                    above.



      14.   EXCLUSION                  - AIRCRAFT                   PRODUCTS/GROUNDING


            The  following              exclusion              is added              to        Subsection            2.    Exclusions               of    SECTION                 I -     COVERAGE                        A     BODILY
            INJURY     AND             PROPERTY                   DAMAGE                  LIABILITY:

                                                                                                   injury"                    damage"
            This    policy    does   not apply    to any damages        because      of "bodily              or "property                  for which    any
                                                                                                                                                   hazard"
            insured      is legally  liable,  or loss,   costs   or expenses,     included     in the   "products-completed        operations
                                                                                                                     product"             "grounding"
            and arising       out of, resulting    from,   caused    by or contributed     to by any "aircraft                   or the                    of
            any aircraft.


            The     following         definitions             are added          to the           policy:
                                    product'
            (1)    "Aircraft                             means
                   (a)     Aircraft           (including            missile               or     spacecraft,              and     any       ground             support            or      control          equipment                  used
                           therewith);
                   (b)     Any article              fumished             by you or on your behalf        and                            installed         in an      aircraft           or used          in connection                 with
                           an aircraft, or for spare                       parts for an aircraft, including                             ground           handling   tools              and   equipment;
                                            product"
                   (c)     Any   of "your                                   used   at an airport    for the                             purpose            of guidance,                  navigation     or                direction          of
                           aircraft;         or
                   (a)  Training   aids, instructions,     manuals,                                       blueprints,           engineering              or other         data      or advice,             and       services           and
                        labor relating   to such aircraft,   articles                                     or products.
                   "Grounding"
            (2)                    means:
                   The      withdrawal                  of one      or more
                                                                      from flight         aircraft
                                                                                     operations       or the imposition      of speed,    passenger    or
                   load      restrictions                on such
                                                             by reason     of the existence
                                                                         aircraft,                of or alleged    or suspected      existence    of any
                   defect, fault or condition              aircraft     in such
                                                                     or any part thereof        sold, handled     or distributed    by you or on your
                   behalf, or manufactured,      assembled      or processed       by any other person       or organization:
                   (a) According    to specifications,      plans,    suggestions,      orders,      or drawings     provided     by you or on your
                           behalf; or
                   (b)     With tools,                  machinery          or other              equipment            furnished           to such           persons          or organizations                        by        you    or on
                           your        behalf,           whether          such        aircraft            so   withdrawn            are     owned           or    operated               by      the      same            or     different
                           persons,        organizations                   or corporations.



      15.   EXCLUSION                  - BENZENE                  AND        BENZENE                    RELATED             SUBSTANCES


            The  following              exclusion              is added              to        Subsection            2.    Exclusions               of    SECTION                 I -     COVERAGE                        A     BODILY
            INJURY       AND                 PROPERTY                    DAMAGE                    LIABILITY               and     to      Subsection                2.    Exclusions                    of     SECTION                  I -
            COVERAGE                  B PERSONAL                    AND        ADVERTISING                         INJURY         LIABILTY:

                                                                                                                                                                                        damage"
            This    policy         does           not  apply        to any           damages               because          of "bodily  injury",                "property                                  or "personal                 and
                                   injury"
            advertising                            for which
                                                  any                          insured             is legally         liable,  or loss, costs                  or expenses,                    arising         out    of,       resulting
            from caused      by or contributed      to by:
            (1)    Benzene    or benzene     related    substances;
            (2)    Any (i) claim or suit by or on behalf          of any                                       govemmental      authority      or any other                               alleged          responsible                 party
                   because    of, or (ii) request,     demand,      order                                     or statutory   or regulatory       requirement                                   that      any    insured              or any
                   other      person          or entity is responsible   for,                            or should    be responsible      for:
                   (a)     Assessing            the presence,    absence      or amount                                   or effects       of benzene             or benzene                   related        substances;
                   (b)      Identifying,            sampling            or testing              for,     detecting,          monitoring,   cleaning   up, removing,                                    containing,      treating,
                           detoxifying,                 neutralizing,          abating,                disposing          of or mitigating    benzene    or benzene                                    related     substances;
                           or
                   (c)     Responding                    to benzene           or benzene                   related        substances           in any          way        other         than      as described                   in (2)(a)
                           and (2)(b)              above;
            (3)    Any supervision,                       instructions,          recommendations,                           warnings          or advice              given         or which              should            have       been
                   given in connection                      with any         of the subsections                    above;  or
            (4)    Any      obligation             to share         damages,                    or loss,       costs  or expenses,                   with      or repay            someone               else        in connection
                   with     any of the             subsections         above.




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          As used in this exclusion benzene or benzene related substances means:
          (1) Benzene;
          (2) Any derivative of benzene including but not limited to toluene; or
          (3) Any compound containing benzene including but not limited to xylene.


      16. EXCLUSION - PHTHALATES

          The following exclusion is added to Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
          INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I -
          COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILTY:

          This policy does not apply to any damages because of "bodily injury", "property damage" or "personal and
          advertising injury" for which any insured is legally liable, or loss, costs or expenses, arising out of, resulting
          from caused by or contributed to by:
          (1) Phthalates, exposure to phthalates or the use phthalates;
          (2) Any (i) claim or suit by or on behalf of any govemmental authority or any other alleged responsible party
              because of, or (ii) request, demand, order or statutory or regulatory requirement that any insured or any
              other person or entity is responsible for, or should be responsible for:
              (a) Assessing the presence, absence or amount or effects of phthalates, exposure to phthalates or the
                   use of phthalates;
              (b) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
                   detoxifying, neutralizing, abating, disposing of or mitigating phthalates in any way other than as
                   described in (2)(a) and (2)(b) above;
          (3) Any supervision, instructions, recommendations, warnings or advice given or which should have been
              given in connection with any of the subsections above; or
          (4) Any obligation to share damages, or loss, costs or expenses, with or repay someone else in connection
              with any of the subsections above.


      17. EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION AND
          DATA-RELATED LIABILITY

          A. Exclusion 2.p. of Section I - Coverage A Bodily Injury And Property Damage Liability is replaced by
               the following :

               2. Exclusions
                  This insurance does not apply to:

                   p.      Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                           Damages arising out of:

                           (1) Any access to or disclosure of any person's or organization's confidential or personal
                               information , including patents, trade secrets, processing methods, customer lists, financial
                               information, credit card information, health information or any other type of nonpublic
                               information; or
                           (2) The loss, loss of use of, damage to, corruption of, inability to access, or inability to
                               manipulate electronic data.

                           This exclusion applies even if damages are claimed for notification costs, credit monitoring
                           expenses, forensic expenses, public relations expenses or any other loss, cost or expense
                           incurred by you or others arising out of that which is described in Paragraph (1) or (2) above.

                           As used in this exclusion, electronic data means information, facts or programs stored as or on,
                           created or used on, or transmitted to or from computer software, including systems and
                           applications software, hard or floppy disks, CD-ROMs, tapes, drives, cells data processing
                           devices or any other media which are used with electronically controlled equipment.




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                                           A037
          B. The following is added to Paragraph 2. Exclusions of Section I - Coverage B Personal And
             Advertising Injury Liability:

               2. Exclusions
                    This insurance does not apply to:

                    Access Or Disclosure Of Confidential Or Personal Information

                    "Personal and advertising injury" arising out of any access to or disclosure of any person's or
                    organization's confidential or personal information, including patents, trade secrets, processing
                    methods, customer lists, financial information, credit card information, health information or any other
                    type of nonpublic information_

                    This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses,
                    forensic expenses, public relations expenses or any other loss, cost or expense incurred by you or
                    others arising out of any access to or disclosure of any person's or organization's confidential or
                    personal information_


      18. EX CLUSION - CROSS SUITS

          The following exclusion is added to the policy:

          This policy does not apply to any damages or costs or expenses, arising out of, resulting from, caused or
          contributed to by a claim or "suit" for damages by any named insured against any other named insured.


      19. PREMIUM AUDIT

          Paragraph 5. Premium Audit in SECTION IV - COMMERCIAL GENERAL LIABILITY C ONDITIONS is deleted
          and replaced by the following:

          5.   Premium Audit

               a. We will compute all premiums for the Coverage Part in accordance with our rules and rates

               b. The premium stated in the Declarations Page for the Coverage Part as advance premium is both a
                  minimum and deposit premium. At the close of each policy period, we will compute the final earned
                  premium for that period , which will include any interim audit adjustments performed_

                     (1) If the computed earned premium exceeds the estimated advance premium paid, the First Named
                         Insured will pay the excess to us. Audit premium is due and payable upon receipt of our notice by
                         the First Named Insured.
                     (2) If the computed earned premium is less than the paid estimated advance premium, then the
                         estimated advance premium will be the minimum premium and final earned premium for the
                         policy period.

               c. The First Named Insured must keep record of the information we need for premium computation, and
                  send us copies at such times as we may request. We reserve the right to examine your books and
                  records relating to the computation of audit premium in accordance with Paragraph C. Examination Of
                  Your Books And Records in the COMMON POLICY CONDITIONS.

               d.    If the policy is written on a flat premium basis, it is not subject to premium audit.

               e.    If we verify that operations were performed by contractors or subcontractors you hired, but were not
                     insured or were not adequately insured, we will use the "total cost" of work perfonned for you by such
                     contractors or subcontractors as if it were payroll to calculate the appropriate premium for the specific
                     classification(s) based on our rates and rules. in effect as of the inception date of the policy It is your
                     responsibility to pay any additional premium due.




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                    You will obtain and maintain Certificates of Insurance from all contractors or subcontractors you hire
                    providing evidence of Commercial General Liability insurance, including products/completed
                    operations insurance. If you fail to obtain the Certificates of Insurance, then the contractor(s) and/or
                    subcontractor(s) will be considered inadequately insured and an additional premium will become due.

                    A contractor or subcontractor will be considered to be inadequately insured if they maintain
                    Commercial General Liability insurance less than the limits of insurance shown in the Declarations of
                    this policy.

                    The "total cost" of work performed means the total cost of all work incurred by the contractor or
                    subcontractor in connection with each specific project, including:

                    (1) The cost of all labor, materials and equipment furnished, used or delivered for use in the execution
                        of the work including the cost of finished equipment installed whether or not furnished by the
                        contractor, subcontractor, or by you; and

                    (2) All fees, bonuses or commissions made, paid or due.


      20. NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW

          Paragraph 9. When We Do Not Renew of SECTION IV -                                    COMMERCIAL             GENERAL LIABILITY
          CONDITIONS is deleted and replaced by the following:

          9.   When We Do Not Renew

               If we decide not to renew this policy, we have no duty or responsibility to mail or deliver written notice of
               the non-renewal to any insured.


      21. AMENDMENT OF INSURED CONTRACT DEFINITION

          Paragraph 9. "Insured contract" of SECTION V DEFINITIONS is deleted and replaced by the following:
                                                                  9




          9. "Insured contract" means:
             a. A contract for a lease of premises. However, that portion of the contract for a lease of premises that
                 indemnifies any person or organization for damage by fire to premises while rented to you or
                 temporarily occupied by you with permission of the owner is not an "insured contract";
             b. A sidetrack agreement;
             c. Any easement or license agreement, except in connection with construction or demolition operations
                 on or within 50 feet of a railroad;
             d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work
                 for a municipality;
             e. An elevator maintenance agreement; or
             f. That part of any other contract or agreement pertaining to your business (including an indemnification
                 of a municipality in connection with work performed for a municipality) under which you assume the
                 tort liability of another party to pay for "bodily injury" or "property damage" to a third person or
                 organization, provided the "bodily injury" or "property damage" is caused, in whole or in part, by you
                 or your agents and subcontractors. Tort liability means a liability that would be imposed by law in the
                 absence of any contract or agreement.

                    Paragraph f. does not include that part of any contract or agreement:
                    (1) That indemnifies a railroad for "bodily injury" or "property damage" arising out of construction or
                        demolition operations, within 50 feet of any railroad property and affecting any railroad bridge or
                        trestle, tracks, road-beds, tunnel, underpass or crossing;
                    (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                        (a) Preparing , approving, or failing to prepare or approve, maps, shop drawings, opinions,
                             reports, surveys, field orders, change orders or drawings and specifications; or
                        (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the
                             injury or damage; or



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                    (3) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
                        damage arising out of the insured's rendering or failure to render professional services, including
                        those listed in (2) above and supervisory, inspection, architectural or engineering activities.


      22. AMENDMENT OF PERSONAL AND ADVERTISING INJURY DEFINITION

          Paragraph 14. "Personal and advertising injury" of SECTION V - DEFINITIONS is deleted and replaced by
          the following:

          14. "Personal and advertising injury" means injury, including consequential "bodily injury", arising out of one
               or more of the following offenses
               a.  False arrest, detention or imprisonment;
               b. Malicious prosecution;
               c. The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a
                   room, dwelling or premises that a person occupies, committed by or on behalf of its owner, landlord
                   or lessor;
               d. Oral or written publication, in any manner, of material that slanders or libels a person or organization
                   or disparages a person's or organization's goods, products or services; or
               e. Oral or written publication, in any manner, of material that violates a person's right of privacy.




      Nothing herein contained shall be held to vary, waive, alter or extend any of the terms, conditions, agreements or
      declarations of the policy other than herein stated.




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                                                                                                        IL 00 210908


           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     NUCLEAR ENERGY LIABILITY EXCLUSION
                               ENDORSEMENT
                                                       (Broad Form)

      This endorsement modifies insurance provided under the following:

         COMMERCIAL AUTOMOBILE COVERAGE PART
         COMMERCIAL GENERAL LIABILITY COVERAGE PART
         FARM COVERAGE PART
         LIQUOR LIABILITY COVERAGE PART
         MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
         OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
         POLLUTION LIABILITY COVERAGE PART
         PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
         RAILROAD PROTECTIVE LIABILITY COVERAGE PART
         UNDERGROUND STORAGE TANK POLICY


      1. The insurance does not apply:                             C. Under any Liability Coverage, to "bodily injury"
         A. Under any Liability Coverage, to "bodily injury"
                                                                      or "property damage" resulting from "hazard-
            or "property damage":                                     ous properties" of "nuclear material", if:
           (1) With respect to which an "insured" under               (1) The "nuclear material" (a) is at any "nuclear
               the policy is also an insured under a nu-                  facility" owned by, or operated by or on be-
               clear energy liability policy issued by Nu-                half of, an "insured" or (b) has been dis-
               clear Energy Liability Insurance Associa-                  charged or dispersed therefrom;
               tion, Mutual Atomic Energy Liability                   (2) The "nuclear material" is contained in
               Underwriters, Nuclear Insurance Associa-                   "spent fuel" or "waste" at any time pos-
               tion of Canada or any of their successors,                 sessed, handled, used, processed, stored,
               or would be an insured under any such pol-                 transported or disposed of, by or on behalf
               icy but for its termination upon exhaustion                of an "insured"; or
               of its limit of liability; or                          (3) The "bodily injury" or "property damage"
           (2) Resulting from the "hazardous properties"                  arises out of the furnishing by an "insured"
               of "nuclear material" and with respect to                  of services, materials, parts or equipment in
               which (a) any person or organization is re-                connection with the planning, construction,
               quired to maintain financial protection pur-               maintenance, operation or use of any "nu-
               suant to the Atomic Energy Act of 1954, or                 clear facility", but if such facility is located
               any law amendatory thereof, or (b) the "in-                within the United States of America, its terri-
               sured" is, or had this policy not been issued              tories or possessions or Canada, this ex-
               would be, entitled to indemnity from the                   clusion (3) applies only to "property dam-
               United States of America, or any agency                    age" to such "nuclear facility" and any
               thereof, under any agreement entered into                  property thereat.
               by the United States of America, or any          2. As used in this endorsement:
               agency thereof, with any person or organi-
               zation.                                             "Hazardous properties" includes radioactive, toxic
                                                                   or explosive properties.
         B. Under any Medical Payments coverage, to
            expenses incurred with respect to "bodily in-          "Nuclear material" means "source material", "spe-
            jury" resulting from the "hazardous properties"        cial nuclear material" or "by-product material".
            of "nuclear material" and arising out of the op-
            eration of a "nuclear facility" by any person or
            organization.




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         "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
         "by-product material" have the meanings given                     essing, fabricating or alloying of "special
         them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
         law amendatory thereof.                                           amount of such material in the custody of
         "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
         ponent, solid or liquid, which has been used or ex-               equipment or device is located consists of
         posed to radiation in a "nuclear reactor"_                        or contains more than 25 grams of pluto-
                                                                           nium or uranium 233 or any combination
         "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
         "by-product material" other than the tailings or                  235;
         wastes produced by the extraction or concentra-
         tion of uranium or thorium from any ore processed             (d) Any structure, basin, excavation, premises
         primarily for its "source material" content, and (b)              or place prepared or used for the storage or
         resulting from the operation by any person or or-                 disposal of "waste";
         ganization of any "nuclear facility" included under        and includes the site on which any of the foregoing
         the first two paragraphs of the definition of "nu-         is located, all operations conducted on such site
         clear facility".                                           and all premises used for such operations.
         "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
           (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                                    supporting chain reaction or to contain a critical
           (b) Any equipment or device designed or used             mass of fissionable material.
               for (1) separating the isotopes of uranium or
               plutonium, (2) processing or utilizing "spent        "Property damage" includes all forms of radioac-
               fuel", or (3) handling, processing or packag-        tive contamination of property.
               ing "waste";




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 01630417

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    NEW YORK CHANGES -
         COMMERCIAL GENERAL LIABILITY COVERAGE FORM
      This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART


      A. Paragraph 1.a. of Section I - Coverage A -              B. Paragraph 1.a. of Section I - Coverage B -
         Bodily Injury And Property Damage Liability is             Personal And Advertising Injury Liability is
         replaced by the following:                                 replaced by the following:
         1. Insuring Agreement                                      1. Insuring Agreement
            a. We will pay those sums that the insured                    a. We will pay those sums that the insured
               becomes legally obligated to pay as                           becomes legally obligated to pay as
               damages because of "bodily injury" or                         damages because of "personal and
               "property damage" to which this insurance                     advertising injury" to which this insurance
               applies. We will have the right and duty to                   applies. We will have the right and duty to
               defend the insured against any "suit"                         defend the insured against any "suit"
               seeking those damages even if the                             seeking those damages even if the
               allegations of the "suit" are groundless,                     allegations of the "suit" are groundless,
               false or fraudulent. However, we will have                    false or fraudulent. However, we will have
               no duty to defend the insured against any                     no duty to defend the insured against any
               "suit" seeking damages for "bodily injury" or                 "suit" seeking damages for "personal and
               "property damage" to which this insurance                     advertising injury" to which this insurance
               does not apply. We may, at our discretion,                    does not apply. We may, at our discretion,
               investigate any "occurrence" and settle any                   investigate any offense and settle any claim
               claim or "suit" that may result. But:                         or "suit" that may result. But:
               (1) The amount we will pay for damages is                    (1) The amount we will pay for damages is
                   limited as described in Section 111 -                         limited as described in Section 111 -
                   Limits Of Insurance; and                                      Limits Of Insurance; and
               (2) Our right and duty to defend end when                    (2) Our right and duty to defend end when
                   we have used up the applicable limit of                      we have used up the applicable limit of
                   insurance in the payment of judgments                        insurance in the payment of judgments
                   or settlements under Coverages A or B                        or settlements under Coverages A and
                   or medical expenses under Coverage C.                        B or medical expenses under Coverage
                No other obligation or liability to pay sums                    C.
                or perform acts or services is covered                      No other obligation or liability to pay sums
                unless explicitly provided for under                        or perform acts or services is covered
                Supplementary Payments - Coverages A                        unless explicitly provided for under
                and B.                                                      Supplementary Payments - Coverages A
                                                                            and B.




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      C. The following is added as Paragraph e. to the                   b. With respect to "bodily injury" and "personal
         Duties In The Event Of Occurrence, Offense,                         and advertising injury" claims, if we deny
         Claim Or Suit Condition (Paragraph 2. of Section                    coverage or do not admit liability because
         IV - Commercial General Liability Conditions ):                     an insured or the injured person, someone
            e. Notice given by or on behalf of the insured,                  acting for the injured person or other
               or written notice by or on behalf of the                      claimant fails to give us written notice as
                injured person or any other claimant, to any                 soon as practicable, then the injured
                agent of ours in New York State, with                        person, someone acting for the injured
                particulars sufficient to identify the insured,              person or other claimant may bring an
                shall be considered to be notice to us.                      action against us, provided the sole
                                                                             question is whether the denial of coverage
      D. Paragraph 3. of Section IV - Commercial                             or nonadmission of liability is based on the
         General Liability Conditions is replaced by the                     failure to provide timely notice.
         following:
                                                                             However, the injured person, someone
         3. Legal Action Against Us                                          acting for the injured person or other
            a. Except as provided in Paragraph b., no                        claimant may not bring an action if within 60
                person or organization has a right under                     days after we deny coverage or do not
                this Coverage Part:                                          admit liability, we or an insured:
               (1) To join us as a party or otherwise bring                 (1) Brings an action to declare the rights of
                   us into a "suit" asking for damages from                      the parties under the Policy; and
                   an insured; or                                           (2) Names the injured person, someone
               (2) To sue us on this Coverage Part unless                       acting for the injured person or other
                   all of its terms have been fully complied                    claimant as a party to the action.
                   with.                                           E. The following provision is added and supersedes
                A person or organization may sue us to                any provision to the contrary:
                recover on an agreed settlement or on a               Failure to give notice to us as required under this
                final judgment against an insured; but we             Coverage Part shall not invalidate any claim made
                will not be liable for damages that are not           by the insured, injured person or any other
                payable under the terms of this Coverage              claimant, unless the failure to provide such timely
                Part or that are in excess of the applicable          notice has prejudiced us. However, no claim made
                limit of insurance. An agreed settlement              by the insured, injured person or other claimant
                means a settlement and release of liability           will be invalidated if it shall be shown not to have
                signed by us, the insured and the claimant            been reasonably possible to give such timely
                or the claimant's legal representative.               notice and that notice was given as soon as was
                                                                      reasonably possible thereafter
                                                                   F. The definition of "loading or unloading" in the
                                                                      Definitions Section does not apply.




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                                                                                COMMERCIAL GENERAL LIABILITY
                                                                                               CG 213205 09

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       COMMUNICABLE DISEASE EXCLUSION
      This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART


      A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
         Exclusions of Section I - Coverage A - Bodily              Exclusions of Section I - Coverage B - Per-
         Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
         2. Exclusions                                              2. Exclusions
            This insurance does not apply to:                          This insurance does not apply to:
            Communicable Disease                                       Communicable Disease
            "Bodily injury" or "property damage" arising out           "Personal and advertising injury" arising out of
            of the actual or alleged transmission of a com-            the actual or alleged transmission of a commu-
            municable disease.                                         nicable disease.
            This exclusion applies even if the claims                  This exclusion applies even if the claims
            against any insured allege negligence or other             against any insured allege negligence or other
            wrongdoing in the:                                         wrongdoing in the:
            a. Supervising, hiring, employing , training or            a. Supervising, hiring, employing, training or
               monitoring of others that may be infected                  monitoring of others that may be infected
               with and spread a communicable disease;                    with and spread a communicable disease;
            b. Testing for a communicable disease;                     b. Testing for a communicable disease;
            c. Failure to prevent the spread of the dis-               c. Failure to prevent the spread of the dis-
               ease; or                                                   ease; or
            d. Failure to report the disease to authorities.           d. Failure to report the disease to authorities.




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                                                                                                               CG 21440417




            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  LIMITATION OF COVERAGE TO DESIGNATED
                     PREMISES, PROJECT OR OPERATION
      This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                         SCHEDULE

            Premises:

            Locations 1-5 per GSl-04-CGLDEC & GSl-04-CGLDECX


             Project Or Operation :




          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



      A. If this endorsement is attached to Commercial                      (3) Prior to the policy period, no insured
         General Liability Coverage Form CG 00 01 , the                         listed under Paragraph 1. of Section 11 -
         provisions under this Paragraph A. apply:                              Who Is An Insured and no "employee"
         1. Paragraph 1.b. under Sectio n I - Coverage A                        authorized by you to give or receive
            - Bodily Injury And Property Damage                                 notice of an "occurrence" or claim, knew
            Liability is replaced by the following:                             that the "bodily injury" or "property
                                                                                damage" had occurred, in whole or in
            b. This insurance applies to "bodily injury" and                    part. If such a listed insured or authorized
                "property   damage"         caused by     an                    "employee" knew, prior to the policy
                "occurrence" that takes place in         the                    period, that the "bodily injury" or
                "coverage territory" only if:                                   "property damage" occurred, then any
               (1) The "bodily injury" or "property damage":                    continuation, change or resumption of
                                                                                such "bodily injury" or "property damage"
                  (a) Occurs on the premises shown in the
                      Schedule or the grounds and                               during or after the policy period will be
                      structures appurtenant to those                           deemed to have been known prior to the
                      premises; or                                              policy period.
                                                                     2. Paragraph 1.b. under Section I - Coverage 8
                  (b) Arises out of the project or operation
                                                                        - Personal And Advertising Injury Liability is
                      shown in the Schedule;
                                                                        replaced by the following:
               (2) The "bodily injury" or "property damage"
                                                                          b. This insurance applies to "personal and
                   occurs during the policy period; and
                                                                            advertising injury" caused by an offense
                                                                            committed in the "coverage territory" but
                                                                            only if:
                                                                            (1) The offense arises out of your business:
                                                                               (a) Performed on the premises shown in
                                                                                   the Schedule; or

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                   (b) In connection with the project or           B. If this endorsement is attached to Commercial
                        operation shown in the Schedule; and          General Liability Coverage Form CG 00 02, the
               (2) The offense was committed during the               provisions under this Paragraph B. apply:
                   policy period.                                      1. Paragraph 1.b. under Section I - Coverage A
               However,      with    respect   to   Paragraph             - Bodily Injury And Property Damage
               1.b.(1)(a) of this Insuring Agreement, if the              Liability is replaced by the following:
               "personal and advertising injury" is caused                b. This insurance applies to "bodily injury" and
               by:                                                            "property   damage"         caused by      an
               (1) False arrest, detention or imprisonment;                   "occurrence" that takes place in          the
                   or                                                         "coverage territory" only if:
               (2) The wrongful eviction from, wrongful                      (1) The "bodily injury" or "property damage":
                   entry into, or invasion of the right of                      (a) Occurs on the premises shown in the
                   private occupancy of a room, dwelling or                          Schedule or the grounds and
                   premises that a person occupies,                                  structures appurtenant to those
                   committed by or on behalf of its owner,                           premises; or
                   landlord or lessor;                                          (b) Arises out of the project or operation
               then such offense must arise out of your                              shown in the Schedule;
               business performed on the premises shown                      (2) The "bodily injury" or "property damage"
               in the Schedule and the offense must have                         did not occur before the Retroactive
               been committed on the premises shown in                           Date, if any, shown in the Declarations or
               the Schedule or the grounds and structures                        after the end of the policy period ; and
               appurtenant to those premises.
                                                                            (3) A claim for damages because of the
         3. Paragraph 1.a. under Section I - Coverage C                          "bodily injury" or "property damage" is
            - Medical Payments is replaced by the                                first made against any insured, in
            following:                                                           accordance with Paragraph 1.c. of this
            a. We will pay medical expenses as described                         Insuring Agreement, during the policy
                 below for "bodily injury" caused by an                          period or any Extended Reporting Period
                accident that takes place in the "coverage                       we provide under Section V - Extended
                territory" if the "bodily injury":                               Reporting Periods.
               (1) Occurs on the premises shown in the                 2. Paragraph 1.b. under Section I - Coverage B
                   Schedule or the grounds and structures                 - Personal And Advertising Injury Liability is
                   appurtenant to those premises; or                      replaced by the following:
               (2) Arises out of the project or operation                 b. This insurance applies to "personal and
                   shown in the Schedule;                                     advertising injury" caused by an offense
               provided that:                                                 committed in the "coverage territory" but
                                                                              only if:
                   (a) The accident takes place during the
                        policy period;                                       (1) The offense arises out of your business:

                   (b) The    expenses are incurred and                         (a) Performed on the premises shown in
                        reported to us within one year of the                        the Schedule; or
                        date of the accident; and                               (b) In connection with the project or
                   (c) The     injured person submits to                             operation shown in the Schedule;
                        examination, at our expense, by                      (2) The offense was not committed before
                        physicians of our choice as often as                     the Retroactive Date, if any, shown in the
                        we reasonably require.                                   Declarations or after the end of the policy
                                                                                 period; and




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                                           A047



             (3) A claim for damages because of the                3. Paragraph 1.a. under Section I - Coverage C
                 "personal and advertising injury" is first           - Medical Payments is replaced by the
                 made against any insured, in accordance              following:
                 with Paragraph 1.c. of this Insuring                 a. We will pay medical expenses as described
                 Agreement, during the policy period or                   below for "bodily injury" caused by an
                 any Extended Reporting Period we                         accident that takes place in the "coverage
                 provide under Section V - Extended                       territory" if the "bodily injury":
                 Reporting Periods.
                                                                         (1) Occurs on the premises shown in the
              However, with respect to Paragraph                             Schedule or the grounds and structures
              1.b.(1)(a) of this Insuring Agreement, if the                  appurtenant to those premises; or
              "personal and advertising injury" is caused
              by:                                                        (2) Arises out of the project or operation
                                                                             shown in the Schedule;
             (1) False arrest, detention or imprisonment;
                 or                                                       provided that:
             (2) The wrongful eviction from, wrongful                       (a) The accident takes place during the
                 entry into, or invasion of the right of                         policy period;
                 private occupancy of a room, dwelling or                   (b) The expenses are incurred and
                 premises that a person occupies.                               reported to us within one year of the
                 committed by or on behalf of its owner,                        date of the accident; and
                 landlord or lessor;                                        (c) The injured person submits to
              then such offense must arise out of your                          examination, at our expense, by
              business performed on the premises shown                          physicians of our choice as often as
              in the Schedule and the offense must have                         we reasonably require.
              been committed on the premises shown in
              the Schedule or the grounds and structures
              appurtenant to those premises




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          DESIGNATED ANIMAL LIABILITY LIMITATION
      This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART


      This policy does not apply to any damages for which the insured is legally liable, or costs or expenses, arising out of,
      resulting from, caused or contributed to by any excluded animaL With respect to liability arising from an animal that is
      not an excluded animal, the most we will pay is $25,000 for each incident involving one or more such animals
      regardless of the number of claims made or "suits" brought or persons or organizations making claims or bringing
      "suits".

      The following animals are excluded:

      1.   Any animal with a prior history of biting or attacking persons, property or other animals as established through
           insurance claims records, or through the records of local public safety, law enforcement or other similar
           regulatory agency;

      2.   Any exotic animal. For purposes of this endorsement, exotic animal means a: (1 )non-domesticated feline;
           (2)non-human primate; (3)venomous or poisonous animal; (4)caiman, alligator, or crocodile; (5)bear; (6)wolf;
           (7)jackal; (8)fox; or (9) coyote; including any hybrid of these animals.

      3.   Any pure or mixed breed of any of the following:

               Akita                               Husky
               Alaskan Malamute                    Pit Bull Terrier
               Bull Mastiff                        Rhodesian Ridgeback
               Chow                                Rottweiler
               Doberman Pinscher                   St. Bernard
               German Shepherd                     Staffordshire Ter rier
               Great Dane                          Wolf Hybrids
               Belgian Malinois


      All other terms and conditions remain unchanged.




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                                COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS

          POLICY# IMA353 86 9-A

  1.      NAMED INSURED George Henderson                                                            EFFECTIVE DATE           01/27/2 022
                                --~------------------

 2. DESCRIPTION OF PREMISES
 Ljf BL~G-                                         STREET                                                           CITY                   STATE ZIP

 1          1       35 59 Co Route 67                                                                Freehol d                              NY 12 431
 2          1       10 Enchanted Valley Rd                                                           East Durham                            NY 1242 3
 3          1       9358 Route 32                                                                    Freehold                               NY 1243 1
 4          1       3368 Route 67                                                                    Freehold                               NY 12431
                     LOC. BLjG.           PROTECT                  DIST TO          YEAR                                           CLASS
                      #            CONST   CLASS                   WATER            BUILT          OCCUPANCY                       CODE
                    1     1     Frame    PC9                                        1953 Dwel l ing - One Family                   196
                    2     1     Frame    PC9                                        1997 Dwelling - One Fami ly                    19 6
                    3     1     Frame    PC9                                        193 0 Dwel l ing - One Fami ly                 196
                    4     1     Frame    PC9                                        1974 Dwelling - One Fami ly                    1 96
          COVERAGES PROVIDED INSURANCE AT THE DESCRIBED PREMISES APPLIES ONLY FOR COVERAGES FOR WHICH A LIMIT OF INSURANCE IS SHOWN.
                                 COVERAGE                      LIMIT OF       COVERED CAUSES COINSURANCE• RATES                    PREMIUM
                                                            INSURANCE            OF LOSS
                    Buildi ng                                  255,000         Basic           80%         .376                              958
                    Buildi ng                                  160 , 000       Special         80%         . 531                             849
 3          1       Buildi ng                                  170 , 000       Special         80%         .601                            1,022
 4          1       Building                                   1 95,0 00       Special         80%         .568                            1,142
                                                                                                    IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS
                                                                                                    PAYMENT
                                                            TERRORISM RISK INSURANCE ACT (TRIA) PREMIUM:
                                            (TRIA COVERAGE NOT APPLICABLE UNLESS PREMIUM SHOWN ABOVE)
                                                                                               GSl-04-CPDECX(0S-04) TOTAL:                 1 ,171
                                                                                               TOTAL PREMIUM:                              5,142
 4.       OPTIONAL COVERAGES               APPLICABLE ONLY WHEN ENTRIES ARE MADE IN THE SCHEDULE BELOW.
     LOC.   BLDG.    AGREED VALUE                                                              REPLACEMENT COST(X)
      #         #   EXPIRATION DATE             COVERAGE                       AMOUNT          BUILDING   PERSONAL PROPERTY INCLUDING "STOCK"
 1 -5       1                                                                                   X




                           INFLATION GUARD (Percentage)  * MONTHLY LIMIT OF *MAXIMUM PERIOD                 *EXTENDED PERIOD
                            BUILDING    PERSONAL PROPERTY INDEMNITY (Fraction) OF INDEMNITY (X)              OF INDEMNITY (Days)




                                                            •APPLIES TO BUSINESS INCOME ONLY
 5.       MORTGAGE HOLDER
          LOC. # BLDG.#  MORTGAGE HOLDER NAME AND MAILING ADDRESS




 6.       DEDUCTIBLE
          SEE GSl-04-P487 (           ) APPLICATION OF THE DEDUCTIBLE ENDORSEMENT

 7.       FORMS APPLICABLE
          TO ALL COVERAGES:           See Schedule of Forms & Endorsements GSl-04-FORMSCH (1-01)
          TO S PECIFIC PREMISES/COVERAGES:
          LOC. #      BLDG.#      COVERAGES                                    FORM NUMBER




          GSl-04-CP03D (5/04)                                        ORI GINAL
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                                          COMMERCIAL PROPERTY COVERAGE
                                           PART EXTENSION DECLARATIONS


      POLICY# IMA3 53869 -A
 2.   DESCRIPTION OF PREMISES, continued
 Lie. BLjG.                                 STREET                                               CITY                STATE ZIP

 5     1       9 Lilac Ln                                                         Catskil l                           NY 1241 4




                                           PROTECT        DIST TO      YEAR                                  CLASS
                                  CONST     CLASS         WATER        BUILT          OCCUPANCY              CODE
               5       1       Frame       PC9                         1 958 Dwel l ing - One Fami ly        196




 3.   COVERAGES PROVIDED, continued
 L9f BLi?·                     COVERAGE                 LIMIT OF    COVERED CAUSES COINSURANCE• RATES         PREMIUM
                                                     INSURANCE         OF LOSS
 5      1       Building                                200, 000     Special         80%         . 568               1,171




                                                                                • IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS
                                                                                  PAYMENT

                                                                                 TOTAL EXTENSION PREMIUM:          1,171



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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             COMMERCIAL PROPERTY COMBIINED PROVISIONS ENDORSEMENT

      The following amends insurance provided under the policy. Note the specific coverage forms or causes of loss
      forms affected by the amendatory provisions.

      .1,_ ELECTRONIC DATA LIMITATION PROVISION

           This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
           when attached to the policy:

           BUILDING AND PERSONAL PROPERTY COVERAGE FORM
           CONDOMINIUM ASSOCIATION COVERAGE FORM

           It is agreed that subparagraph (4) of paragraph f. Electronic Data of subsection 4. Additional Coverages in
           section A. Coverage is deleted in its entirety and replaced with the following:

           (4) The most we will pay under this Additional Coverage - Electronic Data is $250 for all loss or damage
               sustained in any one policy year, regardless of the number of occurrences of loss or damage or the number
               of premises, locations or computer systems involved. If loss payment on the first occurrence does not
               exhaust this amount, then the balance is available for subsequent loss or damage sustained in but not after
               that policy year. With respect to an occurrence which begins in one policy year and continues or results in
               additional loss or damage in a subsequent policy year(s), all loss or damage is deemed to be sustained in
               the policy year in which the occurrence began.

           This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
           when attached to the policy:

           CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM

           It is agreed that subparagraph (4) of paragraph e. Electronic Data of subsection 4. Additional Coverages in
           section A. Coverage is deleted in its entirety and replaced with the following:

           (4) The most we will pay under this Additional Coverage - Electronic Data is $250 for all loss or damage
               sustained in any one policy year, regardless of the number of occurrences of loss or damage or the number
               of premises, locations or computer systems involved. If loss payment on the first occurrence does not
               exhaust this amount, then the balance is available for subsequent loss or damage sustained in but not after
               that policy year. With respect to an occurrence which begins in one policy year and continues or results in
               additional loss or damage in a subsequent policy year(s). all loss or damage is deemed to be sustained in
               the policy year in which the occurrence began.

           This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
           when attached to the policy:

          BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM

           It is agreed that subparagraph (4) of paragraph d. Interruption of Computer Operations of subsection 5.
           Additional Coverages in section A. Coverage is deleted in its entirety and replaced with the following:

           (4) The most we will pay under this Additional Coverage - Interruption of Computer Operations is $250 for all
               loss sustained and expense incurred in any one policy year, regardless of the number of interruptions or the
               number of premises, locations or computer systems involved. If loss payment relating to the first
               interruption does not exhaust this amount, then the balance is available for loss or expense sustained or
               incurred as a result of subsequent interruptions in that policy year. A balance remaining at the end of a
               policy year does not increase the amount of insurance in the next policy year. With respect to any
               interruption which begins in one policy year and continues or results in additional loss or expense in a
               subsequent policy year(s), all loss and expense is deemed to be sustained or incurred in the policy year in
               which the interruption began.


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           This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
           when attached to the policy:

           BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM

           It is agreed that subparagraph (4) of paragraph e. Interruption of Computer Operations of subsection 4.
           Additional Coverages in section A. Coverage is deleted in its entirety and replaced with the following:

           (4) The most we will pay under this Additional Coverage - Interruption of Computer Operations is $250 for all
               loss sustained in any one policy year, regardless of the number of interruptions or the number of premises,
               locations or computer systems involved. If loss payment relating to the first interruption does not exhaust
               this amount, then the balance is available for loss sustained as a result of subsequent interruptions in that
               policy year. A balance remaining at the end of ai policy year does not increase the amount of insurance in
               the next policy year. With respect to any interruption which begins in one policy year and continues or
               results in additional loss in a subsequent policy year(s), all loss is deemed to be sustained in the policy year
               in which the interruption began.

           This ELECTRONIC DATA LIMITATION PROVISION modifies insurance provided under the following
           when attached to the policy:

           EXTRA EXPENSE COVERAGE FORM

           It is agreed that subparagraph (4) of paragraph c. Interruption of Computer Operations of subsection 4.
           Additional Coverages in section A. Coverage is deleted in its entirety and replaced with the following:

           (4) The most we will pay under this Additional Coverage - Interruption of Computer Operations is $250 for all
               loss sustained in any one policy year, regardless of the number of interruptions or the number of premises,
               locations or computer systems involved. If loss payment relating to the first interruption does not exhaust
               this amount, then the balance is available for loss sustained as a result of subsequent interruptions in that
               policy year. A balance remaining at the end of a1policy year does not increase the amount of insurance in
               the next policy year. With respect to any interruption which begins in one policy year and continues or
               results in additional loss in a subsequent policy year(s). all loss is deemed to be sustained in the policy year
               in which the interruption began.

      2.   FUNGUS CLEAN UP AND REMOVAL LIMITATION !PROVISION

           This FUNGUS CLEAN UP AND REMOVAL LIMITATION PROVISION modifies insurance provided under
           the following when attached to the policy:

           CAUSES OF LOSS -- BASIC FORM


                                                     SCHEDULE
                                  FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT                          $5,000

           A. It is agreed that paragraph h., "Fungus", Wet Rot, Dry Rot and Bacteria of subsection 1. in section B.
              Exclusions is deleted in its entirety and is replaced with the following:

               h.   "Fungus", "Spore(s)", Wet Rot, Dry Rot And Bacteria
                    Presence, growth, proliferation, spread or any activity of "fungus", "spore(s)", wet or dry rot or bacteria.

           B. Section C. Additional Coverage - Limited Coverage For "Fungus" , Wet Rot, Dry Rot and Bacteria is
              deleted in its entirety and replaced with the following:




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                 C. Additional Coverage - Limited Coverage For "Fungus" , "Spores", Wet Rot, Dry Rot and Bacteria

                      1.    Subject to all other policy provisions, we will pay your expense for testing for, monitoring,
                            abatement, mitigation, removal, remediation or disposal of "fungus" or "spores" or any substance,
                            vapor, gas, or byproducts produced by or arising out of any "fungus" or ·spores· provided:

                            a. Such expense is caused by or results from a Covered Cause of Loss that occurs during the
                                policy period;

                            b. Subject to all other policy conditions, the necessity of such expense is reported to us in writing
                               within 60 days of the date on which the Covered Cause of Loss occurs; and

                            c. We authorize you to incur such expense.

                            This Additional Coverage does not apply to lawns, trees, shrubs or plants which are part of a
                            vegetated roof.

                      2.    a. Regardless of the number of claims, insured locations or occurrences, the most we will pay
                                under this policy, in excess of any applicable deductible, for the sum of all covered expense
                                described in paragraph C.1.a. above, is the FUNGUS CLEAN UP AND REMOVAL POLICY
                                LIMIT shown in the SCHEDULE above.

                             b. Subject to paragraph 2.a. above, tllle FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT
                                applies to and includes the costs associated with the replacement of Covered Property
                                discarded or destroyed as part of the removal or remediation of "fungus" or "spore(s)".

                C.    The definition of "fungus" in section E. Definitions is deleted in its entirety and replaced by the
                      following:

                      1.     The term "fungus", as used in this endorsement and throughout the entire policy, includes, but is
                             not limited to, any form or type of mildew, mold, wet or dry rot, bacteria. mushroom, rust, smuts,
                             or yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile
                             organic compounds produced by or associated therewith.

                D.    The following paragraph 2. is added to section E. Definitions :

                      2.     The term "spore(s)", as used in this endorsement and throughout the entire policy, means any
                             reproductive body produced by or arising out of any "fungus".

           This FUNGUS CLEAN UP AND REMOVAL LIMITATION PROVISION modifies insurance provided under
           the following when attached to the policy:

           CAUSES OF LOSS --- BROAD FORM


                                                         SCHEDULE
                                      FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT                          $5,000

           A.    It is agreed that paragraph h., "Fungus", Wet Rot, Dry Rot and Bacteria of subsection 1. in section B.
                 Exclusions is deleted in its entirety and is replaced with the following:

                 h.   "Fungus", "Spore(s)", Wet Rot, Dry Rot And Bacteria
                      Presence, growth, proliferation. spread or any activity of "fungus", "spore(s)", wet or dry rot or bacteria.




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                                           A054
           B. Section D. Additional Coverage - Limited Coverage For "Fungus", Wet Rot, Dry Rot and Bacteria is
              deleted in its entirety and replaced with the following:

               D. Additional Coverage - Limited Coverage For "Fungus" , "Spores", Wet Rot, Dry Rot and Bacteria

                    1.      Subject to all other policy provisions, we will pay your expense for testing for, monitoring,
                            abatement, mitigation, removal, remediation or disposal of "fungus" or "spores" or any substance,
                            vapor, gas, or byproducts produced by or arising out of any "fungus" or "spores" provided:

                            a. Such expense is caused by or results from a Covered Cause of Loss that occurs during the
                                   policy period;

                            b.     Subject to all other policy conditions, the necessity of such expense is reported to us in writing
                                   within 60 days of the date on which the Covered Cause of Loss occurs; and

                            c. We authorize you to incur such expense.
                            This Additional Coverage does not apply to lawns, trees, shrubs or plants which are part of a
                            vegetated roof.

                    2.      a. Regardless of the number of claims, insured locations or occurrences, the most we will pay
                               under this policy, in excess of any applicable deductible, for the sum of all covered expense
                               described in paragraph D.1 .a. above, is the FUNGUS CLEAN UP AND REMOVAL POLICY
                               LIMIT shown in the SCHEDULE of this endorsement.

                             b. Subject to paragraph 2.a. above, the FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT
                                   applies to and includes the costs associated with the replacement of Covered Property
                                   discarded or destroyed as part of the removal or remediation of "fungus" or "spore(s)".

             C.     The definition of "fungus" in section F. Definitions is deleted in its entirety and replaced by the
                    following:

                    1.           The term "fungus", as used in this endorsement and throughout the entire policy, includes, but is
                                 not limited to, any form or type of mildew, mold, wet or dry rot, bacteria, mushroom, rust, smuts,
                                 or yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile
                                 organic compounds produced by or associated therewith.

             D.     The following paragraph 2. is added to section F. Definitions :

                    2.           The term "spore(s)", as used in this endorsement and throughout the entire policy, means any
                                 reproductive body produced by or arising out of any "fungus".

           This FUNGUS CLEAN UP AND REMOVAL LIMITATION PROVISION modifies insurance provided under
           the following when attached to the policy:

           CAUSES OF LOSS -- SPECIAL FORM


                                                            SCHEDULE
                                         FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT                          $5,000

           A. It is agreed that paragraph h., "Fungus", Wet Rot, Dry Rot and Bacteria of subsection 1. in section B.
              Exclusions is deleted in its entirety and is replaced with the following:

               h.   "Fungus", "Spore(s)", Wet Rot , Dry Rot And Bacteria
                    Presence, growth, proliferation, spread or any activity of "fungus", "spore(s)", wet or dry rot or bacteria.




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                                           A055
           B. Section E. Additional Coverage - Limited Coverage For "Fungus", Wet Rot, Dry Rot and Bacteria is
              deleted in its entirety and replaced with the following:

                E. Additional Coverage - Limited Coverage For "Fungus" , "Spores", Wet Rot, Dry Rot and Bacteria

                    1.      Subject to all other policy provisions, we will pay your expense for testing for, monitoring,
                            abatement, mitigation, removal, remediation or disposal of "fungus" or "spores" or any substance,
                            vapor, gas, or byproducts produced by or arising out of any "fungus" or "spores" provided:

                            a. Such expense is caused by or results from a Covered Cause of Loss that occurs during the
                                   policy period;

                            b.     Subject to all other policy conditions, the necessity of such expense is reported to us in writing
                                   within 60 days of the date on which the Covered Cause of Loss occurs; and

                            c. We authorize you to incur such expense.

                            This Additional Coverage does not apply to lawns, trees, shrubs or plants which are part of a
                            vegetated roof.

                    2.      a.     Regardless of the number of claims, insured locations or occurrences, the most we will pay
                                   under this policy, in excess of any applicable deductible, for the sum of all covered expense
                                   described in paragraph E.1.a. above, is the FUNGUS CLEAN UP AND REMOVAL POLICY
                                   LIMIT shown in the SCHEDULE of this endorsement.

                            b.     Subject to paragraph 2.a. above, the FUNGUS CLEAN UP AND REMOVAL POLICY LIMIT
                                   applies to and includes the costs associated with the replacement of Covered Property
                                   discarded or destroyed as part of the removal or remediation of ''fungus" or "spore(s)".

                C. Subsection 1. of section G. Definitions is deleted in its entirety and replaced by the following:

                    1.           The term "fungus", as used in this endorsement and throughout the entire policy, includes, but is
                                 not limited to, any form or type of mildew, mold, wet or dry rot, bacteria, mushroom, rust, smuts,
                                 or yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile
                                 organic compounds produced by or associated therewith

                D. The following paragraph 3. is added to section G. Definitions :

                    3.           The term "spore(s)", as used in this endorsement and throughout the entire policy, means any
                                 reproductive body produced by or arising out of any "fungus".

      3.   ABSOLUTE ASBESTOS EXCLUSION PROVISION

           This ABSOLUTE ASBESTOS EXCLUSION PROVISION modifies insurance provided under the following
           when attached to the policy:

           CAUSES OF LOSS -- BASIC FORM
           CAUSES OF LOSS -- BROAD FORM
           CAUSES OF LOSS - SPECIAL FORM

           The following is added to the Exclusions section and is therefore not a Covered Cause of Loss:

           Absolute Asbestos Exclusion

           We will not pay for loss or damage caused directly or indirectly by existence of or actual, alleged or threatened,
           discharge, dispersal, seepage, migration, release or escape of any asbestos, or any materials containing them,
           at any time. This exclusion applies regardless of any other cause or event that contributes concurrently or in
           any sequence to the loss or damage.




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      4.   NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW
           This NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW PROVSIION
           modifies insurance provided under the following when attached to the policy:

           COMMERCIAL PROPERTY CONDITIONS

           The following is added to the Commercial Property Conditions (CP 00 90)

           J.   NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW

                If we decide not to renew this policy we have no duty or responsibility to mail or deliver written notice of the
                non-renewal to any insured.




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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  TOTAL LOSS ENDORSEMENT
       This endorsement modifies insurance provided under this Policy.

       CAUSES OF LOSS - BASIC FORM
       CAUSES OF LOSS - BROAD FORM
       CAUSES OF LOSS - SPECIAL FORM




       In consideration of the premium charged under this policy, it is understood and agreed that in the event of a
       constructive total loss of the insured property, the full policy premium of the property shall be deemed fully
       earned for all coverages insured hereunder. No return premium shall be payable to the insured for the
       unexpired term of the policy.

       All other terms, conditions and exclusions remain the same.




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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             APPLICATION OF THE DEDUCTIBLE ENDORSEMENT
          This endorsement modifies insurance provided under the following:

          BUILDING AND PERSONAL PROPERTY COVERAGE FORM
          CONDOMINIUM ASSOCIATION COVERAGE FORM
          CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
          BUILDERS RISK COVERAGE FORM.


                                                                     Schedule*
           Prem.     Bldg.   I Deductible    I ofCovered
                                                   Losstt
                                                         Cause(s)       Deductible applies per:
           No.       No.

                                               (1)                         X Per Occurrence           Per Location       Per Building
           1-5      1         $1 ,000
                                                                             Other                                       Per Unit
                                                                                       -----·------····-----------
                                               (5)                         X Per Occurrence           Per Location       Per Building
           1-5      1         $1 ,000
                                                                             Other                                       Per Unit
                                                                                       ----·--·--·-······-·-··-------
                                                                             Per Occurrence           Per Location       Per Building

                                                                             Other                                       Per Unit
                                                                                       ----·-------------------
                                                                             Per Occurrence           Per Location       Per Building

                                                                             Other                                       Per Unit
                                                                                       -------------------------
          * Information required to complete this Schedule, if not shown on this endorsement, will be shown in the
          Declarations.

          ** For each deductible listed in this Schedule, enter the number corresponding to the Covered Cause(s) of Loss to
          which that deductible applies (or enter the description):

                   (1) All Covered Causes of Loss except those with a separate deductible shown in the Schedule
                   (2) "Hurricane"
                   (3) Windstorm or Hail except windstorm or hail caused by a "Hurricane"
                   (4) Theft (Only applicable for use with the Special Cause of Loss Form)
                   (5) Windstorm or Hail
                   (6) "Named Storm"
                   (7) W indstorm or Hail except windstorm or hail caused by "Named Storm"
                   (8) Vandalism
                   (9) Water damage (Only applicable for use with the Broad or Special Cause of Loss Form)
                   (1 0)Sprinkler Leakage




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                   (11)1ce Damming, thawing of snow, sleet, or ice that damages the interior of any building or structure, or the
                       property inside the building or structure. (Only applicable for use with the Special Cause of Loss
                       Form)
                   (12)Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          Section D. Deductible is deleted and replaced with the following:

          D. Deductible

              1.   We will not pay for loss or damage until the amount of loss or damage exceeds the applicable Deductible.
                   We will then pay the amount of loss or damage in excess of that Deductible, up to the applicable Limit of
                   Insurance, after any reduction required by any of the following: Coinsurance Condition or Agreed Value
                   Optional Coverage

              2.   The Deductible, as shown in the Schedule and set forth in this endorsement, applies to covered loss or
                   damage caused directly or indirectly by the Covered Cause of Loss shown in the Schedule for that
                   Deductible. The Deductible applies separately lo each occurrence.

              3.   When property is covered under the Coverage Extension for Newly Acquired Or Constructed Property: In
                   determining the amount, if any, that we will pay for loss or damage, we will deduct from the value(s) of the
                   property at time of loss. The applicable deductible is the largest deductible shown in the Schedule for the
                   Covered Cause of Loss for any described premises.

              4.   When the occurrence involves loss to a specific Covered Property caused by or resulting from a Covered
                   Cause of Loss that is subject to a Sublimit(s) as stated in this Coverage Form, Declarations or in any
                   endorsement to this policy, then any amount of such loss in excess of the applicable Sublimit(s) will not be
                   considered to be part of the covered loss under this policy for purposes of application of any Deductible(s)
                   and, as such, will not be offset, defray, or erode any Deductible(s) provided in this policy.

              5.   In the event that loss or damage by multiple Covered Causes of Loss occurs to Covered Property as a result
                   of one occurrence, each deductible applicable to the Covered Cause of Loss, as shown in the Schedule
                   above, will apply to that portion of the loss or damage resulting from the Covered Cause of Loss
                   corresponding to each deductible.

              6.   Calculation Of The Deductible - Fixed Dollar Amount

                   In determining the amount, if any, that we w ill pay for loss or damage, we will deduct an amount equal to the
                   dollar amount applicable to that Covered Cause of Loss shown in the Schedule above from the loss or
                   damage sustained.

                   a.   If the deductible applies on a Per Occurrence basis, then the applicable Deductible for that Covered
                        Cause of Loss will be subtracted from the total loss or damage to all Covered Property damaged in that
                        occurrence. In the event that loss or damage occurs to Covered Property at more than one building
                        location as a result of one occurrence, the largest applicable deductible for that Covered Cause of Loss,
                        shown in the Schedule above or in the Declarations, will apply.

                   b.   If the deductible applies on a Per Location basis, then the applicable Deductible for that Covered Cause
                        of Loss will be applied separately to each location that sustains loss or damage

                   c.   If the deductible applies on a Per Building basis, then the applicable Deductible for that Covered Cause
                        of Loss will be applied separately to each building that sustains loss or damage, regardless of the
                        number of buildings per location, and their respective contents.




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                   d.   If the deductible applies on a Per Unit basis, then the applicable Deductible for that Covered Cause of
                        Loss will be applied separately to each unit that sustains loss or damage, regardless of the number of
                        units per building, and their respective contents.

                   e.   If the deductible applies on an Other basis, then the applicable Deductible for that Covered Cause of
                        Loss will be applied as described in the schedule above.

              7.   Calculation Of The Deductible - Percentage Deductible

                   a.   Specific Insurance Other than Builders' Risk

                        In determining the amount, if any, that we will pay for loss or damage:

                        (1) If the Deductible applies on a Per occurrence basis, we will deduct an amount equal to the
                            applicable Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule)
                            multiplied by the total value(s) of all property covered on the policy, including contents, as of the time
                            of loss or damage.

                            In the event that loss or damage occurs to Covered Property at more than one building location as a
                            result of one occurrence, and there is a separate Per Occurrence deductible applicable to each
                            building location, then we will deduct an amount equal to the sum of the applicable Deductible
                            Percentage for each building location (as shown in the Schedule) multiplied by the total value(s) of
                            all property at the building location, including contents. as of the time of the loss or damage.

                        (2) If the Deductible applies on a Per Location basis, we will deduct an amount equal to the applicable
                            Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                            total value(s) of all Covered Property at the location that sustained loss or damage. The deductible
                            w ill be applied separately to each location that sustains loss or damage, regardless of the number of
                            locations included on the policy, and their respective contents

                        (3) If the Deductible applies on a Per Building basis, we will deduct an amount equal to the applicable
                            Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                            total value(s) of all Covered Property in the building that sustained damage. The deductible will be
                            applied separately to each building that sustains loss or damage, regardless of the number of
                            buildings per location, and their respective contents.

                        (4) If the Deductible applies on a Per Unit basis, we will deduct an amount equal to the applicable
                            Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                            total value(s) of all Covered Property i n the unit that sustained loss or damage, regardless of the
                            number of units per building, and their respective contents

                        (5) If the Deductible applies on an Other basis, then the applicable Deductible for that Covered Cause
                            of Loss will be applied as described in the Schedule above.

                   b.   Builders' Risk Insurance

                        In determining the amount, if any, that we will pay for property that has sustained loss or damage:

                        (1) If the Deductible applies on a Per Occurrence basis, we will deduct an amount equal to the
                            applicable Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule)




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                           multiplied by the actual cash value(s) of all property covered by this policy as of the time of loss or
                           damage.

                           In the event that loss or damage occurs to Covered Property at more than one building location as a
                           result of one occurrence, and there is a separate Per Occurrence deductible applicable to each
                           building location, then we will deduct an amount equal to the sum of the applicable Deductible
                           Percentage for each building location (as shown in the Schedule) multiplied by the actual cash
                           value(s} of all property at the building location as of the time of the loss or damage.

                       (2) If the Deductible applies on a Per Location basis, we will deduct an amount equal to the applicable
                           Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                           actual cash value(s) of all Covered Property at the location where the loss or damage occurred as
                           of the time of loss or damage. The deductible will be applied separately to each location that
                           sustains loss or damage, regardless of the number of locations per policy, and their respective
                           contents

                       (3) If the Deductible applies on a Per Building basis, we will deduct an amount equal to the applicable
                           Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                           actual cash value(s) of all Covered Property at the building that sustained loss or damage as of the
                           time of the loss or damage. The Deductible will be applied separately to each building that sustains
                           loss or damage, regardless of the number of buildings per location, and their respective contents.

                       (4) If the Deductible applies on a Per Unit basis, we will deduct an amount equal to the applicable
                           Deductible Percentage for that Covered Cause of Loss (as shown in the Schedule) multiplied by the
                           actual cash value(s) of all Covered Property at the unit that sustained loss or damage as of the time
                           of the loss or damage The Deductible will be applied separately to each unit that sustains loss or
                           damage, regardless of the number of units per building, and their respective contents.

                       (5) If the Deductible applies on an Other basis, then the applicable Deductible will be applied as
                           described in the Schedule above.

              8.   Nothing in this endorsement implies or affords coverage for any loss or damage that is excluded under the
                   terms of any exclusion in this policy.

              9.   As used in this endorsement, the term "specific insurance" has the following meanings: Specific insurance
                   covers each item of insurance (for example, each building or personal property in a building) under a
                   separate Limit of Insurance. Items of insurance corresponding Limit(s) Of Insurance are shown in the
                   Declarations.

              10. The term "hurricane" is defined as any atmospheric disturbance declared to be a hurricane by the U.S.
                  National Weather Service or the National Hurricane Center.

              11. The term "Named Storm" is defined as a weather-related event that has been named, designated or
                  identified by the U.S. National Weather Service or the National Hurricane Center. It only includes a
                  "hurricane", tropical storm or tropical depression .




          All other terms. conditions and exclusions remain unchanged.




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                                                                                              COMMERCIAL PROPERTY
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                         BUILDING AND PERSONAL PROPERTY
                                  COVERAGE FORM
      Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
      what is and is not covered.
      Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
      words "we", "us" and "our" refer to the company providing this insurance.
      other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.

      A. Coverage                                                          b. Your     Business      Personal     Property
         We will pay for direct physical loss of or damage to                 consists of the following property located in
         Covered Property at the premises described in the                    or on the building or structure described in
         Declarations caused by or resulting from any                         the Declarations or in the open (or in a
         Covered Cause of Loss.                                               vehicle) within 100 feet of the building or
                                                                              structure or within 100 feet of the premises
         1. Covered Property                                                  described in the Declarations, whichever
             Covered Property, as used in this Coverage                       distance is greater:
             Part, means the type of property described in                   (1) Furniture and fixtures;
             this section, A.1., and limited in A.2. Property
             Not Covered, if a Limit Of Insurance is shown                   (2) Machinery and equipment;
             in the Declarations for that type of property.                  (3) "Stock";
             a. Building, meaning the building or structure                  (4) All other personal property owned by
                described in the Declarations, including:                        you and used in your business;
               (1) Completed additions;                                      (5) Labor, materials or services furnished or
               (2) Fixtures, including outdoor fixtures;                         arranged by you on personal property of
                                                                                 others;
               (3) Permanently installed:
                                                                             (6) Your use interest as tenant in
                   (a) Machinery; and                                            improvements        and    betterments .
                   (b) Equipment;                                                Improvements and betterments are
                                                                                 fixtures, alterations, installations or
               (4) Personal property owned by you that is
                                                                                 additions:
                   used to maintain or service the building
                   or structure or its premises, including:                      (a) Made a part of the building or
                                                                                     structure you occupy but do not own;
                   (a) Fire-extinguishing equipment;
                                                                                     and
                   (b) Outdoor furniture;
                                                                                 (b) You acquired or made at your
                   (c) Floor coverings; and                                          expense but cannot legally remove;
                   (d) Appliances used for refrigerating,                    (7) Leased personal property for which you
                       ventilating, cooking, dishwashing or                      have a contractual responsibility to
                       laundering;                                               insure, unless otherwise provided for
               (5) If not covered by other insurance:                            under Personal Property Of Others.
                   (a) Additions     under       construction,             c. Personal Property Of Others that is:
                       alterations and repairs to the building               (1) In your care, custody or control; and
                       or structure;
                                                                             (2) Located in or on the building or structure
                   (b) Materials, equipment, supplies and                        described in the Declarations or in the
                       temporary structures, on or within                        open (or in a vehicle) within 100 feet of
                       100 feet of the described premises,                       the building or structure or within 100
                       used      for    making     additions,                    feet of the premises described in the
                       alterations or repairs to the building                    Declarations, whichever distance is
                       or structure.                                             greater.




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               However, our payment for loss of or                       n. Electronic data, except as provided under
               damage to personal property of others will                   the Additional Coverage , Electronic Data.
               only be for the account of the owner of the                  Electronic data means information, facts or
               property.                                                    computer programs stored as or on,
         2. Property Not Covered                                            created or used on, or transmitted to or
                                                                            from computer software (including systems
            Covered Property does not include:                              and applications software}, on hard or
            a. Accounts, bills, currency, food stamps or                    floppy disks, CD-ROMs, tapes, drives, cells,
               other evidences of debt, money, notes or                     data processing devices or any other
               securities. Lottery tickets held for sale are                repositories of computer software which are
               not securities;                                              used      with     electronically     controlled
                                                                            equipment. The term computer programs,
            b. Animals, unless owned by others and
                                                                            referred to in the foregoing description of
               boarded by you, or if owned by you, only as
                                                                            electronic data, means a set of related
               "stock" while inside of buildings;
                                                                            electronic instructions which direct the
            c. Automobiles held for sale;                                   operations and functions of a computer or
            d. Bridges, roadways, walks, patios or other                    device connected to it, which enable the
               paved surfaces;                                              computer or device to receive, process,
                                                                            store, retrieve or send data. This
            e. Contraband, or property in the course of
                                                                            paragraph, n., does not apply to your
               illegal transportation or trade;
                                                                            "stock" of prepackaged software, or to
            f. The cost of excavations, grading, backfilling                electronic data which is integrated in and
               or filling;                                                  operates or controls the building's elevator,
            g. Foundations   of buildings,        structures,               lighting, heating, ventilation, air conditioning
               machinery or boilers if their foundations are                or security system ;
               below:                                                    o. The    cost to replace or restore the
              (1) The lowest basement floor; or                             information on valuable papers and
                                                                            records, including those which exist as
              (2) The surface of the ground, if there is no                 electronic data. Valuable papers and
                  basement;                                                 records include but are not limited to
            h. Land (including land on which the property                   proprietary information, books of account,
                is located), water, growing crops or lawns                  deeds, manuscripts, abstracts, drawings
                (other than lawns which are part of a                       and card index systems. Refer to the
                vegetated roof);                                            Coverage Extension for Valuable Papers
             i. Personal property while airborne or                         And Records (Other Than Electronic Data)
                waterborne;                                                 for limited coverage for valuable papers and
                                                                            records other than those which exist as
            j. Bulkheads, pilings, piers, wharves or docks;                 electronic data:
            k. Property that is covered under another                    p. Vehicles      or self-propelled        machines
               coverage form of this or any other policy in                  (including aircraft or watercraft) that:
               which it is more specifically described,
               except for the excess of the amount due                      (1) Are licensed for use on public roads; or
               (whether you can collect on it or not) from                  (2) Are operated principally away from the
               that other insurance;                                             described premises.
            I. Retaining walls that are not part of a                        This paragraph does not apply to:
               building;                                                        (a) Vehicles or self-propelled machines
           m. Underground pipes, flues or drains;                                   or autos you manufacture, process
                                                                                    or warehouse;




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                 (b) Vehicles or self-propelled machines,                       (d) Remove property of others of a type
                        other than autos, you hold for sale;                           that would not be Covered Property
                 (c) Rowboats or canoes out of water at                                under this Coverage Form;
                        the described premises; or                              (e) Remove deposits of mud or earth
                 (d) Trailers,     but only to the extent                           from the grounds of the described
                        provided for in the Coverage                                premises;
                        Extension for Non-owned Detached                        (f} Extract "pollutants" from land or
                        Trailers; or                                                water; or
            q. The following property while outside of                          (g) Remove, restore or replace polluted
               buildings:                                                              land or water.
              (1) Grain, hay, straw or other crops;                         (3) Subject to the exceptions in Paragraph
              (2) Fences, radio or television     antennas                      (4), the following provisions apply:
                  (including satellite dishes) and their                        (a) The most we will pay for the total of
                  lead-in wiring, masts or towers, trees,                              direct physical loss or damage plus
                  shrubs or plants (other than trees,                                  debris removal expense is the Limit
                  shrubs or plants which are "stock" or are                            of Insurance applicable to the
                  part of a vegetated roof), all except as                             Covered Property that has sustained
                  provided in the Coverage Extensions.                                 loss or damage.
         3. Covered Causes Of Loss                                              (b) Subject to (a) above, the amount we
            See applicable Causes Of Loss form as shown                                will pay for debris removal expense
            in the Declarations.                                                       is limited to 25% of the sum of the
                                                                                       deductible plus the amount that we
         4. Additional Coverages                                                       pay for direct physical loss or
            a. Debris Removal                                                          damage to the Covered Property that
              (1) Subject to Paragraphs (2), (3) and (4),
                                                                                       has sustained loss or damage.
                  we will pay your expense to remove                                   However, if no Covered Property has
                                                                                       sustained direct physical loss or
                  debris of Covered Property and other
                                                                                       damage, the most we will pay for
                  debris that is on the described premises,
                                                                                       removal of debris of other property (if
                  when such debris is caused by or
                  results from a Covered Cause of Loss                                 such removal is covered under this
                  that occurs during the policy period. The                            Additional Coverage) is $5,000 at
                  expenses will be paid only if they are                               each location.
                  reported to us in writing within 180 days                 (4) We will pay up to an additional $25,000
                  of the date of direct physical loss or                        for debris removal expense, for each
                  damage.                                                       location, in any one occurrence of
              (2) Debris Removal does not apply to costs
                                                                                physical loss or damage to Covered
                  to:                                                           Property, if one or both of the following
                                                                                circumstances apply:
                 (a) Remove debris of property of yours
                                                                                (a) The total of the actual debris removal
                        that is not insured under this policy,
                                                                                       expense plus the amount we pay for
                        or property in your possession that is
                                                                                       direct physical loss or damage
                        not Covered Property;
                                                                                       exceeds the Limit of Insurance on
                 (b) Remove debris of property owned by                                the Covered Property that has
                        or leased to the landlord of the                               sustained loss or damage.
                        building where your described
                                                                                (b) The actual debris removal expense
                        premises are located, unless you
                                                                                       exceeds 25% of the sum of the
                        have a contractual responsibility to
                                                                                       deductible plus the amount that we
                        insure such property and it is insured
                        under this policy;                                             pay for direct physical loss or
                                                                                       damage to the Covered Property that
                 (c) Remove any property that is                                       has sustained loss or damage
                     Property Not Covered, including
                     property addressed under the
                     Outdoor    Property   Coverage
                     Extension;




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                    Therefore, if (4)(a) and/or (4)(b) applies,    The additional amount payable for debris removal
                    our total payment for direct physical loss     expense is provided in accordance with the terms of
                    or damage and debris removal expense           Paragraph (4), because the debris removal expense
                    may reach but will never exceed the            ($40,000) exceeds 25% of the loss payable plus the
                    Limit of Insurance on the Covered              deductible ($40,000 is 50°/11 of $80,000), and because
                    Property that has sustained loss or            the sum of the loss payable and debris removal
                    damage, plus $25,000.                          expense ($79,500 + $40,000 = $119,500) would
               (5) Examples                                        exceed the Limit of Insurance ($90,000). The
                                                                   additional amount of covered debris removal expense
                    The following examples assume that             is $25,000, the maximum payable under Paragraph
                    there is no Coinsurance penalty.               (4). Thus, the total payable for debris removal
      Example 1                                                    expense in this example is $35,500; $4,500 of the
                                                                   debris removal expense is not covered.
      Limit of Insurance:                           $ 90,000
                                                                          b. Preservation Of Property
      Amount of Deductible:                         $     500
                                                                             If it is necessary to move Covered Property
      Amount of Loss:                               $ 50,000
                                                                             from the described premises to preserve it
      Amount of Loss Payable:                       $ 49,500                 from loss or damage by a Covered Cause
                                             ($50,000 - $500)                of Loss, we will pay for any direct physical
      Debris Removal Expense:                       $ 10,000                 loss or damage to that property:
      Debris Removal Expense Payable:               $ 10,000                (1) While it is being moved or while
                                                                                temporarily stored at another location;
      ($10,000 is 20% of $50,000.)
                                                                                and
      The debris removal expense is less than 25% of the                    (2) Only if the loss or damage occurs within
      sum of the loss payable plus the deductible. The sum                      30 days after the property is first moved.
      of the loss payable and the debris removal expense
      ($49,500 + $10,000 = $59,500) is less than the Limit                c. Fire Department Service Charge
      of Insurance. Therefore, the full amount of debris                     When the fire department is called to save
      removal expense is payable in accordance with the                      or protect Covered Property from a
      terms of Paragraph (3).                                                Covered Cause of Loss, we will pay up to
                                                                             $1 ,000 for service at each premises
      Example 2
                                                                             described in the Declarations, unless a
      Limit of Insurance:                          $ 90,000                  higher limit is shown in the Declarations.
      Amount of Deductible:                        $     500                 Such limit is the most we will pay
                                                                             regardless of the number of responding fire
      Amount of Loss:                              $ 80,000                  departments or fire units. and regardless of
      Amount of Loss Payable:                     $ 79,500                   the number or type of services performed.
                                            ($80,000 - $500)                 This Additional Coverage applies to your
      Debris Removal Expense:                      $ 40,000                  liability for fire department service charges:
      Debris Removal Expense Payable                                        (1) Assumed by contract or agreement prior
                         Basic Amount               $ 10,500                    to loss; or
                         Additional Amount:         $ 25,000                (2) Required by local ordinance.
      The basic amount payable for debris removal                            No Deductible applies to this Additional
      expense under the terms of Paragraph (3) is                            Coverage.
      calculated as follows: $80,000 ($79,500 + $500) x .25
      = $20,000, capped at $10,500. The cap applies
      because the sum of the loss payable ($79,500) and
      the basic amount payable for debris removal expense
      ($10,500) cannot exceed the Limit of Insurance
      ($90,000).




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            d. Pollutant Clean-up And Removal                             (S) Under this Additional Coverage, we will
              We will pay your expense to extract                             not pay for:
              "pollutants" from land or water at the                          (a) The enforcement of or compliance
              described premises if the discharge,                                   with any ordinance or law which
              dispersal, seepage, migration, release or                              requires        demolition.      repair,
              escape of the "pollutants" is caused by or                             replacement,             reconstruction,
              results from a Covered Cause of Loss that                              remodeling      or    remediation     of
              occurs during the policy period The                                    property due to contamination by
              expenses will be paid only if they are                                 "pollutants" or due to the presence,
              reported to us in writing within 180 days of                           growth, proliferation, spread or any
              the date on which the Covered Cause of                                 activity of "fungus", wet or dry rot or
              Loss occurs.                                                           bacteria; or
              This Additional Coverage does not apply to                      (b) Any       costs associated with the
              costs to test for, monitor or assess the                               enforcement of or compliance with
              existence, concentration or effects of                                 an ordinance or law which requires
              "pollutants". But we will pay for testing                              any insured or others to test for,
              which is performed in the course of                                    monitor, clean up, remove, contain,
              extracting the "pollutants" from the land or                           treat, detoxify or neutralize, or in any
              water.                                                                 way respond to, or assess the
              The most we will pay under this Additiona I                            effects of "pollutants", "fungus", wet
              Coverage for each described premises is                                or dry rot or bacteria
              $10,000 for the sum of all covered                          (6) The    most we will pay under this
              expenses arising out of Covered Causes of                       Additional Coverage, for each described
              Loss occurring during each separate 12-                         building insured under this Coverage
              month period of this policy.                                    Form, is $10,000 or 5% of the Limit of
            e. Increased Cost Of Construction                                 Insurance applicable to that building,
                                                                              whichever is less. If a damaged building
              (1) This Additional Coverage applies only to                    is covered under a blanket Limit of
                  buildings to which the Replacement                          insurance which applies to more than
                  Cost Optional Coverage applies.                             one building or item of property, then the
              (2) In the event of damage by a Covered                         most we will pay under this Additional
                  Cause of Loss to a building that is                         Coverage, for that damaged building, is
                  Covered Property, we will pay the                           the lesser of $10,000 or 5% times the
                  increased costs incurred to comply with                     value of the damaged building as of the
                  the minimum standards of an ordinance                       time of loss times the applicable
                  or law in the course of repair. rebuilding                  Coinsurance percentage.
                  or replacement of damaged parts of that                     The amount payable under this
                  property, subject to the limitations stated                 Additional   Coverage      is additional
                  in e.(3) through e.(9) of this Additional                   insurance.
                  Coverage.
                                                                          (7) With   respect         to    this      Additional
              (3) The ordinance or law referred to in e.(2)                   Coverage:
                  of this Additiona I Coverage is an
                  ordinance or law that regulates the                         (a) We will not pay for the Increased
                  construction or repair of buildings or                             Cost of Construction:
                  establishes zoning or land use                                     (i) Until the property is actually
                  requirements at the described premises                                 repaired or replaced at the same
                  and is in force at the time of loss.                                   or another premises; and
              (4) Under this Additional Coverage, we will                        (ii) Unless the repair or replacement
                  not pay any costs due to an ordinance                               is made as soon as reasonably
                  or law that:                                                        possible after the loss or
                 (a) You were required to comply with                                 damage, not to exceed two
                       before the loss, even when the                                 years. We may extend this period
                       building was undamaged; and                                    in writing during the two years.
                 (b) You failed to comply with.




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                 (b) If the building is repaired or replaced                  (3) The Covered Causes of Loss applicable
                        at the same premises, or if you elect                     to Your Business Personal Property
                        to rebuild at another premises, the                       apply to this Additional Coverage ,
                        most we will pay for the Increased                        Electronic Data, subject to the following:
                        Cost of Construction, subject to the                      (a) If the Causes Of Loss -          Special
                        provisions of e.(6) of this Additional                           Form applies, coverage under this
                        Coverage, is the increased cost of                               Additional   Coverage,     Electronic
                        construction at the same premises.                               Data, is limited to the "specified
                 (c) If the ordinance or law requires                                    causes of loss" as defined in that
                        relocation to another premises, the                              form and Collapse as set forth in that
                        most we will pay for the Increased                               form.
                        Cost of Construction, subject to the                      (b) If the Causes Of Loss - Broad Form
                        provisions of e.(6) of this Additional                           applies,    coverage    under   this
                        Coverage, is the increased cost of                               Additional    Coverage,   Electronic
                        construction at the new premises.                                Data, includes Collapse as set forth
              (8) This Additional Coverage is not subject                                in that form.
                     to the terms of the Ordinance Or Law                         (c) If the Causes        Of Loss form is
                     Exclusion to the extent that such                                   endorsed to add a Covered Cause of
                     Exclusion would conflict with the                                   Loss, the additional Covered Cause
                     provisions of this Additional Coverage.                             of Loss does not apply to the
              (9) The       costs addressed in the Loss                                  coverage    provided   under this
                     Payment and Valuation Conditions and                                Additional   Coverage,    Electronic
                     the     Replacement       Cost   Optional                           Data.
                     Coverage, in this Coverage Form, do                          (d) The Covered Causes of Loss include
                     not include the          increased   cost                        a virus, harmful code or similar
                     attributable to enforcement of or                                instruction introduced into or enacted
                     compliance with an ordinance or law.                             on a computer system (including
                     The amount payable under this                                    electronic data) or a network to
                     Additional Coverage, as stated in e.(6)                          which it is connected, designed to
                     of this Additional Coverage, is not                              damage or destroy any part of the
                     subject to such limitation.                                      system or disrupt its normal
            f. Electronic Data                                                        operation. But there is no coverage
              (1) Under         this   Additional    Coverage,                        for loss or damage caused by or
                     electronic data has the meaning                                  resulting from manipulation of a
                     described under Property Not Covered,                            computer         system      (including
                     Electronic      Data.    This    Additional                      electronic data) by any employee,
                     Coverage does not apply to your "stock"                          including a temporary or leased
                     of prepackaged software, or to                                   employee, or by an entity retained by
                     electronic data which is integrated in                           you or for you to inspect, design,
                     and operates or controls the building's                          install, modify, maintain, repair or
                     elevator, lighting, heating, ventilation, air                    replace that system.
                     conditioning or security system.
              (2) Subject       to the provisions of this
                     Additional Coverage, we will pay for the
                     cost to replace or restore electronic data
                     which has been destroyed or corrupted
                     by a Covered Cause of Loss. To the
                     extent that electronic data is not
                     replaced or restored, the loss will be
                     valued at the cost of replacement of the
                     media on which the electronic data was
                     stored, with blank media of substantially
                     identical type.




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              (4) The    most we will pay under this                      (2) Your Business Personal Property
                  Additional Coverage, Electronic Data, is                    (a) If this policy covers Your Business
                  $2,500 (unless a higher limit is shown in                          Personal Property, you may extend
                  the Declarations) for all loss or damage                           that insurance to apply to:
                  sustained in any one policy year,
                  regardless of the number of occurrences                            (i) Business    personal     property,
                  of loss or damage or the number of                                     including such property that you
                  premises,     locations    or   computer                               newly acquire, at any location
                  systems involved. If loss payment on the                               you acquire other than at fairs,
                  first occurrence does not exhaust this                                 trade shows or exhibitions; or
                  amount, then the balance is available for                      (ii) Business     personal    property,
                  subsequent loss or damage sustained in                              including such property that you
                  but not after that policy year. With                                newly acquire, located at your
                  respect to an occurrence which begins                               newly constructed or acquired
                  in one policy year and continues or                                 buildings    at    the    location
                  results in additional loss or damage in a                           described in the Declarations.
                  subsequent policy year{s), all loss or
                                                                                  The most we will pay for loss or
                  damage is deemed to be sustained in                             damage under this Extension is
                  the policy year in which the occurrence
                                                                                  $100,000 at each building.
                  began.
                                                                              (b) This Extension does not apply to:
         5. Coverage Extensions
                                                                                     (i) Personal property of others that
            Except as otherwise provided, the following                                 is temporarily in your possession
            Extensions apply to property located in or on                               in the course of installing or
            the building described in the Declarations or in
                                                                                        performing     work    on    such
            the open (or in a vehicle) within 100 feet of the
                                                                                        property; or
            described premises.
                                                                                 (ii) Personal property of others that
            If a Coinsurance percentage of 80% or more,                                 is temporarily in your possession
            or a Value Reporting period symbol, is shown                                in      the  course     of   your
            in the Declarations. you may extend the
                                                                                        manufacturing or wholesaling
            insurance provided by this Coverage Part as                                 activities.
            follows:
                                                                          (3) Period Of Coverage
            a. Newly Acquired Or Constructed
               Property                                                       With respect to insurance provided
                                                                              under this Coverage Extension for
              (1) Buildings
                                                                              Newly      Acquired     Or  Constructed
                  If this policy covers Building, you may                     Property, coverage will end when any of
                  extend that insurance to apply to:                          the following first occurs:
                  (a) Your new buildings while being built                    (a) This policy expires;
                       on the described premises; and
                                                                              (b) 30 days expire after you acquire the
                  (b) Buildings you acquire at locations,                            property or begin construction of that
                       other than the described premises,                            part of the building that would qualify
                       intended for:                                                 as covered property; or
                       (i) Similar use as the building                        (c) You report values to us.
                          described in the Declarations; or                   We will charge you additional premium
                       (ii) Use as a warehouse.                               for values reported from the date you
                  The most we will pay for loss or damage                     acquire    the    property    or   begin
                  under this Extension is $250,000 at                         construction of that part of the building
                  each building.                                              that would qualify as covered property.




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            b. Personal Effects And Property Of Others                   d. Property Off-premises
               You may extend the insurance that applies                   (1) You may extend the insurance provided
               to Your Business Personal Property to                           by this Coverage Form to apply to your
               apply to:                                                       Covered Property while it is away from
              (1) Personal effects owned by you, your                          the described premises, if it is:
                     officers, your partners or members, your                  (a) Temporarily at a location you do not
                     managers or your employees. This                                 own, lease or operate;
                     Extension does not apply to loss or                       (b) In storage at a location you lease,
                     damage by theft.                                                 provided the lease was executed
              (2) Personal property of others in your care,                           after the beginning of the current
                     custody or control.                                              policy term; or
               The most we will pay for loss or damage                         (c) At any fair, trade show or exhibition.
               under this Extension is $2,500 at each                      (2) This Extension        does      not apply   to
               described premises. Our payment for loss                        property:
               of or damage to personal property of others
               will only be for the account of the owner of                    (a) In or on a vehicle; or
               the property                                                    (b) In the care, custody or control of
            c. Valuable Papers And Records (other                                     your salespersons, unless the
               Than Electronic Data)                                                  property is in such care, custody or
                                                                                      control at a fair, trade show or
              (1) You may extend the insurance that                                   exhibition.
                  applies to Your Business Personal
                  Property to apply to the cost to replace                 (3) The most we will pay for loss or damage
                  or restore the lost information on                           under this Extension is $10,000.
                  valuable papers and records for which                  e. Outdoor Property
                  duplicates do not exist. But this                         You may extend the insurance provided by
                  Extension does not apply to valuable                      this Coverage Form to apply to your
                  papers and records which exist as
                                                                            outdoor fences, radio and television
                  electronic data. Electronic data has the                  antennas (including satellite dishes), trees,
                  meaning described under Property Not
                                                                            shrubs and plants (other than trees, shrubs
                  Covered, Electronic Data.                                 or plants which are "stock" or are part of a
              (2) If the Causes Of Loss - Special Form                      vegetated roof), including debris removal
                  applies, coverage under this Extension                    expense, caused by or resulting from any of
                  is limited to the "specified causes of                    the following causes of loss if they are
                  loss" as defined in that form and                         Covered Causes of Loss:
                  Collapse as set forth in that form.                      (1) Fire;
              (3) If the Causes Of Loss - Broad Form
                                                                           (2) Lightning;
                  applies, coverage under this Extension
                  includes Collapse as set forth in that                   (3) Explosion;
                  form.                                                    (4) Riot or Civil Commotion; or
              (4) Under this Extension, the most we will                   (5) Aircraft_
                     pay to replace or restore the lost
                     information is $2,500 at each described                The most we will pay for loss or damage
                                                                            under this Extension is $1,000, but not
                     premises, unless a higher limit is shown
                                                                            more than $250 for any one tree, shrub or
                     in the Declarations. Such amount is
                     additional insurance. We will also pay                 plant. These limits apply to any one
                                                                            occurrence, regardless of the types or
                     for the cost of blank material for
                     reproducing the records (whether or not                number of items lost or damaged in that
                                                                            occurrence.
                     duplicates exist) and (when there is a
                     duplicate) for the cost of labor to
                     transcribe or copy the records. The
                     costs of blank material and labor are
                     subject to the applicable Limit of
                     Insurance on Your Business Personal
                     Property and, therefore, coverage of
                     such costs is not additional insurance.




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               Subject to all aforementioned tenns and                   (2) If the applicable Covered Causes of
               limitations of coverage, this Coverage                        Loss form or endorsement contains a
               Extension     includes the expense of                         limitation or exclusion concerning loss or
               removing from the described premises the                      damage from sand, dust, sleet, snow,
               debris of trees, shrubs and plants which are                  ice or rain to property in a structure,
               the property of others, except in the                         such limitation or exclusion also applies
               situation in which you are a tenant and such                  to property in a portable storage unit.
               property is owned by the landlord of the                  (3) Coverage under this Extension:
               described premises.
                                                                             (a) Will end 90 days after the business
            f. Non-owned Detached Trailers                                       personal property has been placed in
              (1) You may extend the insurance that                              the storage unit;
                  applies to Your Business Personal                          (b) Does not apply if the storage unit
                  Property to apply to loss or damage to                         itself has been in use at the
                  trailers that you do not own, provided                         described premises for more than 90
                  that:                                                          consecutive days, even if the
                 (a) The trailer is used in your business;                       business personal property has been
                 (b) The trailer is in your care, custody or                     stored there for 90 or fewer days as
                       control at the premises described in                      of the time of loss or damage.
                       the Declarations; and                             (4) Under this Extension, the most we will
                 (c) You have a contractual responsibility                   pay for the total of all loss or damage to
                       to pay for loss or damage to the                      business personal property is $10,000
                       trailer.                                              (unless a higher limit is indicated in the
                                                                             Declarations for such            Extension)
              (2) We will not pay for any loss or damage                     regardless of the number of storage
                  that occurs:                                               units. Such limit is part of, not in addition
                 (a) While the trailer is attached to any                    to, the applicable Limit of Insurance on
                     motor    vehicle     or    motorized                    Your Business Personal Property.
                     conveyance, whether or not the                          Therefore,     payment         under     this
                     motor    vehicle     or    motorized                    Extension will not increase the
                     conveyance is in motion;                                applicable Limit of Insurance on Your
                                                                             Business Personal Property_
                 (b) During      hitching  or    unhitching
                       operations, or when a trailer                     (5) This Extension does not apply to loss or
                       becomes accidentally unhitched from                   damage otherwise covered under this
                       a motor vehicle or motorized                          Coverage Form or any endorsement to
                       conveyance.                                           this Coverage Form or policy, and does
                                                                             not apply to loss or damage to the
              (3) The most we will pay for loss or damage
                  under this Extension is $5,000, unless a                   storage unit itself.
                  higher limit is shown in the Declarations.           Each of these Extensions is additional
                                                                       insurance unless otherwise indicated. The
              (4) This  insurance is excess over the
                  amount due (whether you can collect on               Additional Condition, Coinsurance, does not
                                                                       apply to these Extensions_
                  it or not) from any other insurance
                  covering such property_                       B. Exclusions And Limitations
            g. Business Personal Property Temporarily              See applicable Causes Of Loss fonn as shown in
               In Portable Storage Units                           the Declarations.
              (1) You may extend the insurance that             C. Limits Of Insurance
                  applies to Your Business Personal                The most we will pay for loss or damage in any
                  Property to apply to such property while         one occurrence is the applicable Limit Of
                  temporarily stored in a portable storage         Insurance shown in the Declarations.
                  unit (including a detached trailer)
                  located within 100 feet of the building or       The most we will pay for loss or damage to
                  structure described in the Declarations          outdoor signs, whether or not the sign is attached
                  or within 100 feet of the premises               to a building, is $2,500 per sign in any one
                  described in the Declarations, whichever         occurrence.
                  distance is greater.




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         The amounts of insurance stated in the following          Total amount of loss payable:
         Additional Coverages apply in accordance with the         $59,850 + $80,000 = $139,850
         terms of such coverages and are separate from
         the Limit(s) Of Insurance shown in the                    Example 2
         Declarations for any other coverage:                      (This example, too, assumes there is no Coinsurance
         1. Fire Department Service Charge;                        penalty.)
         2. Pollutant Clean-up And Removal;                        The Deductible and Limits of Insurance are the same
                                                                   as those in Example 1 .
         3. Increased Cost Of Construction ; and
         4. Electronic Data.                                       Loss to Building 1:                        $ 70,000
         Payments under the Preservation Of Property                 (Exceeds Limit of Insurance plus Deductible)
         Additional Coverage will not increase the                 Loss to Building 2:                        $ 90,000
         applicable Limit of Insurance.                              (Exceeds Limit of insurance plus Deductible)
      D. Deductible                                                Loss Payable - Building 1:                 $ 60,000
         In any one occurrence of loss or damage                     (Limit of Insurance)
         (hereinafter referred to as loss), we will first reduce   Loss Payable - Building 2:                 $ 80,000
         the amount of loss if required by the Coinsurance
         Condition or the Agreed Value Optional Coverage.            (Limit of Insurance)
         If the adjusted amount of loss is less than or equal      Total amount of loss payable:              $140,000
         to the Deductible, we will not pay for that loss. If
                                                                   E. Loss Conditions
         the adjusted amount of loss exceeds the
         Deductible, we will then subtract the Deductible             The following conditions apply in addition to the
         from the adjusted amount of loss and will pay the            Common Policy Conditions and the Commercial
         resulting amount or the Limit of Insurance,                  Property Conditions :
         whichever is less.                                           1. Abandonment
         When the occurrence involves loss to more than                  There can be no abandonment of any property
         one item of Covered Property and separate Limits                to US.
         of Insurance apply, the losses will not be
         combined in determining application of the
                                                                      2. Appraisal
         Deductible. But the Deductible will be applied only             If we and you disagree on the value of the
         once per occurrence.                                            property or the amount of loss, either may
                                                                         make written demand for an appraisal of the
      Example 1                                                          loss. In this event, each party will select a
      (This example assumes there is no Coinsurance                      competent and impartial appraiser. The two
      penalty.)                                                          appraisers will select an umpire. If they cannot
                                                                         agree, either may request that selection be
      Deductible:                                   $      250           made by a judge of a court having jurisdiction.
      Limit of Insurance - Building 1:              $   60,000           The appraisers will state separately the value
      Limit of Insurance - Building 2:              $   80,000           of the property and amount of loss. If they fail
                                                                         to agree, they will submit their differences to
      Loss to Building 1:                           $   60,100           the umpire. A decision agreed to by any two
      Loss to Building 2:                           $   90,000           will be binding. Each party will:
      The amount of loss to Building 1 ($60,100) is less                  a. Pay its chosen appraiser; and
      than the sum ($60,250) of the Limit of Insurance                    b. Bear the other expenses of the appraisal
      applicable to Building 1 plus the Deductible.                          and umpire equally.
      The Deductible will be subtracted from the amount of                If there is an appraisal, we will still retain our
      loss in calculating the loss payable for Building 1:                right to deny the claim.
         $ 60,100                                                     3. Duties In The Event Of Loss Or Damage
                250                                                       a. You must see that the following are done in
         $ 59,850 Loss Payable - Building 1                                  the event of loss or damage to Covered
                                                                             Property:
      The Deductible applies once per occurrence and
      therefore is not subtracted in determining the amount                 (1) Notify the police if a law may have been
      of loss payable for Building 2. Loss payable for                          broken.
      Building 2 is the Limit of Insurance of $80,000.




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             (2) Give us prompt notice of the loss or              4. Loss Payment
                 damage. Include a description of the                  a. In the event of loss or damage covered by
                 property involved.                                       this Coverage Form, at our option, we will
             (3) As soon as possible, give us a                           either:
                 description of how, when and where the                  (1) Pay the value of lost or damaged
                 loss or damage occurred.                                     property;
             (4) Take all reasonable steps to protect the                (2) Pay the cost of repairing or replacing the
                 Covered Property from further damage,                        lost or damaged property, subject to b.
                 and keep a record of your expenses
                                                                              below;
                 necessary to protect the Covered
                 Property, for consideration in the                      (3) Take all or any part of the property at an
                 settlement of the claim. This will not                       agreed or appraised value; or
                 increase the Limit of Insurance.                        (4) Repair, rebuild or replace the property
                 However, we will not pay for any                             with other property of like kind and
                 subsequent loss or damage resulting                          quality, subject to b. below.
                 from a cause of loss that is not a
                                                                          We will determine the value of lost or
                 Covered Cause of Loss. Also, if
                                                                          damaged property, or the cost of its repair
                 feasible, set the damaged property
                                                                          or replacemen t, in accordance with the
                 aside and in the best possible order for
                                                                          applicable terms of the Valuation Con_dition
                 examination.                                             in this Coverage Form or any applicable
             (5) At our request, give us complete                         provision which amends or supersedes the
                 inventories of the damaged and                           Valuation Condition.
                 undamaged property. Include quantities,
                                                                       b. The cost to repair, rebuild or replace does
                 costs, values and amount of loss
                                                                          not include the increased cost attributable
                 claimed.                                                 to enforcemen t of or compliance with any
             (6) As often as may be reasonably required,                  ordinance      or     law     regulating   the
                 permit us to inspect the property proving                construction , use or repair of any property_
                 the loss or damage and examine your
                                                                       c. We will give notice of our intentions within
                 books and records.
                                                                          30 days after we receive the sworn proof of
                   Also, permit us to take samples of                     loss.
                   damaged and undamaged property for                  d. We will not pay you more than your
                   inspection, testing and analysis, and
                                                                          financial interest in the Covered Property.
                   permit us to make copies from your
                   books and records.                                  e. We may adjust losses with the owners of
                                                                           lost or damaged property if other than you.
              (7) Send us a signed, sworn proof of loss
                                                                           If we pay the owners, such payments will
                   containing the information we request to
                                                                           satisfy your claims against us for the
                   investigate the claim. You must do this
                                                                           owners' property. We will not pay the
                   within 60 days after our request. We will
                                                                           owners more than their financial interest in
                   supply you with the necessary forms.
                                                                           the Covered Property.
              (8) Cooperate with us in the investigation or
                                                                       f. We may elect to defend you against suits
                   settlement of the claim.
                                                                           arising from claims of owners of property.
           b. We may examine any insured under oath,                       We will do this at our expense.
               while not in the presence of any other
                                                                       g. We will pay for covered loss or damage
               insured and at such times as may be                         within 30 days after we receive the sworn
               reasonably required, about any matter
                                                                           proof of loss, if you have complied with all
               relating to this insurance or the claim,
                                                                           of the terms of this Coverage Part, and:
               including an insured's books and records. In
               the event of an examination , an insured's                 (1) We have reached agreement with you
               answers must be signed.                                         on the amount of loss; or
                                                                         (2) An appraisal award has been made.




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            h. A party wall is a wall that separates and is                     (b) When this policy is issued to the
               common to adjoining buildings that are                                owner or general lessee of a
               owned by different parties. In settling                               building, building means the entire
               covered losses involving a party wall, we                             building. Such building is vacant
               will pay a proportion of the loss to the party                        unless at least 31 % of its total
               wall based on your interest in the wall in                            square footage is:
               proportion to the interest of the owner of the                        (i) Rented to a lessee or sublessee
               adjoining building. However, if you elect to                             and used by the lessee or
               repair or replace your building and the                                  sublessee   to     conduct   its
               owner of the adjoining building elects not to                            customary operations; and/or
               repair or replace that building, we will pay
               you the full value of the loss to the party                         (ii) Used by the building owner to
               wall, subject to all applicable policy                                   conduct customary operations.
               provisions including Limits of Insurance, the              (2) Buildings      under    construction    or
               Valuation and Coinsurance Conditions and                         renovation are not considered vacant.
               all other provisions of this Loss Payment
                                                                        b. Vacancy Provisions
               Condition.     Our payment under the
               provisions of this paragraph does not alter                 If the building where loss or damage occurs
               any right of subrogation we may have                        has been vacant for more than 60
               against any entity, including the owner or                  consecutive days before that loss or
               insurer of the adjoining building, and does                 damage occurs:
               not alter the terms of the Transfer Of Rights              (1) We will not pay for any loss or damage
               Of Recovery Against Others To Us                                 caused by any of the following, even if
               Condition in this policy.                                        they are Covered Causes of Loss:
         5. Recovered Property                                                  (a) Vandalism;
           If either you or we recover any property after                       (b) Sprinkler leakage, unless you have
           loss settlement, that party must give the other                          protected    the   system   against
           prompt notice. At your option, the property will                         freezing;
           be returned to you. You must then return to us
           the amount we paid to you for the property. We                       (c) Building glass breakage;
           will pay recovery expenses and the expenses                          (d) Water damage;
           to repair the recovered property, subject to the                     (e) Theft; or
           Limit of Insurance.
                                                                                (f) Attempted theft.
         6. Vacancy
                                                                          (2) With respect to Covered Causes of Loss
            a. Description Of Terms                                           other than those listed in b.(1)(a)
              (1) As used in this Vacancy Condition, the                      through b.(1)(f) above, we will reduce
                  term building and the term vacant have                        the amount we would otherwise pay for
                  the meanings set forth in (1 )(a) and                         the loss or damage by 15%.
                  (1)(b) below:                                     7. Valuation
                  (a) When this policy is issued to a                   We will determine the value of Covered
                      tenant, and with respect to that                  Property in the event of loss or damage as
                      tenant's interest in Covered Property,            follows:
                      building means the unit or suite
                      rented or leased to the tenant. Such              a. At actual cash value as of the time of loss
                      building is vacant when it does not                  or damage, except as provided in b., c., d.
                      contain enough business personal                     and e. below.
                      property to conduct customary                     b. If  the Limit of Insurance for Building
                      operations.                                          satisfies    the     Additional  Condition,
                                                                           Coinsurance, and the cost to repair or
                                                                           replace the damaged building property is
                                                                           $2,500 or less, we will pay the cost of
                                                                           building repairs or replacement.




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               The cost of building repairs or replacement                 Instead, we will determine the most we will
               does not include the increased cost                         pay using the following steps:
               attributable   to    enforcement     of    or              (1) Multiply the value of Covered Property
               compliance with any ordinance or law                           at the time of loss by the Coinsurance
               regulating the construction, use or repair of                  percentage;
               any property.
                                                                          (2) Divide the Limit of Insurance of the
               However, the following property will be                        property by the figure determined in
               valued at the actual cash value, even when                     Step (1);
               attached to the building:
                                                                          (3) Multiply the total amount of loss, before
              (1) Awnings or floor coverings;                                 the application of any deductible. by the
              (2) Appliances for refrigerating, ventilating,                  figure detennined in Step (2); and
                  cooking, dishwashing or laundering; or                  (4) Subtract the deductible from the figure
              (3) Outdoor equipment or furniture.                             determined in Step (3).
            c. "Stock" you have sold but not delivered at                  We will pay the amount determined in Step
               the selling price less discounts and                        (4) or the Limit of Insurance, whichever is
               expenses you otherwise would have had.                      less. For the remainder, you will either have
            d. Glass at the cost of replacement with                       to rely on other insurance or absorb the
               safety-glazing material if required by law.                 loss yourself.
            e. Tenants' Improvements and Betterments at:         Example 1 (Underinsurance)
              (1) Actual cash value of the lost or               When:     The value of the property is:       $250,000
                  damaged property if you make repairs                     The Coinsurance percentage
                  promptly.                                                for it is:                               80%
              (2) A proportion of your original cost if you                The Limit of Insurance for it is:   $100,000
                  do not make repairs promptly. We will
                  determine the proportionate value as                     The Deductible is:                  $    250
                  follows:                                                 The amount of loss is:              $ 40,000
                  (a) Multiply the original cost by the          Step (1 ): $250,000 x 80% = $200,000
                      number of days from the loss or                      (the minimum amount of insurance to
                      damage to the expiration of the                      meet your Coinsurance requirements)
                      lease; and
                                                                 Step (2): $100,000, $200,000 = .50
                  (b) Divide the amount determined in (a)
                                                                 Step (3): $40,000 x .50 = $20,000
                      above by the number of days from
                      the installation of improvements to        Step (4): $20,000 - $250 = $19,750
                      the expiration of the lease.               We will pay no more than $19,750. The remaining
                  If your lease contains a renewal option,       $20,250 is not covered.
                  the expiration of the renewal option           Example 2 (Adequate Insurance)
                  period will replace the expiration of the
                  lease in this procedure.                       When:     The value of the property is:       $250,000
              (3) Nothing if others pay for repairs or                     The Coinsurance percentage
                  replacement.                                             for it is:                              80%
      F. Additional Conditions                                             The Limit of Insurance for it is:   $200,000
         The following conditions apply in addition to the                 The Deductible is:                  $    250
         Common Policy Conditions and the Commercial                       The amount of loss is:              $ 40,000
         Property Conditions :
                                                                 The minimum amount of insurance to meet your
         1. Coinsurance                                          Coinsurance requirement is $200,000 ($250,000 x
            If a Coinsurance percentage is shown in the          80%). Therefore, the Limit of Insurance in this
            Declarations, the following condition applies:       example is adequate, and no penalty applies. We will
                                                                 pay no more than $39,750 ($40,000 amount of loss
            a. We will not pay the full amount of any loss if    minus the deductible of $250).
               the value of Covered Property at the t ime of
               loss times the Coinsurance percentage
               shown for it in the Declarations is greater
               than the Limit of Insurance for the property.




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              b. If one Limit of Insurance applies to two or                 (2) Submits a signed, sworn proof of loss
                 more separate items, this condition will                        within 60 days after receiving notice
                 apply to the total of all property to which the                 from us of your failure to do so; and
                 limit applies.                                              (3) Has notified us of any change in
      Example 3                                                                  ownership, occupancy or substantial
                                                                                 change in     risk known  to the
      When:      The value of the property is:                                   mortgageholder.
                 Building at Location 1:             $ 75,000                 All of the terms of this Coverage Part will
                 Building at Location 2:             $ 100,000                then apply directly to the mortgageholder.
                 Personal Property                                         e. If we pay the mortgageholder for any loss
                 at Location 2:                      $   75,000               or damage and deny payment to you
                                                     $250,000                 because of your acts or because you have
                                                                              failed to comply with the terms of this
                 The Coinsurance percentage                                   Coverage Part:
                 for it is:                                90%
                                                                             (1) The mortgageholder's rights under the
                 The Limit of Insurance for
                 Buildings and Personal Property                                 mortgage will be transferred to us to the
                 at Locations 1 and 2 is:            $180,000                    extent of the amount we pay; and
                 The Deductible is                   $ 1,000                 (2) The mortgageholder's right to recover
                                                                                 the full amount of the mortgageholder's
                 The amount of loss is:                                          claim will not be impaired.
                 Building at Location 2:             $ 30,000
                                                                              At our option, we may pay to the
                 Personal Property                                            mortgageholder the whole principal on the
                 at Location 2:                      $ 20 000                 mortgage plus any accrued interest. In this
                                                     $ 50,000                 event. your mortgage and note will be
      Step (1): $250,000 x 90% = $225,000                                     transferred to us and you will pay your
                                                                              remaining mortgage debt to us.
                (the minimum amount of insurance to
                meet your Coinsurance requirements                         f. If we cancel this policy. we will give written
                and to avoid the penalty shown below)                         notice to the mortgageholder at least:
      Step (2): $180,000 • $225,000 = .80                                    (1) 10 days before the effective date of
                                                                                 cancellation if we cancel for your
      Step (3): $50,000 x .80 = $40,000
                                                                                 nonpayment of premium; or
      Step (4): $40,000 - $1,000 = $39,000
                                                                             (2) 30 days before the effective date of
      We will pay no more than $39,000. The remaining                            cancellation if we cancel for any other
      $11,000 is not covered.                                                    reason.
         2. Mortgageholders                                                g. If we elect not to renew this policy, we will
              a. The term mortgageholder includes trustee.                    give written notice to the mortgageholder at
                                                                              least 10 days before the expiration date of
              b. We will pay for covered loss of or damage                    this policy.
                 to buildings or structures to each
                 mortgageholder shown in the Declarations           G. Optional Coverages
                 in their order of precedence, as interests            If shown as applicable in the Declarations. the
                 may appear.                                           following Optional Coverages apply separately to
              c. The mortgageholder has the right to receive           each item:
                 loss payment even if the mortgageholder               1. Agreed Value
                 has started foreclosure or similar action on              a. The    Additional Condition, Coinsurance,
                 the building or structure.                                   does not apply to Covered Property to
              d. If we deny your claim because of your acts                   which this Optional Coverage applies. We
                 or because you have failed to comply with                    will pay no more for loss of or damage to
                 the terms of this Coverage Part, the                         that property than the proportion that the
                 mortgageholder will still have the right to                  Limit of Insurance under this Coverage Part
                 receive loss payment if the mortgageholder:                  for the property bears to the Agreed Value
                (1) Pays   any premium due under this                         shown for it in the Declarations.
                    Coverage Part at our request if you
                    have failed to do so;




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               b. If the expiration date for this Optional                   (4) "Stock", unless the Including "Stock"
                  Coverage shown in the Declarations is not                      option is shown in the Declarations.
                  extended,   the     Additional    Condition,                Under the terms of this Replacement Cost
                  Coinsurance, is reinstated and this Optional                Optional Coverage, tenants' improvements
                  Coverage expires.                                           and betterments are not considered to be
               c. The terms of this Optional Coverage apply                   the personal property of others.
                  only to loss or damage that occurs:                      c. You may make a claim for loss or damage
                 (1) On or after the effective date of this                   covered by this insurance on an actual cash
                     Optional Coverage; and                                   value basis instead of on a replacement
                 (2) Before the Agreed Value expiration date                  cost basis. In the event you elect to have
                     shown in the Declarations or the policy                  loss or damage settled on an actual cash
                     expiration date, whichever occurs first.                 value basis, you may still make a claim for
                                                                              the additional coverage this Optional
            2. Inflation Guard                                                Coverage provides if you notify us of your
               a. The Limit of Insurance for property to which                intent to do so within 180 days after the loss
                  this Optional Coverage         applies will                 or damage.
                  automatically increase by the annual                     d. We will not pay on a replacement cost basis
                  percentage shown in the Declarations.                       for any loss or damage:
               b. The amount of increase will be:                            (1) Until the lost or damaged property is
                 (1) The Limit of Insurance that applied on                      actually repaired or replaced; and
                     the most recent of the policy inception                 (2) Unless the repair or replacement is
                     date, the policy anniversary date, or any                   made as soon as reasonably possible
                     other policy change amending the Limit                      after the loss or damage.
                     of Insurance, times
                                                                              With respect to tenants' improvements and
                 (2) The percentage of annual increase                        betterments, the following also apply:
                     shown in the Declarations, expressed as
                     a decimal (example: 8% is .08), times                   (3) If the conditions in d.(1) and d.(2) above
                                                                                 are not met, the value of tenants'
                 (3) The number of days since the beginning                      improvements and betterments will be
                     of the current policy year or the effective                 determined as a proportion of your
                     date of the most recent policy change                       original cost. as set forth in the
                     amending the Limit of Insurance, divided                    Valuation     Loss Condition      of this
                     by 365.                                                     Coverage Form; and
      Example                                                                (4) We will not pay for loss or damage to
      If:    The applicable Limit of Insurance is:   $ 100,000                   tenants' improvements and betterments
                                                                                 if others pay for repairs or replacement.
             The annual percentage increase is:             8%
                                                                           e. We will not pay more for loss or damage on
             The number of days since the
                                                                              a replacement cost basis than the least of
             beginning of the policy year
                                                                              (1 ), (2) or (3), subject to f. below:
             (or last policy change) is:                    146
                                                                             (1) The Limit of Insurance applicable to the
             The amount of increase is:
                                                                                 lost or damaged property;
             $100,000 X .08 X 146, 365 =             $    3,200
                                                                             (2) The cost to replace the lost or damaged
            3. Replacement Cost                                                  property with other property:
               a. Replacement Cost (without deduction for                        (a) Of comparable material and quality;
                  depreciation) replaces Actual Cash Value in                        and
                  the Valuation Loss Condition of this
                                                                                 (b) Used for the same purpose; or
                  Coverage Form.
                                                                             (3) The amount actually spent that is
               b. This Optional Coverage does not apply to:
                                                                                 necessary to repair or replace the lost or
                 (1) Personal property of others;                                damaged property.
                 (2) Contents of a residence;                                 If a building is rebuilt at a new premises, the
                 (3) Works of art, antiques or rare articles,                 cost described in e.(2) above is limited to
                     including etchings, pictures, statuary,                  the cost which would have been incurred if
                     marbles, bronzes, porcelains and bric-a-                 the building had been rebuilt at the original
                     brac; or                                                 premises.




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            f. The cost of repair or replacement does not       H. Definitions
               include the increased cost attributable to          1. "Fungus" means any type or form of fungus,
               enforcement of or compliance with any                  including mold or mildew, and any mycotoxins,
               ordinance     or    law     regulating    the          spores, scents or by-products produced or
               construction, use or repair of any property.           released by fungi.
         4. Extension Of Replacement Cost To                       2. "Pollutants" means any solid, liquid, gaseous or
            Personal Property Of Others                               thermal irritant or contaminant, including
            a. If the Replacement Cost Optional Coverage              smoke, vapor, soot, fumes, acids, alkalis,
               is shown as applicable in the Declarations,            chemicals and waste. Waste includes materials
               then this Extension may also be shown as               to be recycled, reconditioned or reclaimed.
               applicable. If the Declarations show this           3. "Stock" means merchandise held in storage or
               Extension as applicable, then Paragraph                for sale, raw materials and in-process or
               3.b.(1) of the Replacement Cost Optional               finished goods, including supplies used in their
               Coverage is deleted and all other provisions           packing or shipping.
               of the Replacement Cost Optional
               Coverage apply to replacement cost on
               personal property of others.
            b. With respect to replacement cost on the
               personal property of others, the following
               limitation applies:
               If an item(s) of personal property of others
               is subject to a written contract which
               governs your liability for loss or damage to
               that item(s), then valuation of that item(s)
               will be based on the amount for which you
               are liable under such contract, but not to
               exceed the lesser of the replacement cost
               of the property or the applicable Limit of
               Insurance.




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                                                                                              COMMERCIAL PROPERTY




                              COMMERCIAL PROPERTY CONDITIONS
      This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
      Conditions and Additional Conditions in Commercial Property Coverage Forms.

      A. CONCEALMENT, M IS REPRESENTATION OR                        F.   NO BENEFIT TO BAILEE
         FRAUD                                                           No person or organization, other than you, having
          This Coverage Part is void in any case of fraud by             custody of Covered Property will benefit from this
          you as it relates to this Coverage Part at any time. It        insurance.
          is also void if you or any other insured, at any time,    G. OTHER INSURANCE
          intentionally conceal or misrepresent a material
          fact concerning:                                               1. You may have other insurance subject to the
                                                                            same plan, terms, conditions and provisions as
          1. This Coverage Part;                                            the insurance under this Coverage Part. If you
          2. The Covered Property;                                          do, we will pay our share of the covered loss or
          3. Your interest in the Covered Property; or                      damage. Our share is the proportion that the
                                                                            applicable Limit of Insurance under this
          4. A claim under this Coverage Part.                              Coverage Part bears to the Limits of Insurance
      B. CONTROL OF PROPERTY                                                of all insurance covering on the same basis.
          Any act or neglect of any person other than you                2. If there is other insurance covering the same
          beyond your direction or control will not affect this              loss or damage, other than that described in 1.
          insurance.                                                         above, we will pay only for the amount of co-
          The breach of any condition of this Coverage Part                  vered loss or damage in excess of the amount
          at any one or more locations will not affect                       due from that other insurance, whether you
          coverage at any location where, at the time of loss                can collect on it or not. But we will not pay
          or damage, the breach of condition does not exist.                 more than the applicable Limit of Insurance.
      C. INSURANCE UNDER TWO OR MORE                                H. POLICY PERIOD, COVERAGE TERRITORY
         COVERAGES                                                       Under this Coverage Part:
          If two or more of this policy's coverages apply to             1. We cover loss or damage commencing:
          the same loss or damage, we w ill not pay more                     a. During the policy period shown in the De-
          than the actual amount of the loss or damage.                          clarations; and
      D. LEGAL ACTION AGAINST US                                             b. Within the coverage territory.
          No one may bring a legal action against us under               2. The coverage territory is:
          this Coverage Part unless:
                                                                            a. The United States of America (including its
          1. There has been full compliance with all of the                      territories and possessions);
             terms of this Coverage Part; and
                                                                             b. Puerto Rico; and
          2. The action is brought within 2 years after the
            date on w hich the direct physical loss or                       c . Canada.
            damage occurred.
      E. LIBERALIZATION
          If we adopt any revision that would broaden the
          coverage under this Coverage Part without
          additional premium within 45 days prior to or
          during the policy period, the broadened coverage
          will immediately apply to this Coverage Part.




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      I.   TRANSFER OF RIGHTS OF RECOVERY                         1. Prior to a loss to your Covered Property or
           AGAINST OTHERS TO US                                      Covered Income.
           If any person or organization to or for whom we        2. After a loss to your Covered Property or Covered
           make payment under this Coverage Part has rights           Income only if, at time of loss, that party is one of
           to recover damages from another, those rights are          the following:
           transferred to us to the extent of our payment. That       a.   Someone insured by this insurance;
           person or organization must do everything
           necessary to secure our rights and must do                 b. A business firm:
           nothing after loss to impair them. But you may                (1) Owned or controlled by you; or
           waive your rights against another party in writing:             (2) That owns or controls you; or
                                                                      c.   Your tenant.
                                                                  This will not restrict your insurance




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                                                                                            COMMERCIAL PROPERTY
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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           NEW YORK CHANGES
      This endorsement modifies insurance provided under the following:

         COMMERCIAL PROPERTY COVERAGE PART


      A. If this policy covers the interest of the owner of any    C. Legal Action Against Us
         of the following types of buildings or structures:           1. The Legal Action Against Us Loss Condition
         1. Residential , except owner-occupied single-                  in the Legal Liability Coverage Form is
            family or owner-occupied two-family buildings                replaced by the following:
            or structures;                                               No person or organization has a right under
         2. Commercial; or                                               this Coverage Form:
         3. Industrial;                                                   a. To join us as a party or otherwise bring us
         the following provision is added:                                   into a "suit" asking for damages from you;
                                                                             or
             Before payment to you for loss or damage to
             the above buildings or structures caused by or              b. To sue us on this Coverage Form unless all
             resulting from fire, we will:                                  of its terms have been fully complied with.

               (1) Deduct from your payment the claim of                 A person or organization may sue us to
                   any tax district that issues a certificate of         recover on an agreed settlement or on a final
                   lien in accordance with the Insurance                 judgment against you; but we will not be liable
                   Law; and                                              for damages that are not payable under the
                                                                         terms of this Coverage Form or that are in
                (2) Pay directly to the tax        district the          excess of the Limit of Insurance. An agreed
                    amount of the claim.                                 settlement means a settlement and release of
             When we pay that claim, we will have no                     liability signed by us, you and the claimant or
             obligation to pay the amount of that claim to               the claimant's legal representative.
             you. Our payment of that claim within 30 days            2. Paragraph b. of Additional Condition H.5.
             of our receipt of the certificate of lien will be a         Legal   Action     Against     Us     in    the
             conclusive presumption that the claim was                   Mortgageholders    Errors And       Omissions
             valid and properly paid.                                    Coverage Form is replaced by the following:
      8 . The following is added with respect to any                     b. No person or organization has a right under
          Condition of this Coverage Part which requires                    Coverages C and D:
          you to notify us of loss or to notify us of an
          accident, claim or "suit":                                        (1) To join us as a party or otherwise bring
                                                                                us into a "suit" asking for damages from
         1. Notice given by or on your behalf; or                               you; or
         2. Written notice by or on behalf of any claimant;                 (2) To sue us on this Coverage Form
         to any of our agents in New York State, which                          unless all of its terms have been fully
         adequately identifies you, will be the same as                         complied with.
         notice to us.




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               A person or organization may sue us to                The following is added to Paragraph A.3. in the
               recover on an agreed settlement or on a               Mortgageholders Errors And Omissions Coverage
               final judgment against you; but we will not           Form:
               be liable for damages that are not payable            We will have the right and duty to defend any
               under the terms of this Coverage Form or              "suit" seeking those damages even if the
               that are in excess of the Limit of Insurance.         allegations of the "suit" are groundless, false or
               An agreed settlement means a settlement               fraudulent.
               and release of liability signed by us, you
               and the claimant or the claimant's legal           G. The following Condition is added to Paragraph D.
               representative.                                       of the Legal Liability Coverage Form and
                                                                     Paragraph F.4. of the Mortgageholders Errors And
      D. The Examination Of Your Books And Records                   Omissions Coverage Form:
         Common Policy Condition is replaced by the
         following:                                                  Transfer Of Duties When A Limit Of Insurance
                                                                     Is Used Up
         Examination Of Your Books And Records
                                                                     1. If we conclude that, based on claims or "suits"
         1. Except as provided in 2. below, we may                      which have been reported to us and to which
            examine and audit your books and records as                 this insurance may apply, a Limit of Insurance
            they relate to this policy at any time during the           is likely to be used up in the payment of
            policy period and up to three years afterward.              judgments or settlements, we will notify the first
         2. We will conduct an audit to determine the final             Named Insured, in writing, to that effect.
            premium due or to be refunded, for coverage              2. When the Limit of Insurance has actually been
            for which an advance or deposit premium was                 used up in the payment of judgments or
            paid based on estimated exposure. But the                   settlements:
            audit may be waived if:
                                                                         a. We will notify the first Named Insured, in
            a. The total annual premium attributable to the                 writing, as soon as practicable, that:
               auditable exposure base is not reasonably
               expected to exceed $1,500; or                               (1) Such a limit has actually been used up;
                                                                               and
            b. The   policy   requires   notification   to the
               insurer with the specific identification of any             (2) Our duty to defend "suits" seeking
               additional exposure units (e.g. , buildings)                    damages subject to that limit has also
               for which coverage is requested.                                ended.
            If the audit is not waived, it must be completed            b. We will initiate, and cooperate in, the
            within 180 days after:                                         transfer of control, to any appropriate
                                                                           insured, of all claims and "suits" seeking
            a. The expiration date of the policy; or                       damages which are subject to that limit and
            b. The anniversary date, if this is a continuous               which are reported to us before that limit is
               policy or a policy written for a term longer                used up. That insured must cooperate in
               than one year.                                              the transfer of control of said claims and
      E. The following sentence is deleted from Paragraph                  "suits".
         A. in the Legal Liability Coverage Form:                           We agree to take such steps, as we deem
         We will have the right and duty to defend any                      appropriate, to avoid a default in, or
         "suit" seeking those damages.                                      continue the defense of, such "suits" until
                                                                            such transfer is completed, provided the
         The following sentence is added to Paragraph A.                    appropriate insured is cooperating in
         in the Legal Liability Coverage Form:                              completing such transfer.
         We will have the right and duty to defend any                      We will take no action whatsoever with
         "suit" seeking those damages even if the                           respect to any claim or "suit" seeking
         allegations of the "suit" are groundless, false or                 damages that would have been subject to
         fraudulent.                                                        that limit, had it not been used up, if the
      F. The following sentence is deleted from Paragraph                   claim or "suit" is reported to us after that
         A.3. in the Mortgageholders Errors And Omissions                   limit of insurance has been used up.
         Coverage Form:
         We will have the right and duty to defend any
         "suit" seeking those damages.




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            c. The first Named Insured, and any other                3. The two appraisers will select an umpire. If
               insured involved in a "suir seeking                      they cannot agree within 15 days upon such
               damages subject to that limit, must arrange              umpire, either may request that selection be
               for the defense of such "suit" within such               made by a judge of a court having jurisdiction.
               time period as agreed to between the                     The appraisers will state separately the value
               appropriate insured and us. Absent any                   of the property, the extent of the loss or
               such agreement, arrangements for the                     damage and the amount of the loss or
               defense of such "suit" must be made as                   damage. If they fail to agree, they will submit
               soon as practicable.                                     their differences to the umpire. A decision
         3. The first Named Insured will reimburse us for               agreed to by any two will be binding.
            expenses we incur in taking those steps we               4. Each party will:
            deem appropriate      in  accordance   with                  a. Pay its chosen appraiser; and
            Paragraph 2.b. above.
                                                                        b. Bear the other expenses of the appraisal
            The duty of the first Named Insured to                          and umpire equally.
            reimburse us will begin on:
                                                                     If there is an appraisal, we will still retain our right
            a. The date on which the applicable limit of             to deny the claim.
               insurance is used up, if we sent notice in
               accordance with Paragraph 1. above; or             1. The Appraisal Condition in:

            b. The date on which we sent notice in                   1. Business Income (And Extra                Expense)
               accordance with Paragraph 2.a. above, if                 Coverage Form CP 00 30; and
               we did not send notice in accordance with             2. Business Income (Without Extra            Expense)
               Paragraph 1. above.                                      Coverage Form CP 00 32;
         4. The exhaustion of any limit of insurance by the          is replaced by the following:
            payments of judgments or settlements, and the
                                                                     Appraisal
            resulting end of our duty to defend, will not be
            affected by our failure to comply with any of the        1. If we and you disagree on the amount of Net
            provisions of this Condition.                               Income and operating expense , the extent of
                                                                        the loss or damage or the amount of the loss or
      H. Except as provided in I. below, the Appraisal                  damage, either may make written demand for
         Condition is replaced by the following:
                                                                        an appraisal of the loss. In this event. each
         Appraisal                                                      party will select a competent and impartial
         1. If we and you disagree on the value of the                  appraiser and notify the other of the appraiser
            property, the extent of the loss or damage or               selected within 20 days of such demand.
            the amount of the loss or damage, either may             2. If we or you fail to proceed with the appraisal of
            make written demand for an appraisal of the                 the covered loss after a written demand is
            loss. In this event, each party will select a               made by either party, then either party may
            competent and impartial appraiser and notify                apply to a court having jurisdiction for an order
            the other of the appraiser selected within 20               directing the party that failed to proceed with
            days of such demand.                                        the appraisal to comply with the demand for
         2. If we or you fail to proceed with the appraisal of          the appraisal of the loss In this event, each
            the covered loss after a written demand is                  party will select a competent and impartial
            made by either party, then either party may                 appraiser and notify the other of the appraiser
            apply to a court having jurisdiction for an order           selected within 20 days of such order.
            directing the party that failed to proceed with          3. The two appraisers will select an umpire. If
            the appraisal to comply with the demand for                 they cannot agree within 15 days upon such
            the appraisal of the loss. In this event, each              umpire, either may request that selection be
            party will select a competent and impartial                 made by a judge of a court having jurisdiction.
            appraiser and notify the other of the appraiser             The appraisers will state separately the amount
            selected within 20 days of such order.                      of Net Income and operating expense , the
                                                                        extent of the loss or damage and the amount of
                                                                        the loss or damage. If they fail to agree. they
                                                                        will submit their differences to the umpire. A
                                                                        decision agreed to by any two will be binding.




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         4. Each party will:                                        K. The following provIsIon is added to the Legal
            a. Pay its chosen appraiser; and                           Liability Coverage Form and supersedes any
                                                                       provision to the contrary:
            b. Bear the other expenses of the appraisal
               and umpire equally.                                     Failure to give prompt notice to us, as required
                                                                       under this Coverage Form, shall not invalidate any
         If there is an appraisal, we will still retain our right      claim made by you or any other claimant, unless
         to deny the claim.                                            the failure to provide such timely notice has
      J. The following prov1sIon is added               to   the       prejudiced us. However, no claim made by you or
         Commercial Property Coverage Part:                            any other claimant will be invalidated if it shall be
                                                                       shown not to have been reasonably possible to
         Estimation Of Claims
                                                                       give such timely notice and that notice was given
         Upon request, we will furnish you or your                     as soon as was reasonably possible thereafter.
         representative with a written estimate of damages
         to real property specifying all deductions, provided
         such an estimate has been prepared by us or has
         been prepared on our behalf for our own
         purposes. This estimate will be provided within 30
         days after your request or its preparation,
         whichever is later.




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                             CAUSES OF LOSS - BASIC FORM
      Words and phrases that appear in quotation marks have special meaning. Refer to Section E. Definitions.


      A. Covered Causes Of Loss                                     7. Riot or Civil Commotion, including:
         When Basic is shown in the Declarations, Covered              a. Acts of striking employees while occupying
         Causes of Loss means the following:                              the described premises; and
         1. Fire.                                                      b. Looting occurring at the time and place of a
         2. Lightning.                                                    riot or civil commotion.
         3. Explosion, including the explosion of gases or          8. Vandalism, meaning willful and malicious
            fuel within the furnace of any fired vessel or             damage to, or destruction of, the described
            within the flues or passages through which the             property.
            gases of combustion pass. This cause of loss               We will not pay for loss or damage caused by
            does not include loss or damage by:                        or resulting from theft, except for building
            a. Rupture, bursting or operation of pressure-             damage caused by the breaking in or exiting of
               relief devices; or                                      burglars.
            b. Rupture or bursting due to expansion or              9. Sprinkler    Leakage, meaning leakage or
               swelling of the contents of any building or             discharge of any substance from an Automatic
               structure, caused by or resulting from                  Sprinkler System, including collapse of a tank
               water.                                                  that is part of the system
         4. Windstorm or Hail, but not including:                      If the building or structure containing the
                                                                       Automatic Sprinkler System is Covered
            a. Frost or cold weather;                                  Property, we will also pay the cost to:
            b. Ice (other than hail), snow or sleet, whether           a. Repair or replace damaged parts of the
               driven by wind or not;                                     Automatic Sprinkler System if the damage:
            c. Loss or damage to the interior of any                      (1) Results in sprinkler leakage; or
               building or structure, or the property inside
               the building or structure, caused by rain,                 (2) Is directly caused by freezing.
               snow, sand or dust, whether driven by wind              b. Tear out and replace any part of the
               or not, unless the building or structure first             building or structure to repair damage to the
               sustains wind or hail damage to its roof or                Automatic Sprinkler System that has
               walls through which the rain, snow, sand or                resulted in sprinkler leakage.
               dust enters; or                                             Automatic Sprinkler System means:
            d. Loss or damage by hail to lawns, trees,                    (1) Any     automatic   fire-protective     or
               shrubs or plants which are part of a                           extinguishing     system,       including
               vegetated roof.                                                connected:
         5. Smoke causing sudden and accidental loss or                      (a) Sprinklers and discharge nozzles;
            damage. This cause of loss does not include
            smoke from agricultural smudging or industrial                   (b) Ducts, pipes, valves and fittings;
            operations.                                                      (c) Tanks, their component parts and
         6. Aircraft or Vehicles, meaning only physical                          supports; and
            contact of an aircraft, a spacecraft, a self-                    (d) Pumps and private fire protection
            propelled missile, a vehicle or an object thrown                     mains.
            up by a vehicle with the described property or
                                                                          (2) When supplied from an automatic fire-
            with the building or structure containing the
                                                                              protective system:
            described property. This cause of loss includes
            loss or damage by objects falling from aircraft.                 (a) Non-automatic            fire-protective
                                                                                 systems; and
            We will not pay for loss or damage caused by
            or resulting from vehicles you own or which are                  (b) Hydrants, standpipes and outlets.
            operated in the course of your business.




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        10. Sinkhole Collapse, meaning loss or damage                    b. Earth Movement
            caused by the sudden sinking or collapse of                     (1) Earthquake,      including tremors and
            land into underground empty spaces created                          aftershocks and any earth sinking, rising
            by the action of water on limestone or dolomite.                    or shifting related to such event;
            This cause of loss does not include:
                                                                            (2) Landslide, including any earth sinking,
            a. The cost of filling sinkholes; or                                rising or shifting related to such event;
            b. Sinking or collapse of land into man-made                    (3) Mine subsidence, meaning subsidence
               underground cavities.                                            of a man-made mine, whether or not
        11. Volcanic Action, meaning direct loss or                             mining activity has ceased;
            damage resulting from the eruption of a                         (4) Earth   sinking (other than sinkhole
            volcano when the loss or damage is caused                           collapse), rising or shifting including soil
            by:                                                                 conditions      which     cause     settling,
            a. Airborne volcanic blast or airborne shock                        cracking or other disarrangement of
               waves;                                                           foundations or other parts of realty. Soil
            b. Ash, dust or particulate matter; or
                                                                                conditions        include       contraction,
                                                                                expansion, freezing, thawing, erosion,
            c. Lava flow.                                                       improperly compacted soil and the
            With respect to coverage for Volcanic Action as                     action of water under the ground
            set forth in 11.a., 11.b. and 11.c., all volcanic                   surface.
            eruptions that occur within any 168-hour period                  But if Earth Movement. as described in
            will constitute a single occurrence.                             b.(1) through (4) above, results in fire or
            This cause of loss does not include the cost to                  explosion, we will pay for the loss or
            remove ash, dust or particulate matter that                      damage caused by that fire or explosion.
            does not cause direct physical loss or damage                   (5) Volcanic eruption, explosion or effusion.
            to the described property.                                          But if volcanic eruption, explosion or
      B. Exclusions                                                             effusion results in fire or Volcanic
                                                                                Action, we will pay for the loss or
         1. We will not pay for loss or damage caused
                                                                                damage caused by that fire or Volcanic
            directly or indirectly by any of the following
                                                                                Action.
            Such loss or damage is excluded regardless of
            any other cause or event that contributes                        This exclusion applies regardless of
            concurrently or in any sequence to the loss.                     whether any of the above, in Paragraphs
                                                                             (1) through (5), is caused by an act of
            a. Ordinance Or Law
                                                                             nature or is otherwise caused.
               The enforcement of or compliance with any
                                                                         c. Governmental Action
               ordinance or law:
              (1) Regulating     the construction,    use or                 Seizure or destruction of property by order
                                                                             of governmental authority
                    repair of any property; or
                                                                             But we will pay for loss or damage caused
              (2) Requiring the tearing down of any
                  property, including the cost of removing                   by or resulting from acts of destruction
                                                                             ordered by governmental authority and
                  its debris.
                                                                             taken at the time of a fire to prevent its
               This exclusion, Ordinance Or Law, applies                     spread, if the fire would be covered under
               whether the loss results from:                                this Coverage Part.
                    (a) An ordinance or law that is enforced             d. Nuclear Hazard
                        even if the property has not been
                        damaged; or                                          Nuclear reaction or radiation, or radioactive
                                                                             contamination, however caused.
                    (b) The increased costs     incurred to
                        comply with an ordinance or law in                   But if nuclear reaction or radiation, or
                        the course of construction, repair,                  radioactive contamination, results in fire, we
                                                                             will pay for the loss or damage caused by
                        renovation, remodeling or demolition
                        of property, or removal of its debris,               that fire.
                        following a physical loss to that
                        property.




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            e. Utility Services                                            (4) Water under the ground surface
               The failure of power, communication, water                      pressing on, or flowing or seeping
               or other utility service supplied to the                        through:
               described premises, however caused, if the                     (a) Foundations, walls, floors or paved
               failure:                                                           surfaces;
              (1) Originates away from the described                          (b) Basements, whether paved or not; or
                  premises; or                                                (c) Doors, windows or other openings;
              (2) Originates at the described premises,                           or
                  but only if such failure involves                        (5) Waterborne      material   carried    or
                  equipment used to supply the utility                         otherwise moved by any of the water
                  service to the described premises from                       referred to in Paragraph (1), (3) or (4),
                  a source away from the described                             or material carried or otherwise moved
                  premises.                                                    by mudslide or mudflow.
               Failure of any utility service includes lack of              This exclusion applies regardless of
               sufficient capacity and reduction in supply.                 whether any of the above, in Paragraphs
               Loss or damage caused by a surge of                          (1) through (5), is caused by an act of
               power is also excluded, if the surge would                   nature or is otherwise caused. An example
               not have occurred but for an event causing                   of a situation to which this exclusion applies
               a failure of power.                                          is the situation where a dam, levee, seawall
               But if the failure or surge of power, or the                 or other boundary or containment system
               failure of communication, water or other                     fails in whole or in part, for any reason, to
               utility service , results in a Covered Cause of              contain the water.
               Loss, we will pay for the loss or damage                     But if any of the above, in Paragraphs (1)
               caused by that Covered Cause of Loss.                        through (5), results in fire, explosion or
               Communication services include but are not                   sprinkler leakage, we will pay for the loss or
               limited to service relating to Internet access               damage caused by that fire, explosion or
               or access to any electronic, cellular or                     sprinkler leakage (if sprinkler leakage is a
               satellite network.
                                                                            Covered Cause ofloss).
            f. War And Military Action                                  h. "Fungus", Wet Rot, Dry Rot And
                                                                           Bacteria
              (1) War, including undeclared or civil war;
                                                                            Presence, growth, proliferation, spread or
              (2) Warlike action by a military force,                       any activity of "fungus", wet or dry rot or
                  including   action   in    hindering  or                  bacteria.
                  defending against an actual or expected
                  attack, by any government, sovereign or                   But if "fungus", wet or dry rot or bacteria
                  other authority using military personnel                  result in a Covered Cause of Loss, we will
                  or other agents; or                                       pay for the loss or damage caused by that
                                                                            Covered Cause of Loss.
              (3) Insurrection,   rebellion,    revolution,
                  usurped power, or action taken by                         This exclusion does not apply:
                  governmental authority in hindering or                   (1) When "fungus", wet or dry rot or bacteria
                  defending against any of these.                              result from fire or lightning; or
            g. Water                                                       (2) To the extent that coverage is provided
              (1) Flood, surface water, waves (including                       in the Additional Coverage , Limited
                  tidal wave and tsunami), tides, tidal                        Coverage For "Fungus", Wet Rot, Dry
                  water, overflow of any body of water, or                     Rot And Bacteria, with respect to loss or
                  spray from any of these, all whether or                      damage by a cause of loss other than
                  not driven by wind (including storm                          fire or lightning.
                  surge);                                               Exclusions B.1.a. through B.1.h. apply whether
              (2) Mudslide or mudflow;                                  or not the loss event results in widespread
                                                                        damage or affects a substantial area.
              (3) Water that backs up or overflows or is
                  otherwise discharged from a sewer,
                  drain, sump, sump pump or related
                  equipment;




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         2. We will not pay for loss or damage caused by                  f. Neglect of an insured to use all reasonable
            or resulting from:                                               means to save and preserve property from
            a. Artificially generated electrical, magnetic or                further damage at and after the time of loss
               electromagnetic energy that damages,                   3. Special Exclusions
               disturbs, disrupts or otherwise interferes                The following provisions apply only to the
               with any:                                                 specified Coverage Forms:
              (1) Electrical or electronic wire,       device,           a. Business Income (And Extra Expense)
                  appliance, system or network; or
                                                                            Coverage Form, Business Income
              (2) Device, appliance, system or network                      (Without Extra Expense) Coverage Form,
                  utilizing cellular or satellite technology _              Or Extra Expense Coverage Form
               For the purpose of this exclusion, electrical,                We will not pay for:
               magnetic     or electromagnetic energy                       (1) Any loss caused by or resulting from:
               includes but is not limited to:
                                                                               (a) Damage or destruction of "finished
                  {a) Electrical current, including arcing;                         stock"; or
                  (b) Electrical charge      produced         or               (b) The     time required    to   reproduce
                      conducted by a magnetic                 or                    "finished stock".
                      electromagnetic field;
                                                                                This exclusion does not apply to Extra
                  (c) Pulse of electromagnetic energy; or                       Expense.
                  (d) Electromagnetic          waves          or            (2) Any loss caused by or resulting from
                      microwaves.                                               direct physical loss or damage to radio
               But if fire results, we will pay for the loss or                 or television antennas (including satellite
               damage caused by that fire.                                      dishes) and their lead-in wiring, masts or
            b. Rupture or bursting of water pipes {other                        towers.
               than Automatic Sprinkler Systems) unless                     (3) Any increase of loss caused by or
               caused by a Covered Cause of Loss.                               resulting from:
            c. Leakage or discharge of water or steam                          (a) Delay in rebuilding , repairing      or
               from any part of a system or appliance                               replacing the property or resuming
               containing water or steam (other than an                             "operations", due to interference at
               Automatic Sprinkler System), unless the                              the location of the rebuilding, repair
               leakage or discharge occurs because the                              or replacement by strikers or other
               system or appliance was damaged by a                                 persons; or
               Covered Cause of Loss But we will not pay                       (b) Suspension, lapse or cancellation of
               for loss or damage caused by or resulting                            any license, lease or contract. But if
               from continuous or repeated seepage or                               the suspension, lapse or cancellation
               leakage of water, or the presence or                                 is    directly    caused    by    the
               condensation of humidity, moisture or                                "suspension" of "operations", we will
               vapor, that occurs over a period of 14 days                          cover such loss that affects your
               or more.                                                             Business Income during the "period
            d. Explosion of steam boilers, steam pipes,                             of restoration" and any extension of
               steam engines or steam turbines owned or                             the "period of restoration"         in
               leased by you, or operated under your                                accordance with the terms of the
               control.                                                             Extended        Business      Income
               But if explosion of steam boilers, steam                             Additional     Coverage    and    the
               pipes, steam engines or steam turbines                               Extended      Period Of Indemnity
               results in fire or combustion explosion, we                          Optional Coverage or any variation
               will pay for the loss or damage caused by                            of these.
               that fire or combustion explosion.                           (4) Any    Extra Expense caused by          or
            e. Mechanical breakdown, including rupture or                       resulting from suspension, lapse        or
               bursting caused by centrifugal force.                            cancellation of any license, lease      or
                                                                                contract    beyond  the   "period       of
               But if mechanical breakdown results in a                         restoration".
               Covered Cause of Loss, we will pay for the
               loss or damage caused by that Covered                        (5) Any other consequential loss.
               Cause of Loss.




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            b. Leasehold Interest Coverage Form                     C. Additional Coverage - Limited Coverage For
              (1) Paragraph B.1.a., Ordinance Or Law,                  "Fungus", Wet Rot, Dry Rot And Bacteria
                  does not apply to insurance under this               1. The coverage described in C.2. and C.6. only
                  Coverage Form.                                          applies when the ''fungus", wet or dry rot or
              (2) We will not pay for any loss caused by:                 bacteria are the result of one or more of the
                                                                          following causes that occur during the policy
                 (a) Your cancelling the lease;                           period and only if all reasonable means were
                 (b) The     suspension,       lapse           or         used to save and preserve the property from
                     cancellation of any license; or                      further damage at the time of and after that
                                                                          occurrence:
                 (c) Any other consequential loss.
            c. Legal Liability Coverage Form
                                                                          a. A Covered Cause of Loss other than fire or
                                                                              lightning; or
              (1) The following exclusions do not apply to
                  insurance under this Coverage Form:
                                                                          b. Flood, if the Flood Coverage Endorsement
                                                                              applies to the affected premises.
                 (a) Paragraph B.1.a. Ordinance Or Law;
                                                                          This Additional Coverage does not apply to
                 (b) Paragraph       B.1.c.      Governmental             lawns, trees, shrubs or plants which are part of
                     Action;                                              a vegetated roof.
                 (c) Paragraph B.1.d. Nuclear Hazard;                  2. We will pay for loss or damage by "fungus",
                 (d) Paragraph B.1.e.         Utility   Services;         wet or dry rot or bacteria. As used in this
                     and                                                  Limited Coverage, the term loss or damage
                                                                          means:
                 (e) Paragraph B.1.f. War And Military
                     Action.                                              a. Direct physical loss or damage to Covered
                                                                             Property caused by "fungus", wet or dry rot
              (2) The following additional exclusions                        or bacteria, including the cost of removal of
                  apply to insurance under this Coverage
                                                                             the "fungus", wet or dry rot or bacteria;
                  Form:
                                                                          b. The cost to tear out and replace any part of
                 (a) Contractual Liability                                   the building or other property as needed to
                       We will not defend any claim or                       gain access to the iungus", wet or dry rot
                       "suit", or pay damages that you are                   or bacteria; and
                       legally liable to pay, solely by reason
                                                                          c. The cost of testing performed after removal,
                       of your assumption of liability in a
                                                                             repair, replacement or restoration of the
                       contract or agreement. But this
                                                                             damaged property is completed, provided
                       exclusion does not apply to a written
                                                                             there is a reason to believe that ''fungus",
                       lease agreement in which you have
                                                                             wet or dry rot or bacteria are present.
                       assumed liability for building damage
                       resulting from an actual or attempted           3. The coverage described under C.2. of this
                       burglary or robbery, provided that:                Limited Coverage is limited to $15,000.
                                                                          Regardless of the number of claims, this limit is
                       (i) Your assumption of liability was
                                                                          the most we will pay for the total of all loss or
                           executed prior to the accident;
                                                                          damage arising out of all occurrences of
                           and
                                                                          Covered Causes of Loss (other than fire or
                       (ii) The building is Covered Property              lightning) and Flood which take place in a 12-
                            under this Coverage Form.                     month period (starting with the beginning of the
                 (b) Nuclear Hazard                                       present annual policy period). With respect to a
                                                                          particular occurrence of loss which results in
                       We will not defend any claim or                    "fungus", wet or dry rot or bacteria, we will not
                       "suit", or pay any damages, loss,                  pay more than a total of $15,000 even if the
                       expense or obligation, resulting from              "fungus", wet or dry rot or bacteria continue to
                       nuclear reaction or radiation, or                  be present or active, or recur, in a later policy
                       radioactive contamination, however                 period.
                       caused.




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         4. The coverage provided under this Limited                   b. If a covered "suspension" of "operations"
            Coverage does not increase the applicable                      was caused by loss or damage other than
            Limit of Insurance on any Covered Property_ If                 "fungus", wet or dry rot or bacteria but
            a particular occurrence results in loss or                     remediation of "fungus", wet or dry rot or
            damage by "fungus", wet or dry rot or bacteria,                bacteria prolongs the "period of restoration",
            and other loss or damage, we will not pay                      we will pay for loss and/or expense
            more, for the total of all loss or damage, than                sustained during the delay (regardless of
            the applicable Limit of Insurance on the                       when such a delay occurs during the
            affected Covered Property_                                     "period of restoration"), but such coverage
            If there is covered loss or damage to Covered                  is limited to 30 days. The days need not be
            Property, not caused by "fungus", wet or dry rot               consecutive_
            or bacteria, loss payment will not be limited by     D. Limitation
            the terms of this Limited Coverage, except to           We will pay for loss of animals only if they are
            the extent that ''fungus", wet or dry rot or            killed or their destruction is made necessary.
            bacteria cause an increase in the loss. Any
            such increase in the loss will be subject to the     E. Definitions
            terms of this Limited Coverage.                         "Fungus" means any type or form of fungus,
         5. The terms of this Limited Coverage do not               including mold or mildew, and any mycotoxins,
            increase or reduce the coverage provided                spores, scents or by-products produced or
            under Paragraph b. of Covered Causes Of                 released by fungi.
            Loss 9. Sprinkler Leakage_
         6. The following, 6.a. or 6.b., applies only if
            Business Income and/or Extra Expense
            Coverage applies to the described premises
            and only if the "suspension" of "operations"
            satisfies all terms and conditions of the
            applicable Business Income and/or Extra
            Expense Coverage Form:
            a. If the loss which resulted in "fungus", wet or
               dry rot or bacteria does not in itself
               necessitate a "suspension" of "operations",
               but such "suspension" is necessary due to
               loss or damage to property caused by
               "fungus", wet or dry rot or bacteria, then our
               payment under Business Income and/or
               Extra Expense is limited to the amount of
               loss and/or expense sustained in a period
               of not more than 30 days. The days need
               not be consecutive.




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                           CAUSES OF LOSS - SPECIAL FORM
      Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.


      A. Covered Causes Of Loss                                            (4) Earth sinking (other than sinkhole
         When Special is shown in the Declarations,                            collapse), rising or shifting including soil
         Covered Causes of Loss means direct physical                          conditions     which     cause      settling,
         loss unless the loss is excluded or limited in this                   cracking or other disarrangement of
         policy.                                                               foundations or other parts of realty. Soil
                                                                               conditions       include        contraction,
      B. Exclusions                                                            expansion, freezing, thawing, erosion,
         1. We will not pay for loss or damage caused                          improperly compacted soil and the
            directly or indirectly by any of the following.                    action of water under the ground
            Such loss or damage is excluded regardless of                      surface.
            any other cause or event that contributes                       But if Earth Movement, as described in
            concurrently or in any sequence to the loss.                    b.(1) through (4) above, results in fire or
            a. Ordinance Or Law                                             explosion, we will pay for the loss or
               The enforcement of or compliance with any                    damage caused by that fire or explosion.
               ordinance or law:                                           (5) Volcanic eruption, explosion or effusion.
                                                                               But if volcanic eruption, explosion or
               (1) Regulating    the construction, use or
                                                                               effusion results in fire, building glass
                   repair of any property; or
                                                                               breakage or Volcanic Action, we will pay
               (2) Requiring the tearing down of any                           for the loss or damage caused by that
                   property, including the cost of removing                    fire, building glass breakage or Volcanic
                   its debris.                                                 Action.
               This exclusion, Ordinance Or Law, applies                       Volcanic Action means direct loss or
               whether the loss results from:                                  damage resulting from the eruption of a
                  (a) An ordinance or law that is enforced                     volcano when the loss or damage is
                      even if the property has not been                        caused by:
                      damaged; or                                             (a) Airborne volcanic blast or airborne
                  (b) The increased     costs incurred to                          shock waves;
                      comply with an ordinance or law in                      (b) Ash, dust or particulate matter; or
                      the course of construction, repair,
                                                                              (c) Lava flow.
                      renovation, remodeling or demolition
                      of property, or removal of its debris,                   With respect to coverage for Volcanic
                      following a physical loss to that                        Action as set forth in (S)(a), (S)(b) and
                      property.                                                (S)(c), all volcanic eruptions that occur
                                                                               within any 168-hour period will constitute
            b. Earth Movement
                                                                               a single occurrence.
               (1) Earthquake, including tremors and
                   aftershocks and any earth sinking, rising                   Volcanic Action does not include the
                                                                               cost to remove ash, dust or particulate
                   or shifting related to such event;
                                                                               matter that does not cause direct
               (2) Landslide, including any earth sinking,                     physical loss or damage to the
                   rising or shifting related to such event;                   described property.
               (3) Mine subsidence, meaning subsidence                      This exclusion applies regardless of
                   of a man-made mine, whether or not                       whether any of the above, in Paragraphs
                   mining activity has ceased;                              (1) through (5), is caused by an act of
                                                                            nature or is otherwise caused.




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            c. Governmental Action                                        (2) Warlike   action by a military force,
               Seizure or destruction of property by order                    including action in hindering         or
               of governmental authority.                                     defending against an actual or expected
                                                                              attack, by any government, sovereign or
               But we will pay for loss or damage caused                      other authority using military personnel
               by or resulting from acts of destruction                       or other agents: or
               ordered by governmental authority and
               taken at the time of a fire to prevent its                 (3) Insurrection,   rebellion,    revolution,
               spread, if the fire would be covered under                     usurped power, or action taken by
               this Coverage Part.                                            governmental authority in hindering or
                                                                              defending against any of these.
            d. Nuclear Hazard
                                                                       g. Water
               Nuclear reaction or radiation, or radioactive
               contamination, however caused.                             (1) Flood, surface water, waves (including
                                                                              tidal wave and tsunami), tides, tidal
               But if nuclear reaction or radiation, or                       water, overflow of any body of water, or
               radioactive contamination, results in fire, we                 spray from any of these, all whether or
               will pay for the loss or damage caused by                      not driven by wind (including storm
               that fire.                                                     surge);
            e. Utility Services                                           (2) Mudslide or mudflow;
               The failure of power, communication, water                 (3) Water that backs up or overflows or is
               or other utility service supplied to the                       otherwise discharged from a sewer,
               described premises, however caused, if the                     drain, sump, sump pump or related
               failure:                                                       equipment;
              (1) Originates away from the described                      (4) Water under the ground surface
                  premises; or                                                pressing on, or flowing or seeping
              (2) Originates at the described premises,                       through:
                  but only if such failure involves                          (a) Foundations, walls, floors or paved
                  equipment used to supply the utility                           surfaces;
                  service to the described premises from
                  a source away from the described                           (b) Basements, whether paved or not; or
                  premises.                                                  (c) Doors, windows or other openings;
               Failure of any utility service includes lack of                   or
               sufficient capacity and reduction in supply.               (5) Waterborne      material   carried     or
               Loss or damage caused by a surge of                            otherwise moved by any of the water
               power is also excluded, if the surge would                     referred to in Paragraph (1), (3) or (4),
               not have occurred but for an event causing                     or material carried or otherwise moved
               a failure of power                                             by mudslide or mudflow.
               But if the failure or surge of power, or the                This exclusion applies regardless of
               failure of communication, water or other                    whether any of the above, in Paragraphs
               utility service , results in a Covered Cause of             (1) through (5), is caused by an act of
               Loss, we will pay for the loss or damage                    nature or is otherwise caused. An example
               caused by that Covered Cause of Loss.                       of a situation to which this exclusion applies
                                                                           is the situation where a dam, levee, seawall
               Communication services include but are not                  or other boundary or containment system
               limited to service relating to Internet access              fails in whole or in part, for any reason, to
               or access to any electronic, cellular or                    contain the water.
               satellite network.
            f. War And Military Action
              (1) War, including undeclared or civil war;




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               But if any of the above, in Paragraphs (1)                 d.(1) Wear and tear;
               through (5), results in fire, explosion or                   (2) Rust    or other corrosion,       decay,
               sprinkler leakage, we will pay for the loss or                   deterioration, hidden or latent defect or
               damage caused by that fire, explosion or                         any quality in property that causes it to
               sprinkler leakage {if sprinkler leakage is a                     damage or destroy itself;
               Covered Cause of Loss).
                                                                            (3) Smog;
           h. "Fungus", Wet Rot, Dry Rot And
              Bacteria                                                      (4) Settling,    cracking,      shrinking   or
                                                                                expansion;
               Presence, growth, proliferation, spread or
               any activity of "fungus", wet or dry rot or                  (5) Nesting or infestation, or discharge or
               bacteria.                                                        release of waste products or secretions,
                                                                                by insects, birds, rodents or other
               But if "fungus", wet or dry rot or bacteria                      animals.
               result in a "specified cause of loss", we will
               pay for the loss or damage caused by that                    (6) Mechanical       breakdown,      including
               "specified cause of loss".                                       rupture or bursting caused by centrifugal
                                                                                force. But if mechanical breakdown
               This exclusion does not apply:                                   results in elevator collision, we will pay
              (1) When "fungus", wet or dry rot or bacteria                     for the loss or damage caused by that
                   result from fire or lightning; or                            elevator collision.
              (2) To the extent that coverage is provided                   (7) The following causes of loss to personal
                   in the Additional Coverage , Limited                         property:
                   Coverage For "Fungus", Wet Rot, Dry                         (a) Dampness        or       dryness     of
                   Rot And Bacteria, with respect to loss or                        atmosphere;
                  damage by a cause of loss other than
                  fire or lightning.                                           (b) Changes      in  or      extremes    of
                                                                                    temperature; or
            Exclusions 8.1.a. through 8.1.h. apply whether
            or not the loss event results in widespread                        (c) Marring or scratching.
            damage or affects a substantial area.                            But if an excluded cause of loss that is
         2. We will not pay for loss or damage caused by                     listed in 2.d.(1) through (7) results in a
            or resulting from any of the following:                          "specified cause of loss" or building glass
                                                                             breakage, we will pay for the loss or
            a. Artificially generated electrical, magnetic or                damage caused by that "specified cause of
               electromagnetic energy that damages,                          loss" or building glass breakage.
               disturbs, disrupts or otherwise interferes
               with any:                                                  e. Explosion of steam boilers, steam pipes,
                                                                             steam engines or steam turbines owned or
              (1) Electrical or electronic wire,        device,              leased by you, or operated under your
                   appliance, system or network; or                          control. But if explosion of steam boilers,
              (2) Device, appliance, system or network                       steam pipes, steam engines or steam
                   utilizing cellular or satellite technology.               turbines results in fire or combustion
               For the purpose of this exclusion, electrical,                explosion, we will pay for the loss or
               magnetic or electromagnetic energy                            damage caused by that fire or combustion
               includes but is not limited to:                               explosion. We will also pay for loss or
                                                                             damage caused by or resulting from the
                  (a) Electrical current, including arcing;                  explosion of gases or fuel within the furnace
                  (b) Electrical charge produced                 or          of any fired vessel or within the flues or
                      conducted by a magnetic                    or          passages through which the gases of
                      electromagnetic field;                                 combustion pass.
                  (c) Pulse of electromagnetic energy; or                 f. Continuous    or repeated seepage or
                  (d) Electromagnetic          waves             or          leakage of water, or the presence or
                                                                             condensation of humidity, moisture or
                      microwaves.
                                                                             vapor, that occurs over a period of 14 days
               But if fire results, we will pay for the loss or              or more.
               damage caused by that fire.
           b. Delay, loss of use or loss of market.
            c. Smoke, vapor or gas from agricultural
               smudging or industrial operations.




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           g. Water, other liquids, powder or molten                            This exclusion, k., does not apply:
              material that leaks or flows from plumbin g,                        (a) To       the extent that coverage is
              heating, air conditioning or other equipment                                provided   under the Additional
              (except fire protective systems) caused by                                  Coverage, Collapse; or
              or resulting from freezing, unless:
                                                                                  (b) To collapse caused by one or more
              (1) You do your best to maintain heat in the                            of the following:
                    building or structure; or
                                                                                      (i) The "specified causes of loss";
              (2) You drain the equipment and shut off
                  the supply if the heat is not maintained.                           (ii) Breakage of building glass;
           h. Dishonest or criminal act (including theft) by                         (iii) Weight of rain that collects on a
              you, any of your partners, members,                                           roof; or
              officers, managers, employees (including                               (iv) Weight of people or personal
              temporary employees and leased workers),                                    property.
              directors,     trustees     or     authorized
                                                                             I. Discharge, dispersal, seepage, migration,
              representatives , whether acting alone or in                      release or escape of "pollutants" unless the
              collusion with each other or with any other                       discharge, dispersal, seepage, migration,
              party; or theft by any person to whom you                         release or escape is itself caused by any of
              entrust the property for any purpose,                             the "specified causes of loss". But if the
              whether acting alone or in collusion with                         discharge, dispersal, seepage, migration,
              any other party.                                                  release or escape of "pollutants" results in a
              This exclusion:                                                   "specified cause of loss", we will pay for the
              (1) Applies whether or not an act occurs                          loss or damage caused by that "specified
                    during your normal hours of operation;                      cause of loss".
              (2) Does not apply to acts of destruction by                      This exclusion, I., does not apply to
                    your employees (including temporary                         damage to glass caused by chemicals
                    employees and leased workers) or                            applied to the glass.
                    authorized representatives ; but theft by               m. Neglect of an insured to use all reasonable
                    your employees (including temporary                        means to save and preserve property from
                    employees     and leased workers) or                       further damage at and after the time of loss.
                    authorized     representatives is not
                                                                         3. We will not pay for loss or damage caused by
                    covered.                                                or resulting from any of the following, 3.a.
            i. Voluntary parting with any property by you                   through 3.c. But if an excluded cause of loss
               or anyone else to whom you have entrusted                    that is listed in 3.a. through 3.c. results in a
               the property if induced to do so by any                      Covered Cause of Loss, we will pay for the
               fraudulent scheme, trick, device or false                    loss or damage caused by that Covered Cause
               pretense.                                                    of Loss.
            j. Rain, snow, ice or sleet to              personal             a. Weather conditions. But this exclusion only
              property in the open.                                             applies if weather conditions contribute in
           k. Collapse, including any of the following                          any way with a cause or event excluded in
              conditions of property or any part of the                         Paragraph 1. above to produce the loss or
              property:                                                         damage.
              (1) An abrupt falling down or caving in;                      b. Acts or decisions, including the failure to act
                                                                                or decide, of any person,                group,
              (2) Loss of structural integrity, including                       organization or governmental body.
                  separation of parts of the property or
                  property in danger of falling down or                      c. Faulty, inadequate or defective:
                  caving in; or                                                (1) Planning,       zoning,     development,
              (3) Any cracking, bulging, sagging, bending,                         surveying, siting;
                  leaning, settling, shrinkage or expansion                    (2) Design, specifications, workmanship,
                  as such condition relates to (1) or (2)                          repair,     construction,     renovation,
                  above.                                                           remodeling, grading, compaction;
              But if collapse results in a Covered Cause                       (3) Materials used in repair, construction,
              of Loss at the described premises, we will                           renovation or remodeling; or
              pay for the loss or damage caused by that
                                                                               (4) Maintenance;
              Covered Cause of Loss.




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              of part or all of any property on or off the             b. Leasehold Interest Coverage Form
              described premises.                                         (1) Paragraph B.1.a., Ordinance Or Law,
         4. Special Exclusions                                                does not apply to insurance under this
           The following provisions apply only to the                         Coverage Form.
           specified Coverage Forms:                                      (2) We will not pay for any loss caused by:
           a. Business Income (And Extra Expense)                            (a) Your cancelling the lease;
              Coverage Form, Business Income                                 (b) The      suspension,      lapse      or
              (Without Extra Expense) Coverage Form,                             cancellation of any license; or
              Or Extra Expense Coverage Form
                                                                             (c) Any other consequential loss.
              We will not pay for:
                                                                        c. Legal Liability Coverage Form
              (1) Any loss caused by or resulting from:
                                                                          (1) The following exclusions do not apply to
                 (a) Damage or destruction of "finished                       insurance under this Coverage Form:
                      stock"; or
                                                                             (a) Paragraph B.1.a. Ordinance Or Law;
                 (b) The     time required   to   reproduce
                      "finished stock".                                      (b) Paragraph   B.1.c.   Governmental
                                                                                 Action;
                  This exclusion does not apply to Extra
                  Expense.                                                   (c) Paragraph B.1.d. Nuclear Hazard;
              (2) Any loss caused by or resulting from                       (d) Paragraph    B.1.e.   Utility Services;
                  direct physical loss or damage to radio                        and
                  or television antennas (including satellite                (e) Paragraph B.1.f. War And Military
                  dishes) and their lead-in wiring, masts or                     Action.
                  towers.
                                                                          (2) The   following additional exclusions
              (3) Any increase of loss caused by or                           apply to insurance under this Coverage
                  resulting from:                                             Form:
                 (a) Delay    in rebuilding, repairing or                    (a) Contractual Liability
                      replacing the property or resuming
                                                                                 We will not defend any claim or
                      "operations", due to interference at                       "suit", or pay damages that you are
                      the location of the rebuilding, repair                     legally liable to pay, solely by reason
                      or replacement by strikers or other                        of your assumption of liability in a
                      persons; or
                                                                                 contract or agreement. But this
                 (b) Suspension, lapse or cancellation of                        exclusion does not apply to a written
                      any license, lease or contract. But if                     lease agreement in which you have
                      the suspension, lapse or cancellation                      assumed liability for building damage
                      is    directly     caused   by    the                      resulting from an actual or attempted
                      "suspension" of "operations", we will                      burglary or robbery, provided that:
                      cover such loss that affects your                          (i) Your assumption of liability was
                      Business Income during the "period
                                                                                     executed prior to the accident;
                      of restoration" and any extension of
                                                                                     and
                      the "period of restoration" in
                      accordance with the tem1s of the                           (ii) The building is Covered Property
                      Extended         Business     Income                            under this Coverage Form.
                      Additional      Coverage  and     the                  (b) Nuclear Hazard
                      Extended       Period Of Indemnity
                      Optional Coverage or any variation                         We will not defend any claim or
                                                                                 "suit", or pay any damages, loss,
                      of these.
                                                                                 expense or obligation, resulting from
              (4) Any Extra Expense caused by or                                 nuclear reaction or radiation, or
                  resulting from suspension, lapse or                            radioactive contamination, however
                  cancellation of any license, lease or                          caused .
                  contract beyond     the   "period  of
                  restoration".
              (5) Any other consequential loss.




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         5. Additional Exclusion                                        d. Building   materials and supplies not
            The following provisions apply only to the                      attached as part of the building or structure,
            specified property:                                             caused by or resulting from theft.
            Loss Or Damage To Products                                      However, this limitation does not apply to:
            We will not pay for loss or damage to any                      (1) Building materials and supplies held for
            merchandise, goods or other product caused                         sale by you, unless they are insured
            by or resulting from error or omission by any                      under the Builders Risk Coverage Form;
            person or entity (including those having                           or
            possession under an arrangement where work                     (2) Business Income Coverage or Extra
            or a portion of the work is outsourced) in any                     Expense Coverage.
            stage of the development, production or use of               e. Property that is missing, where the only
            the product, including planning, testing,                       evidence of the loss or damage is a
            processing,        packaging,        installation,              shortage disclosed on taking inventory, or
            maintenance or repair. This exclusion applies                   other instances where there is no physical
            to any effect that compromises the form,                        evidence to show what happened to the
            substance or quality of the product. But if such                property.
            error or omission results in a Covered Cause of
            Loss, we will pay for the loss or damage                     f. Property that has been transferred to a
            caused by that Covered Cause of Loss.                           person or to a place outside the described
                                                                            premises on the basis of unauthorized
      C. Limitations                                                        instructions.
         The following limitations apply to all policy forms            g. Lawns, trees, shrubs or plants which are
         and endorsements, unless otherwise stated:                         part of a vegetated roof, caused by or
         1. We will not pay for loss of or damage to                        resulting from:
            property, as described and limited in this                     (1) Dampness or dryness of atmosphere or
            section. In addition, we will not pay for any loss                 of soil supporting the vegetation;
            that is a consequence of loss or damage as
            described and limited in this section                          (2) Changes in or extremes of temperature;

            a. Steam boilers, steam pipes, steam engines                   (3) Disease;
               or steam turbines caused by or resulting                    (4) Frost or hail; or
               from any condition or event inside such
                                                                           (5) Rain, snow, ice or sleet.
               equipment. But we will pay for loss of or
               damage to such equipment caused by or                 2. We will not pay for loss of or damage to the
               resulting from an explosion of gases or fuel             following types of property unless caused by
               within the furnace of any fired vessel or                the "specified causes of loss" or building glass
               within the flues or passages through which               breakage:
               the gases of combustion pass.                             a. Animals, and then only if they are killed or
            b. Hot water boilers or other water heating                     their destruction is made necessary.
               equipment caused by or resulting from any                b. Fragile articles such as statuary, marbles,
               condition or event inside such boilers or                   chinaware and porcelains, if broken. This
               equipment, other than an explosion.                         restriction does not apply to:
            c. The interior of any building or structure, or               (1) Glass; or
               to personal property in the building or
                                                                           (2) Containers of property held for sale.
               structure, caused by or resulting from rain,
               snow, sleet, ice, sand or dust, whether                   c. Builders' machinery, tools and equipment
               driven by wind or not, unless:                               owned by you or entrusted to you, provided
                                                                            such property is Covered Property.
               (1) The building or structure first sustains
                    damage by a Covered Cause of Loss to                    However, this limitation does not apply:
                    its roof or walls through which the rain,              (1) If the property is located on or within
                    snow, sleet, ice, sand or dust enters; or                  100 feet of the described premises,
               (2) The loss or damage is caused by or                          unless the premises is insured under the
                   results from thawing of snow, sleet or                      Builders Risk Coverage Form; or
                   ice on the building or structure.




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              (2) To Business Income Coverage or to                 2. We will pay for direct physical loss or damage
                  Extra Expense Coverage.                              to Covered Property, caused by abrupt
         3. The special limit shown for each category, a.              collapse of a building or any part of a building
            through d., is the total limit for loss of or              that is insured under this Coverage Form or
            damage to all property in that category. The               that contains Covered Property insured under
            special limit applies to any one occurrence of             this Coverage Form, if such collapse is caused
            theft, regardless of the types or number of                by one or more of the following:
            articles that are lost or damaged in that                   a. Building decay that is hidden from view,
            occurrence. The special limits are (unless a                   unless the presence of such decay is
            higher limit is shown in the Declarations):                    known to an insured prior to collapse;
            a. $2,500 for furs. fur garments and garments              b. Insect or vermin damage that is hidden
               trimmed with fur.                                           from view, unless the presence of such
            b. $2,500 for jewelry, watches, watch                          damage is known to an insured prior to
               movements, jewels, pearls, precious and                     collapse;
               semiprecious stones, bullion, gold, silver,              c. Use of defective material or methods in
               platinum and other precious alloys or                       construction, remodeling or renovation if the
               metals. This limit does not apply to jewelry                abrupt collapse occurs during the course of
               and watches worth $100 or less per item.                    the construction , remodeling or renovation.
            c. $2,500 for patterns, dies, molds and forms.             d. Use of defective material or methods in
            d. $250 for stamps, tickets, including lottery                 construction , remodeling or renovation if the
               tickets held for sale, and letters of credit.               abrupt      collapse   occurs    after     the
                                                                           construction, remodeling or renovation is
            These special limits are part of, not in addition              complete, but only if the collapse is caused
            to, the Limit of Insurance applicable to the                   in part by:
            Covered Property.
                                                                          (1) A cause of loss listed in 2.a. or 2.b.;
            This limitation, C.3., does not apply to
            Business Income Coverage or to Extra                          (2) One or more of the "specified causes of
            Expense Coverage.                                                  loss";

         4. We will not pay the cost to repair any defect to              (3) Breakage of building glass;
            a system or appliance from which water, other                 (4) Weight of people or personal property;
            liquid, powder or molten material escapes. But                     or
            we will pay the cost to repair or replace                     (5) Weight of rain that collects on a roof_
            damaged parts of fire-extinguishing equipment
            if the damage:                                          3. This Additional Coverage - Collapse does
                                                                       not apply to:
            a. Results in discharge of any substance from
               an automatic fire protection system; or                  a. A building or any part of a building that is in
                                                                           danger of falling down or caving in;
            b. Is directly caused by freezing.
                                                                       b. A part of a building that is standing, even if
            However, this limitation does not apply to                    it has separated from another part of the
            Business Income Coverage or to Extra                          building; or
            Expense Coverage.
                                                                        c. A building that is standing or any part of a
      D. Additional Coverage - Collapse                                    building that is standing, even if it shows
         The coverage provided under this Additional                       evidence of cracking, bulging, sagging,
         Coverage, Collapse, applies only to an abrupt                     bending, leaning, settling, shrinkage or
         collapse as described and limited in 0.1 . through                expansion.
         D.7.                                                       4. With respect to the following property:
         1. For the purpose of this Additional Coverage,                a. Outdoor radio or television antennas
             Collapse, abrupt collapse means an abrupt                     (including satellite dishes) and their lead-in
             falling down or caving in of a building or any                wiring, masts or towers;
             part of a building with the result that the
             building or part of the building cannot be
             occupied for its intended purpose_




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            b. Awnings, gutters and downspouts;                   E. Additional Coverage - Lim ited Coverage For
            C.   Yard fixtures;                                      "Fungus", W et Rot, Dry Rot And Bacteria

            d. Outdoor swimming pools;                               1. The coverage described in E.2. and E.6. only
                                                                        applies when the ''fungus", wet or dry rot or
            e. Fences;                                                  bacteria are the result of one or more of the
            f. Piers, wharves and docks;                                following causes that occur during the policy
                                                                        period and only if all reasonable means were
            g. Beach       or      diving    platforms     or
                                                                        used to save and preserve the property from
                 appurtenances;
                                                                        further damage at the time of and after that
            h. Retaining walls; and                                     occurrence:
             i. Walks, roadways and other paved surfaces;                a. A "specified cause of loss" other than fire or
            if an abrupt collapse is caused by a cause of                   lightning; or
            loss listed in 2.a. through 2.d., we will pay for           b. Flood, if the Flood Coverage Endorsement
            loss or damage to that property only if:                        applies to the affected premises.
                 (1) Such loss or damage is a direct result of          This Additional Coverage does not apply to
                     the abrupt collapse of a building insured          lawns, trees, shrubs or plants which are part of
                     under this Coverage Form; and                      a vegetated roof.
                 (2) The property is Covered Property under          2. We will pay for loss or damage by "fungus",
                     this Coverage Form.                                wet or dry rot or bacteria. As used in this
         5. If personal property abruptly falls down or                 Limited Coverage, the term loss or damage
            caves in and such collapse is not the result of             means:
            abrupt collapse of a building, we will pay for               a. Direct physical loss or damage to Covered
            loss or damage to Covered Property caused by                    Property caused by "fungus", wet or dry rot
            such collapse of personal property only if:                     or bacteria, including the cost of removal of
            a. The collapse of personal property was                        the "fungus", wet or dry rot or bacteria;
               caused by a cause of loss listed in 2.a.                 b. The cost to tear out and replace any part of
               through 2.d.;                                                the building or other property as needed to
            b. The personal property which collapses is                     gain access to the iungus", wet or dry rot
               inside a building; and                                       or bacteria; and
            c. The property which collapses is not of a                  c. The cost of testing performed after removal,
               kind listed in 4., regardless of whether that                repair, replacement or restoration of the
               kind of property is considered to be                         damaged property is completed, provided
               personal property or real property.                          there is a reason to believe that ''fungus",
                                                                            wet or dry rot or bacteria are present.
            The coverage stated in this Paragraph 5. does
            not apply to personal property if marring and/or         3. The coverage described under E.2. of this
            scratching is the only damage to that personal              Limited Coverage is limited to $15,000.
            property caused by the collapse.                            Regardless of the number of claims, this limit is
                                                                        the most we will pay for the total of all loss or
         6. This Additional Coverage, Collapse, does not                damage arising out of all occurrences of
            apply to personal property that has not abruptly            "specified causes of loss" (other than fire or
            fallen down or caved in, even if the personal               lightning) and Flood which take place in a 12-
            property shows evidence of cracking, bulging,               month period (starting with the beginning of the
            sagging, bending, leaning, settling, shrinkage
                                                                        present annual policy period). With respect to a
            or expansion.
                                                                        particular occurrence of loss which results in
         7. This Additional Coverage , Collapse, will not               "fungus", wet or dry rot or bacteria, we will not
            increase the Limits of Insurance provided in                pay more than a total of $15,000 even if the
            this Coverage Part.                                         "fungus", wet or dry rot or bacteria continue to
         8. The term Covered Cause of Loss includes the                 be present or active, or recur, in a later policy
            Additional Coverage, Collapse, as described                 period.
            and limited in D.1. through D.7.




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         4. The coverage provided under this Limited              F. Additional Coverage Extensions
            Coverage does not increase the applicable                1. Property In Transit
            Limit of Insurance on any Covered Property_ If
            a particular occurrence results in loss or                  This Extension applies only to your personal
            damage by "fungus", wet or dry rot or bacteria,             property to which this form applies.
            and other loss or damage, we will not pay                    a. You may extend the insurance provided by
            more, for the total of all loss or damage, than                 this Coverage Part to apply to your
            the applicable Limit of Insurance on the                        personal property (other than property in
            affected Covered Property_                                      the care, custody or control of your
            If there is covered loss or damage to Covered                   salespersons) in transit more than 100 feet
            Property, not caused by "fungus", wet or dry rot                from the described premises. Property must
            or bacteria, loss payment will not be limited by                be in or on a motor vehicle you own, lease
            the terms of this Limited Coverage, except to                   or operate while between points in the
            the extent that ''fungus", wet or dry rot or                    coverage temtory.
            bacteria cause an increase in the loss. Any                 b. Loss or damage must be caused by or
            such increase in the loss will be subject to the               result from one of the following causes of
            terms of this Limited Coverage.                                loss:
         5. The terms of this Limited Coverage do not                      (1) Fire, lightning, explosion, windstorm or
            increase or reduce the coverage provided                           hail, riot or civil commotion, or
            under Paragraph F.2. (Water Damage, Other                          vandalism_
            Liquids, Powder Or Molten Material Damage)
                                                                           (2) Vehicle collision, upset or overturn.
            of this Causes Of Loss form or under the
                                                                               Collision means accidental contact of
            Additional Coverage , Collapse.
                                                                               your vehicle with another vehicle or
         6. The following, 6.a. or 6.b., applies only if                       object. It does not mean your vehicle's
            Business Income and/or Extra Expense                               contact with the roadbed.
            Coverage applies to the described premises
                                                                           (3) Theft of an entire bale, case or package
            and only if the "suspension" of "operations"
                                                                               by forced entry into a securely locked
            satisfies all terms and conditions of the                          body or compartment of the vehicle.
            applicable Business Income and/or Extra
                                                                               There must be visible marks of the
            Expense Coverage Form:                                             forced entry_
            a. If the loss which resulted in "fungus", wet or
                                                                         c. The most we will pay for loss or damage
                 dry rot or bacteria does not in itself                     under this Extension is $5,000.
                 necessitate a "suspension" of "operations",
                 but such "suspension" is necessary due to              This Coverage Extension          is additional
                 loss or damage to property caused by                   insurance.    The     Additional     Condition,
                 "fungus", wet or dry rot or bacteria, then our         Coinsurance, does not apply to this Extension.
                 payment under Business Income and/or                2. Water Damage, Other Liquids, Powder Or
                 Extra Expense is limited to the amount of              Molten Material Damage
                 loss and/or expense sustained in a period
                                                                        If loss or damage caused by or resulting from
                 of not more than 30 days. The days need
                 not be consecutive.                                    covered water or other liquid, powder or molten
                                                                        material damage loss occurs, we will also pay
            b. If a covered "suspension" of "operations"                fhe cost to tear out and replace any part of the
               was caused by loss or damage other than                  building or structure to repair damage to the
               "fungus", wet or dry rot or bacteria but                 system or appliance from which the water or
               remediation of "fungus", wet or dry rot or               other substance escapes. This Coverage
               bacteria prolongs the "period of restoration",           Extension does not increase the Limit of
               we will pay for loss and/or expense                      Insurance.
               sustained during the delay (regardless of
               when such a delay occurs during the
               "period of restoration"), but such coverage
               is limited to 30 days. The days need not be
               consecutive.




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         3. Glass                                                          (2) Accidental     discharge or leakage of
            a. We will pay for expenses incurred to put up                     water or waterborne material as the
               temporary plates or board up openings if                        direct result of the breaking apart or
               repair or replacement of damaged glass is                       cracking of a water or sewer pipe
               delayed                                                         caused by wear and tear, when the pipe
                                                                               is located off the described premises
            b. We will pay for expenses         incurred to                    and is connected to or is part of a
               remove or replace obstructions when                             potable water supply system or sanitary
               repairing or replacing glass that is part of a                  sewer system operated by a public or
               building. This does not include removing or                     private utility service provider pursuant
               replacing window displays.                                      to authority granted by the state or
            This Coverage Extension F.3.          does   not                   governmental subdivision where the
            increase the Limit of Insurance.                                   described premises are located.
      G. Definitions                                                        But water damage does not include loss or
         1. "Fungus" means any type or form of fungus,
                                                                            damage otherwise excluded under the
                                                                            terms of the Water Exclusion. Therefore, for
            including mold or mildew, and any mycotoxins,
            spores, scents or by-products produced or                       example, there is no coverage under this
                                                                            policy in the situation in which discharge or
            released by fungi.
                                                                            leakage of water results from the breaking
         2. "Specified causes of loss" means the following:                 apart or cracking of a pipe which was
            fire; lightning; explosion; windstorm or hail;                  caused by or related to weather-induced
            smoke; aircraft or vehicles; riot or civil                      flooding,    even     if wear      and   tear
            commotion; vandalism; leakage from fire-                        contributed to the breakage or cracking. As
            extinguishing equipment; sinkhole collapse;                     another example, and also in accordance
            volcanic action; falling objects; weight of snow,               with the terms of the Water Exclusion, there
            ice or sleet; water damage.                                     is no coverage for loss or damage caused
            a. Sinkhole    collapse means the sudden                        by or related to weather-induced flooding
               sinking or collapse of land into underground                 which follows or is exacerbated by pipe
               empty spaces created by the action of                        breakage or cracking attributable to wear
               water on limestone or dolomite. This cause                   and tear.
               of loss does not include:                                    To the extent that accidental discharge or
              (1) The cost of filling sinkholes; or                         leakage of water falls within the criteria set
                                                                            forth in c.(1) or c.(2) of this definition of
              (2) Sinking or collapse of land into man-
                                                                            "specified causes of loss," such water is not
                    made underground cavities.                              subject to the provisions of the Water
            b. Falling objects does not include loss or                     Exclusion which preclude coverage for
               damage to:                                                   surface water or water under the surface of
              (1) Personal property in the open; or                         the ground.
              (2) The interior of a building or structure, or
                    property inside a building or structure,
                    unless the roof or an outside wall of the
                    building or structure is first damaged by
                    a falling object.
            c. Water damage means:
              (1) Accidental discharge or leakage of
                  water or steam as the direct result of the
                  breaking apart or cracking of a
                  plumbing, heating, air conditioning or
                  other system or appliance (other than a
                  sump system including its related
                  equipment and parts), that is located on
                  the described premises and contains
                  water or steam; and




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                                                                                             COMMERCIAL PROPERTY
                                                                                                     CP 10 7512 20

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                 CYBER INCIDENT EXCLUSION
      This endorsement modifies insurance provided under the following:
         COMMERCIAL PROPERTY COVERAGE PART
         STANDARD PROPERTY POLICY

      A. The following exclusion is added to Paragraph B.              B. Exceptions And Limitations
         Exclusions:                                                       1. Fire Or Explosion
         We will not pay for loss or damage caused directly or                If a cyber incident as described in
         indirectly by the following. Such loss or damage is                  Paragraphs A.1. through A.3. of this
         excluded regardless of any other cause or event that                 exclusion results in fire or explosion, we will
         contributes concurrently or in any sequence to the loss.             pay for the loss or damage caused by that
         Cyber Incident                                                       fire or explosion.
         1. Unauthorized access to or use of any computer                  2. Additional Coverage
            system (including electronic data)                                The exclusion in Paragraph A. does not
         2. Malicious code, virus or any other harmful code that              apply to the extent that coverage is provided
            is directed at, enacted upon or introduced into any               in the:
            computer system (including electronic data) and is                a. Additional Coverage - Electronic Data;
            designed to access, alter, corrupt, damage, delete,                      or
            destroy, disrupt, encrypt, exploit, use or prevent or
            restrict access to or the use of any part of any                  b. Additional Coverage -      Interruption Of
            computer system (including electronic data) or                           Computer Operations
            otherwise disrupt its normal functioning or                    3. Electronic Commerce Endorsement
            operation.                                                        The exclusion in Paragraph A. does not
         3. Denial of service attack which disrupts, prevents or              apply to the Electronic Commerce
            restricts access to or use of any computer system,                (E-Commerce) endorsement when attached
            or otherwise disrupts its normal functioning or                   to your policy.
            operation.                                                 C. Vandalism
                                                                           The following is added to Vandalism, if
                                                                           Vandalism coverage is not otherwise excluded
                                                                           under the Standard Property Policy or the
                                                                           Causes Of Loss - Basic, Broad or Special
                                                                           Forms and if applicable to the premises
                                                                           described in the Declarations:
                                                                           Vandalism does not include a cyber incident as
                                                                           described in Paragraph A.




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                              EXCLUSION - PRE-EXISTING DAMAGE

       This endorsement modifies insurance provided under the following:

       CAUSE OF LOSS - SPECIAL
       CAUSE OF LOSS - BROAD
       CAUSE OF LOSS - BASIC

                                                          SCHEDULE


       Prem.          Bldg.        Location
       No.            No.
       1-5            1            Locations 1-5 per GSI-04-CP03D & GSI-04-CP-DECX




       The following is added to B Exclusions

       This policy excludes any pre-existing property damage as well as any loss or damage directly or indirectly
       caused by, resulting from or contributed to by any pre-existing damage at the time of loss.




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      EXCLUSION - BIOLOGICAL OR CHEMICAL MATERIALS


      This endorsement modifies insurance provided under the following:

      CAUSES OF LOSS - BASIC FORM
      CAUSES OF LOSS - BROAD FORM
      CAUSES OF LOSS - SPECIAL FORM




      The following exclusion is added to Section B. Exclusions:

      This policy does not provide any coverage for any loss, cost, expense or damage of any nature, however caused ,
      directly or indirectly, arising out of, resulting from, or in any way related to the actual or suspected presence or threat
      of any pathogenic or poisonous biological or chemical substance or material of any kind, including, but not limited
      to, any malicious use of such substance or material, whether isolated or widespread, regardless of any other cause
      or event contributing at the same time or in any sequence.



      All other terms, conditions and exclusions remain unchanged.




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 AMENDMENT OF THE NUCLEAR HAZARD
                                     EXCLUSION ENDORSEMENT


      This endorsement modifies insurance provided under the following:

      CAUSES OF LOSS - BASIC FORM
      CAUSES OF LOSS - BROAD FORM
      CAUSES OF LOSS - SPECIAL FORM



      Paragraph 1.d. Nuclear Hazard of Section B. Exclusions is deleted and replaced by the following:

      d.   Nuclear Hazard

           Nuclear reaction or radiation , or radioactive contamination, however caused.

           However, if nuclear reaction or radiation, or radioactive contamination , results in fire, we will pay for the loss,
           cost, expense or damage caused by that fire, subject to all applicable policy provisions including the Limit of
           Insurance on the affected property in the states where required by law. Such coverage applies only to direct
           loss or damage by fire to Covered Property. Therefore, for example, the coverage does not apply to insurance
           provided under Business Income and/or Extra Expense coverage forms or endorsements which apply to those
           forms.




      All other terms, conditions and exclusions remain unchanged.




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 EXCLUSION - TERRORISM
      This endorsement modifies insurance provided under the following:

      CAUSES OF LOSS - BASIC FORM
      CAUSES OF LOSS - BROAD FORM
      CAUSES OF LOSS - SPECIAL FORM

      A.   The following exclusion is added to Section 8. Exclusions:

           EXCLUSION OF TERRORISM

           We will not pay for loss, cost, expense or damage however caused, directly or indirectly, arising out of,
           resulting from, or in any way related to an actual or threatened act of "terrorism", including action in hindering
           or defending against an actual or expected incident of "terrorism". Such loss, cost, expense or damage is
           excluded regardless of any other cause or event that contributes concurrently or in any sequence to the loss.

           However, if "terrorism" results in fire, we will pay for the loss, cost, expense or damage caused by that fire,
           subject to all applicable policy provisions including the Limit of Insurance on the affected property in the
           states where required by law. Such coverage for fire applies only to direct loss or damage by fire to Covered
           Property Therefore, for example, the coverage does not apply to insurance provided under Business Income
           and/or Extra Expense coverage forms or endorsements which apply to those forms.

      8 . The following definition is added to Section G. Definitions:

           1.   "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance
                with the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to such
                Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act of terrorism" include
                the following:

                a.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
                     insurance subject to the Terrorism Risk Insurance Act; and

                b.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
                     committed by an individual or individuals as part of an effort to coerce the civilian population of the
                     United States or to influence the policy or affect the conduct of the United States Government by
                     coercion.

                As respects "certified acts of terrorism", if aggregate insured losses attributable to terrorist acts certified
                under the Terrorism Risk Insurance Act exceed $100 billion in a calendar year and we have met our
                insurer deductible under the Terrorism Risk Insurance Act, we shall not be liable for the payment of any
                portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to that
                amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
                the Treasury

           2.   "Terrorism" means activities against persons, organizations or property of any nature:

                a.   That involves the following or preparation for the following:

                     (1) Use or threat of force or violence; or

                     (2) Commission or threat of a dangerous act; or




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                   (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
                        information, or mechanical system; or

                   (4) Commission or threat of an act of destruction, assassination, kidnapping or hostage-taking; or

                   (5) Commission or threat of a hijacking or any unlawful exercise or control of any mode of
                       transportation, including, but not limited to aircraft, watercraft, lruck(s) or automobile(s). including
                       any attempted seizure of control; and

              b.   When one or more of the following applies:

                   (1) The effect is to intimidate or coerce a government or the civilian population or any segment
                        thereof. or to disrupt any segment of the economy; or

                   (2) It appears that the intent is to intimidate or coerce a government, or to further political,
                        ideological, religious. social or economic objectives or to express (or express opposition to) a
                        philosophy or ideology.

              As used in this endorsement, "terrorism" includes "certified acts of terrorism".

      All other terms, conditions and exclusions remain unchanged.




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                                     GENERAL STAR INDEMNITY COMPANY

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                EXCLUSION -VIRUS, BACTERIA, PARASITE OR OTHER ORGANISM


      This endorsement modifies insurance provided under the following:

      COMMERCIAL PROPERTY COVERAGE PART




      A.   The exclusion set forth in this endorsement applies to all coverage under all forms and endorsements that
           comprise this Coverage Part or Policy, including but not limited to forms or endorsements that cover property
           damage to buildings or personal property and forms or endorsements that cover business income, extra
           expense or action of civil authority.

      8. We will not pay for any loss, damage, claim, cost, expense or other sum, directly or indirectly caused by, arising
         out of, resulting from or in connection with the actual or suspected presence of any virus {including, but not
         limited to, SARS-CoV-2), bacterium, parasite or other organism that induces or is capable of inducing physical
         distress, illness or disease or the fear or threat (whether actual or perceived) of a virus (including, but not limited
         to, SARS-CoV-2), bacterium, parasite or other organism that induces or is capable of inducing physical distress,
         illness or disease, regardless of any other cause or event contributing concurrently or in any other sequence to
         the loss.

           However, this exclusion does not apply to loss or damage caused by or resulting from "fungus", wet rot or dry
           rot. Such loss or damage is addressed in a separate exclusion in this Coverage Part or Policy.

      C. For purposes of this endorsement, loss, damage, claim, cost, expense or other sum, includes, but is not limited
           to, any cost to clean-up, detoxify, remove, monitor or test:

           1.    For the presence of any virus, bacterium, parasite or other organism, or

           2.    Any property insured hereunder that is affected by such virus, bacterium, parasite or other organism.

      D. With respect to any loss, damage, claim, cost, expense or other sum subject to the exclusion in this
         endorsement, such exclusion supersedes any exclusion relating to "pollutants".

      E. The provisions in this Coverage Part and Policy are hereby amended to remove any and all reference to, and
         coverage provided for, bacteria or bacterium of any kind including, but not limited to, the following:

           1.    Exclusion of "Fungus". Wet Rot, Dry Rot And Bacteria;

           2.    Additional Coverage - Limited Coverage for "Fungus", Wet Rot, Dry Rot and Bacteria, including any
                 endorsement increasing the scope or amount of coverage; and

           3.    Any definition of "fungus".

      F.   The terms of this exclusion, or the inapplicability of this exclusion to a particular loss. do not serve to create
           coverage for any loss that would otherwise be excluded under this Coverage Part or Policy.



      All other terms, conditions and exclusions remain unchanged.
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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                EQUIPMENT BREAKDOWN COVERAGE

         This endorsement modifies insurance provided under the following:
                                  COMMERCIAL PROPERTY COVERAGE PART

         A.       The following is added as an Additional Coverage to the Causes of Loss-Basic Form,
                  Broad Form or Special Form.

                  Additional Coverage- Equipment Breakdown
                  The term Covered Cause of Loss includes the Additional Coverage Equipment
                  Breakdown as described and limited below.
                  l.     We will pay for direct physical damage to Covered Property that is the direct
                         result of an "accident." As used in this Additional Coverage, "accident" means a
                         fortuitous event that causes direct physical damage to "covered equipment." The
                         event must be one of the following:
                         a.      mechanical breakdown, including rupture or bursting caused by
                                 centrifugal force;
                         b.      artificially generated electrical current, including electric arcing, that
                                 disturbs electrical devices, appliances or wires;
                         c.      explosion of steam boilers, steam pipes, steam engines or steam turbines
                                 owned or leased by you, or operated under your control;
                           d.     loss or damage to steam boilers, steam pipes, steam engines or steam
                                  turbines caused by or resulting from any condition or event inside such
                                  equipment; or
                           e.     loss or damage to hot water boilers or other water heating equipment
                                  caused by or resulting from any condition or event inside such boilers or
                                  equipment.

                  2.       Unless otherwise shown in a Schedule, the following coverages also apply to the
                           direct result of an "accident." These coverages do not provide additional amounts
                           of insurance.
                           a.      Expediting Expenses
                                   With respect to your damaged Covered Property, we will pay up to
                                   $25,000 unless otherwise shown in a Schedule, the reasonable extra cost
                                  to:
                                  (1)    make temporary repairs; and
                                  (2)    expedite permanent repairs or permanent replacement.
                           b.     Hazardous Substances
                                  We will pay for the additional cost to repair or replace Covered Property
                                  because of contamination by a "hazardous substance." This includes the
                                  additional expenses to clean up or dispose of such property.
                                  This does not include contamination of"perishable goods" by refrigerant,
                                  including but not limited to ammonia, which is addressed in 2.c.(l)(b)
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                                below. As used in this coverage, additional costs mean those beyond what
                                would have been payable under this Equipment Breakdown Coverage had
                                no "hazardous substance" been involved.
                                The most we will pay for loss, damage or expense under this coverage,
                                including actual loss of Business Income you sustain and necessary Extra
                                Expense you incur, if shown as covered, is $25,000 unless otherwise
                                shown in a Schedule.
                           c.   Spoilage
                                (1)     We will pay:
                                        (a)     for physical damage to "perishable goods" due to spoilage;
                                        (b)     for physical damage to "perishable goods" due to
                                                contamination from the release of refrigerant, including but
                                                not limited to ammonia;
                                        (c)     any necessary expenses you incur to reduce the amount of
                                                loss under this coverage to the extent that they do not
                                                exceed the amount ofloss that otherwise would have been
                                                payable under this coverage.
                                (2)     If you are unable to replace the "perishable goods" before its
                                        anticipated sale, the amount of our payment will be determined on
                                        the basis of the sales price of the "perishable goods" at the time of
                                        the "accident," less discounts and expenses you otherwise would
                                        have had. Otherwise our payment will be determined in accordance
                                        with the Valuation condition.
                                The most we will pay for Eoss, damage or expense under this coverage is
                                $25,000 unless otherwise shown in a Schedule.
                           d.   Data Restoration
                                We will pay for your reasonable and necessary cost to research, replace
                                and restore lost "data."
                                The most we will pay for foss or expense under this coverage, including
                                actual Joss of Business Income you sustain and necessary Extra Expense
                                you incur, if shown as covered, is $500 unless otherwise shown in a
                                Schedule.
                           e.   Service Interruption
                                (I)     Any insurance provided for Business Income, Extra Expense or
                                        Spoilage is extended to apply to your loss, damage or expense
                                        caused by an "accident" to equipment that is owned by a utility,
                                        landlord or other supp]jer with whom you have a contract to supply
                                        you with any of the following services: electrical power, waste
                                        disposal, air conditioning, refrigeration, heating, natural gas,
                                        compressed air, water, steam, internet access, telecommunications
                                        services, wide area networks or data transmission. The equipment
                                        must meet the definition of"covered equipment" except that it is
                                        not Covered Property.
                                (2)     Unless otherwise shown in a Schedule, Service Interruption
                                        coverage will not apply unless the failure or disruption of service
                                        exceeds 24 hours immediately following the "accident."

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                                   (3)    The most we will pay for loss, damage or expense under this
                                          coverage is the limit that applies to Business Income, Extra
                                          Expense or Spoilage, except that if a limit is shown in a Schedule
                                          for Service Interruption, that limit will apply to Business Income
                                          and Extra Expense loss under this coverage.
                           f      Business Income and Extra Expense
                                  Any insurance provided under this coverage part for Business Income or
                                  Extra Expense is extended to the coverage provided by this endorsement.
                                  The most we will pay for loss of Business Income you sustain or
                                  necessary Extra Expense you incur is the limit shown in the Declarations
                                  for that coverage, unless otherwise shown in a Schedule.

                  3.       EXCLUSIONS
                           All exclusions in the Causes of Loss form apply except as modified below and to
                           the extent that coverage is specifically provided by this Additional Coverage
                           Equipment Breakdown.
                           a.      The exclusions are modified as follows:
                                   (1)     If the Causes of Loss --Basic Form or Causes of Loss -- Broad
                                           Form applies, the following is added to Exclusion B.2.:
                                           Depletion, deterioration, corrosion, erosion, wear and tear, or other
                                           gradually developing conditions. But if an "accident,, results, we
                                           wilJ pay for the resulting loss, damage or expense.
                                   (2)     If the Causes of Loss- Special Form applies, as respects this
                                           endorsement only, the last paragraph of Exclusion B.2.d. is deleted
                                           and replaced with tthe following:
                                           But if an excluded cause of loss that is listed in 2.d.( 1) through (7)
                                           results in an "accident," we will pay for the loss, damage or
                                           expense caused by that "accident.,,
                           b.      We will not pay under this endorsement for loss, damage or expense
                                   caused by or resulting from:
                                   (1)     any defect, programming error, programming limitation, computer
                                           virus, malicious code, loss of "data," loss of access, loss of use,
                                           loss of functionality or other condition within or involving "data''
                                           or "media" of any kind. But if an "accident" results, we will pay
                                           for the resulting loss, damage or expense; or
                                   (2)     any of the following tests:
                                           a hydrostatic, pneumatic or gas pressure test of any boiler or
                                           pressure vessel, or an electrical insulation breakdown test of any
                                           type of electrical equipment.
                           C.      With respect to Service Interruption coverage, we will also not pay for
                                   an "accident" caused by or resulting from: fire; lightning; windstorm or
                                   hail; explosion (except as specifically provided in A. l .c. above); smoke;
                                   aircraft or vehicles; riot or civil commotion; vandalism; sprinkler leakage;
                                   falling objects; weight of snow, ice or sleet; freezing; collapse; flood or
                                   earth movement.


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                           d.     With respect to Business Income, Extra Expense and Service Interruption
                                  coverages, we will also not pay for any increase in loss resulting from an
                                  agreement between you and your customer or supplier.
                           e.     We will not pay for loss, damage or expense caused directly or indirectly
                                  by the following, whether or not caused by or resulting from an
                                  "accident": Any mold, fungus, mildew or yeast, including any spores or
                                  toxins produced by or emanating from such mold, fungus, mildew or
                                  yeast. This includes, but is not limited to, costs arising from clean up,
                                  removal, or abatement of such mold, fungus, mildew or yeast, spores or
                                  toxins. However, this exclusion does not apply to spoilage of personal
                                  property that is "perishable goods," to the extent that spoilage is covered
                                  under Spoilage coverage.
                           f.     We will not pay under this endorsement for any loss or damage to animals.

                  4.       DEFINITIONS
                           The following definitions are added:
                           a.     "Boilers and vessels" means:
                                  (1)     Any boiler, including attached steam, condensate and feedwater
                                          piping; and
                                  (2)     Any fired or unfired pressure vessel subject to vacuum or internal
                                          pressure other than the static pressure of its contents.
                                  This term does not appear elsewhere in this endorsement, but may appear
                                  in a Schedule.
                           b.     "Covered equipment"
                                  (1)     "Covered equipment" means, unless otherwise specified in a
                                          Schedule, Covered Property:
                                          (a)     that generates, transmits or utilizes energy, including
                                                  electronic communications and data processing equipment;
                                                  or
                                          (b)     which, during normal usage, operates under vacuum or
                                                  pressure, other than the weight of its contents.
                                  (2)    None of the following is "covered equipment":
                                          (a)     structure, foundation, cabinet, compartment or air
                                                  supported structure or building;
                                          (b)     insulating or refractory material;
                                          (c)     sewer piping, underground vessels or piping, or piping
                                                  forming a part of a sprinkler system;
                                          (d)     water piping other than boiler foedwater piping, boiler
                                                  condensate return piping or water piping forming a part of a
                                                  refrigerating or air conditioning system;
                                          (e)     ''vehicle" or any equipment mounted on a "vehicle";
                                          (f)     satellite, spacecraft or any equipment mounted on a satellite
                                                  or spacecraft;
                                          (g)     dragline, excavation or construction equipment; or
                                          (h)     equipment manufactured by you for sale.
                           C.     "Data" means information or instructions stored in digital code capable of
                                  being processed by machinery.
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                           d.     "Hazardous substance" means any substance that is hazardous to health or
                                  has been declared to be hazardous to health by a governmental agency.
                           e.     "Media" means material on which "data" is recorded, such as magnetic
                                  tapes, hard disks, optical disks or floppy disks.
                           f.     "One accident" means: If an initial "accident" causes other "accidents," all
                                  will be considered "one accident." All "accidents" that are the result of the
                                  same event will be considered "one accident."
                           g.     "Perishable goods" means personal property maintained under controlled
                                  conditions for its preservation, and susceptible to loss or damage if the
                                  controlled conditions change.
                           h.     "Production machinery'' means any machine or apparatus that processes or
                                  produces a product intended for eventual sale. However, "production
                                  machinery" does not mean any fired or unfired pressure vessel other than a
                                  cylinder containing a movable plunger or piston.
                                  This term does not appear elsewhere in this endorsement, but may appear
                                  in a Schedule.
                           1.     "Vehicle" means, as respects this endorsement only, any machine or
                                  apparatus that is used for transportation or moves under its own power.
                                  "Vehicle" includes, but is not limited to, car, truck, bus, trailer, train,
                                  aircraft, watercraft, forklift, bulldozer, tractor or harvester.
                                  However, any property that is stationary, permanently installed at a
                                  covered location and that receives electrical power from an external power
                                  source will not be considered a ''vehicle."

         B.       The Building and Personal Property Coverage Form is modified as follows.
                  The definitions stated above also apply to section B. of this endorsement.

                  1.       DEDUCTIBLE
                           The deductible in the Declarations applies unless a separate Equipment
                           Breakdown deductible is shown in a Schedule. If a separate Equipment
                           Breakdown deductible is shown, the following applies.
                           Only as regards Equipment Breakdown Coverage, provision D.
                           DEDUCTIBLE is deleted and replaced with the following:
                           a.     Deductibles for Each Coverage
                                  (1)     Unless the Schedule indicates that your deductible is combined for
                                          all coverages, multiple deductibles may apply to any " one
                                          accident."
                                  (2)     We will not pay for loss, damage or expense under any coverage
                                          until the amount of the covered loss, damage or expense exceeds
                                          the deductible amount indicated for that coverage in the Schedule.
                                          We will then pay the amount ofloss, damage or expense in excess
                                          of the applicable deductible amount, subject to the applicable limit.
                                  (3)     If deductibles vary by type of "covered equipment" and more than
                                          one type of "covered equipment" is involved in any "one
                                          accident," only the highest deductible for each coverage will apply.
                           b.     Direct and Indirect Coverages

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                                (1)   Direct Coverages Deductibles and Indirect Coverages Deductibles
                                      may be indicated in the Schedule.
                                (2)   Unless more specifically indicated in the Schedule:
                                      (a)      Indirect Coverages Deductibles apply to Business Income
                                               and Extra Expense loss; and
                                      (b)      Direct Coverages Deductibles apply to all remaining loss,
                                               damage or expense covered by this endorsement.
                           c.   Application of Deductibles
                                (1)   Dollar Deductibles
                                       We will not pay for loss, damage or expense resulting from any
                                      "one accident" until the amount ofloss, damage or expense
                                      exceeds the applicable Deductible shown in the Schedule. We will
                                      then pay the amount of loss, damage or expense in excess of the
                                      applicable Deductible or Deductibles, up to the applicable Limit of
                                      Insurance.
                                (2)   Time Deductible
                                      Ifa time deductible is shown in the Schedule, we will not be liable
                                      for any loss occurring during the specified number of hours or days
                                      immediately following the "accident." If a time deductible is
                                      expressed in days, each day sha11 mean twenty-four consecutive
                                      hours.
                                (3)   Multiple of Average Daily Value (ADV)
                                      Ifa deductible is expressed as a number times ADV, that amount
                                       will be calculated as follows:
                                      The ADV (Average Daily Value) wiJl be the Business Income (as
                                      defined in any Business Income coverage that is part of this policy)
                                      that would have been earned during the period of interruption of
                                      business had no "accident" occurred, divided by the number of
                                      working days in that period. No reduction shall be made for the
                                      Business Income not being earned, or in the number of working
                                      days, because of the "accident" or any other scheduled or
                                      unscheduled shutdowns during the period of interruption. The
                                      ADV applies to the Business Income value of the entire location,
                                      whether or not the loss affects the entire location. If more than one
                                      location is included in the valuation of the loss, the ADV will be
                                       the combined value of all affected locations. For purposes of this
                                      calculation, the period of interruption may not extend beyond the
                                      period of restoration.
                                      1be number indicated in the Schedule will be multiplied by the
                                      ADV as determined above. The result shall be used as the
                                      applicable deductible.
                                (4)   Percentage of Loss Deductibles
                                      If a deductible is expressed as a percentage ofloss, we will not be
                                      liable for the indicated percentage of the gross amount of loss,
                                      damage or expense (prior to any applicable deductible or
                                      coinsurance) insured under the applicable coverage. If the dollar
                                      amount of such percentage is less than the indicated minimum
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                                           deductible, the minimum deductible wiJl be the applicable
                                           deductible.

                  2.       CONDITIONS
                           The following conditions are in addition to the Conditions in the Building and
                           Personal Property Coverage Form and the Common Policy Conditions.
                           a.     Suspension
                                  Whenever "covered equipment'' is found to be in, or exposed to, a
                                  dangerous condition, any of our representatives may immediately suspend
                                  the insurance against loss from an "accident" to that "covered equipment."
                                  This can be done by mailing or delivering a written notice of suspension
                                  to:
                                  (1)     your last known address; or
                                  (2)     the address where the "covered equipment" is located.
                                  Once suspended in this way, your insurance can be reinstated only by an
                                  endorsement for that "covered equipment." Ifwe suspend your insurance,
                                  you will get a pro rata refund of premium for that "covered equipment" for
                                  the period of suspension. But the suspension will be effective even if we
                                  have not yet made or offered a refund.
                           b.     Jurisdictional Inspections
                                  If any property that is "covered equipment" under this endorsement
                                  requires inspection to comply with state or municipal boiler and pressure
                                  vessel regulations, we agree to perform such inspection on your behalf.
                                  We do not warrant that conditions are safe or healthful.
                           c.     Environmental, Safety and Efficiency Improvements
                                  If"covered equipment" requires replacement due to an "accident," we will
                                  pay your additional cost to replace with equipment that is better for the
                                  environment, safer or more efficient than the equipment being replaced.
                                  However, we will not pay more than 125% of what the cost would have
                                  been to repair or replace with like kind and quality. This condition does
                                  not increase any of the applicable limits. This condition does not apply to
                                  any property to which Actual Cash Value applies.
                           d.     Coinsurance
                                  If a coinsurance percentage is shown in a Schedule for specified
                                  coverages, the following condition applies.
                                  We will not pay for the full amount of your loss if the applicable limit is
                                  less than the product of the specified coinsurance percentage times the
                                  value of the property subject to the coverage at the time of the loss.
                                  Instead, we will determine what percentage this calculated product is
                                  compared to the applicable limit and apply that percentage to the gross
                                  amount ofloss. We will then subtract the applicable deductible. The
                                  resulting amount, or the applicable limit, is the most we will pay. We will
                                  not pay for the remainder of the loss. Coinsurance applies separately to
                                  each insured location.

         The most we will pay for loss, damage or expense under this endorsement arising from any "one
         accident" is the applicable Limit of Insurance in the Declarations unless otherwise shown in a
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         Schedule. Coverage provided under this endorsement does not provide an additional amount of
         msurance.




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                       Exhibit B
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                              Georp Henderson
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                          Dear Mr. Henderson,

                                As yotaare mware,this farm servesas the Independentadjusterfor GeneralStar
                                                                                                           Indernmay
                         Campany PGeneral Star"A which issued Podicy numtger 1.MA353569-Acovering Ihe period
                        January27,2922 noJannery27, 2023(the "Policy"). We wriaconGeneralStatsbehalfinresponse
                        to your claim for fire damageto the property locatedar 9 Utae LaraCatskitt, Mew Yeak 12414
                        on er almut May 8. 2022. General Star hasmuthorizedstils communicatiort

                               Based on its review of the information provided and its investiptkm, General Star kna
                        determined that the Policy does not afford ccnacragefor dueclakned fire damage.SpecifmaBy, the
                        agustmendhas revealed that the property was unused/umoccupiedfor substmasiallymore than 60
                        days when it was intestianally burned by Herbert Oche--as you testifted--or another, unknown
                        agaggg

                                 In hisrugst     the Polisy's Building aml Penenid Property Coverage Form providesi
                    M
                                & Less Camditiens




                                   4, Vacancy

                                      a. Description of Terges


                                            (1) As used in this Vacancy Condition, the term hlilding and the term
                                                vacant have the ancsmirigsset forth in (lXa) and (1)(b) below:
FILED: GREENE COUNTY CLERK 05/05/2023 08:30 AM                                                                                  INDEX NO. EF2023-300
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                                              (b) When this imlicy b hauodto the oimer et gamuntlesseeof a
                                                  indldbig, bulkhsmeans the entire bushling SuchIndiding is
                                                  vacaraangessatleast31%of hetotal munesIbcags is:

                                                  (.0 Reasedm a lesseeor sublesseeandanedby tbs leaseeer
                                                      a4Iesameto condue:its cessormany
                                                                                    opendems;andar

                                                   gG Used by the building owner a        eneduce cassemy
                                                      operadorns.

                                            st) pendings under musmeticm or formation m not congdered
                                                vacant.

                                        6. Vacsecy Provistems

                                           If-the building where loss or darmageoccurshas becavacantfor mese
                                           than 60 consecutivedaysbeforethat lossor damageoccurs:

                                           (1) We will not pay for any less cr damagecaused by any of the
                                               followiss even if they are CoveredCausesof Lear                                  !

                                              (a) vandallan:
                                              (b) Sprinkler ledagg unlessyou haveprotectedthe systemagainst
                                                  freeties:
                                              (e) Boikling glassbreakage:
                                              (d) Wmer d*mage;
                                              (s) 1beft; or
                                              (6 Attemgmeddwft
                                                                       &n= of Loss other than those fated in
                                          (2) Wigh respect to Coweved
                                              RM[l)(a) thmgh   b,(1XS   above, we win redw.e the anwnma we
                                              would otherwise pay for the loss at damage by L5%

                                                                      tirre is no coverage for tons or damage caused by
                              According to the above provision,
                                   " "thefl" or "atternpted theft" if a property has been "vacant" for more tian 60 days,
                       "vandnNam
                                                                avacant" unless it is at least31%1mased,used by theowner
                      AsIt relates a year claim, a property is
                                                                                    renovatiorL Vandalisrn is defined inths .
                      epcorufnet customary operations, or imder construction or
                                                                                malicious danage to, or destmction of the
                      Causs of Loss - Basic Form to ineam "willful and
                                                                                                              for more than a
                     desmibed
                                property"
                                            According to   your  testimony,   the property was unoccupied
                                                                                    willful   mul malicious. Accor  mgly, the
                     year prior to the fire. You also testified that the fire was
                                                                       afford coverage   for the clahned damage.
                                                           does   not
                     pmpedy was vacant and the Policy
                                                                                 of the facts and the information yog
                            Geomal Star's position is based on its undersanding
                                                                      telieve that General Star's undermandins of
                    Isl!peng nitteri sed minia available a date.Ifyou
FILED: GREENE COUNTY CLERK 05/05/2023 08:30 AM                                                                                      INDEX NO. EF2023-300
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                         Policyandm ascertalmthe amoimesthatareslaimedandcambesupported.
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                        of New Yesk InsuranceDepartment,by mail to Departmentof Finescial Servia
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                               Ifyou lieve any questions,pleasedo not hesitman

                        Kind 4gards.

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